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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


       IMMUNEX CORPORATION;          )
       AMGEN MANUFACTURING, LIMITED; )
       and HOFFMANN-LA ROCHE INC.;   )                     Hon. Claire C. Cecchi
                                                       )
                             Plaintiffs,               )   Civil Action No.: 2: 16-cv-01118-CCC­
              V.                                       )   MF
                                      )
       SANDOZ INC.; SANDOZ            )
       INTERNATIONAL GMBH; and SANDOZ )                                     FINAL PRE-TRIAL
       GMBH;                          )                    ORDER
                                      )
                       Defendants.    )
                                                           PUBLIC REDACTED VERSION


         This matter having come before the Court for a pretrial conference pursuant to Fed. R.

  Civ. P. 16; and the undersigned counsel listed below from Walsh Pizzi O'Reilly Falanga LLP

  and Sidley Austin LLP having appeared for Plaintiffs lmmunex Corp. ("Immunex") and Amgen

  Manufacturing, Ltd. ("AML"), the undersigned counsel listed below from Gibbons P.C. and

  Williams & Connolly LLP having appeared for Plaintiff Hoffmann-La Roche Inc. ("Roche"),

  and the undersigned counsel from Hill Wallack LLP and Winston & Strawn LLP having

  appeared for Defendants Sandoz Inc., Sandoz International GmbH, and Sandoz GmbH

  (collectively "Sandoz" or "Defendants"), and counsel having been notified that a bench trial in

  these matters has been scheduled before the Hon. Claire C. Cecchi beginning on September 11,

  2018 at 9:30 am., the following Final Pretrial Order is hereby entered:

  I.     JURISDICTION

         This is a patent infringement matter arising under the Patent Laws of the United States,

  Title 35, United States Code. For purposes of this action only, no party has contested that this

  Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and



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  1338(a). 1 For the purposes of this action only, no party has contested personal jurisdiction or

  venue under 28 U.S.C. §§ 1391(b), (c) or 1400(b).

  II.      OVERVIEW OF THE CASE

           On July 30, 2015, Sandoz submitted a Biologics License Application ("abbreviated

  BLA" or "aBLA") pursuant to 42 U.S.C. § 262(k) of the Biologics Price Competition and

  Innovation Act ("the BPCIA")2 (i.e., a section 35 l (k) application) seeking authorization from the

  Food and Drug Administration ("FDA") to market Erelzi®, a biosirnilar oflmmunex's

  ENBREL® (etanercept) product ("Defendants' Biosimilar Etanercept"). On September 29, 2015,

  the FDA accepted for review Sandoz's aBLA.

           On December 18, 2015, Immunex provided Sandoz with a list of patents for which

  Immunex believed that a claim of infringement could be reasonably asserted based on

  Defendants' Biosimilar Etanercept. See 42 U.S.C. § 262(/)(3)(A). The list of patents included

  United States Patent Nos. 8,063,182 ("the '182 patent"), 8,163,522 ("the '522 patent")

  (collectively referred to as the "Patents-in-Suit"). Plaintiffs' list also included U.S. Patent Nos.

  7,915,225 ("the Finck '225 patent"), 8,119,605 ("the Finck '605 patent"), and 8,722,631 ("the

  Finck '631 patent") (collectively, "the Finck Patents").3

          A.        Plaintiffs' Allegations and Request for Relief

           Immunex/AML and Roche (collectively "Plaintiffs") allege that Sandoz's submission of

  an aBLA referencing Immunex's ENBREL® product is an act of infringement under 35 U.S.C. §



  1 Plaintiffs further assert that the Court has subject matter jurisdiction pursuant to§ 220l(a). Defendants disagree.

  2 42 U.S.C. § 262(k) of the BPCIA is also known as § 351 (k) of the Public Health Service Act ("PHSA").

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  27l(e)(2)(C). Specifically, Plaintiffs allege that Sandoz has infringed claims 11-12 and 35-36 of

  the '182 patent and claims 3, 8, and 10 of the '522 patent (the "Asserted Claims").

          Plaintiffs also allege that the commercial manufacture, use, sale, offer for sale, and/or

  importation of Defendants' Biosimilar Etanercept into the United States will infringe the

  Asserted Claims of the '182 patent under 35 U.S.C. § 27l(a) and the Asserted Claims of the '522

  patent under 35 U.S.C. § 271(g).

         Plaintiffs request that the Court enter judgment that Defendants have infringed each and

  every one of the Asserted Claims of each of the Patents-in-Suit, and that the Asserted Claims of

  Patents-in-Suit are not invalid.

         Plaintiffs further request that the Court enter an order enjoining Defendants, as well as all

  of Defendants' officers, employees, agents, representatives, affiliates, assignees, and successors,

  and all persons acting on behalf or at the direction of, or in concert with Defendants, from

  engaging in the manufacture, use, sale, offer for sale, and/or importation into the United States of

  Defendants' Biosimilar Etanercept or any other product that would infringe the Asserted Claims

  of the '182 patent or, by its making, infringe the Asserted Claims of the '522 patent, prior to the

  respective expiration date of each of the Patents-in-Suit.

         Plaintiffs further request that the Court declare that this is an exceptional case pursuant to

  35 U.S.C. § 285 and award Plaintiffs their reasonable attorneys' fees and costs incurred in this

  action and/or any further relief as deemed just and proper by this Court.

         B.      Defendants' Defenses, Allegations, and Request for Relief

         This patent infringement action arises under 35 U.S.C. § 271, including 35 U.S.C.

  § 271(e)(2)(C), which was enacted in 2010 as part of the BPCIA. The BPCIA established, inter

  alia, an abbreviated pathway (a§ 351(k) application) for regulatory approval of follow-on




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  biological products that are "highly similar" to a previously approved biological drug product

  ("reference product").

           Defendants allege that the Asserted Claims are invalid under the judicially created

  doctrine of obviousness-type double patenting; for obviousness under 35 U.S.C. § 103; and/or

  for lack of written description and enablement under 35 U.S.C. § 112.4 Defendants allege that

  asserted claims 35 and 36 of the '182 patent are also invalid for anticipation under 35 U.S.C.

  § 102.

           Defendants do not contest infringement of any valid and enforceable Asserted Claim of

  the '182 patent.5 Defendants do not contest infringement of any valid and enforceable Asserted

  Claim of the '522 patent, under the Court's August 20, 2018 claim construction ruling, without

  prejudice to Defendants' right to appeal that ruling.

           Defendants request that the Court enter judgment that each of the Asserted Claims of the

  Patents-in-Suit are invalid for obviousness-type double patenting, obviousness, inadequate

  written description, and/or lack of enablement. Defendants also request that the Court enter

  judgment that claims 35 and 36 of the '182 patent are invalid for anticipation.

           Defendants further request that the Court declare that this is an exceptional case pursuant

  to 35 U.S.C. § 285 and award Defendants their reasonable attorneys' fees and costs incurred in

  this action and/or any further relief as deemed just and proper by this Court.

  III.     PENDING/CONTEMPLATED MOTIONS/TRIAL BRIEFS
           The following motions/issues are presently pending before the Court:



  4 Unless otherwise indicated, all citations to Title 35, United States Code, Section 102, Section 103, Section 112,
  and Section 135, are to the pre-America Invents Act ("pre-AIA") version of the Patent Act.
  5 February 21, 2018 letter from Eric I. Abraham to Liza M. Walsh; see also May 15, 2018 Joint Pretrial Report to

  Judge Cecchi, D.I. 486 ("Joint Pretrial Report").



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           1.      The parties dispute the meaning of the word "hinge" in the phrase "-hinge-CH2-

  CH3 region of a human [IgG/IgGl]." D.I. 513; D.I 529; D.I. 541. The Court ruled that this is an

  issue to be determined at trial. D.I. 572.

           2.      Defendants have filed the following motion in limine: Motion in Limine

  Regarding Priority Date of Claims 35 and 36 of the '182 Patent, D.I. 518; D.I. 531; D.I. 538. 6

           3.      On August 15, 2018, the Court denied or administratively terminated Plaintiffs'

  pending Motions in Limine and denied or administratively terminated Defendants' pending

  Motions in Limine and Daubert motions. D.I. 572.

           Pretrial briefs will be filed with the Court by each side on August 27, 2018 by 5:00 P.M.

  EDT (D.I. 600), with Plaintiffs collectively submitting one brief, and Defendants collectively

  submitting one brief. Briefs shall be limited to 45 pages per side (if 12 point font) or 60 pages

  per side (if 14 point font).

  IV.     STIPULATION OF FACTS

          A.       The Parties

          1.       Plaintiff Inununex Corporation ("Imrnunex") is a corporation organized and

  existing under the laws of the State of Washington with its principal place of business at One

  Amgen Center Drive, Thousand Oaks, California 91320. Amgen Inc. acquired Immunex in July

  2002. Immunex is a wholly-owned subsidiary of Amgen Inc.

          2.       Plaintiff Amgen Manufacturing, Limited ("AML") is a corporation existing under

  the laws of the Territory ofBennuda, with its principal place of business at Road 31 km 24.6,

  Juncos, Puerto Rico 00777. AML is a wholly-owned subsidiary of Amgen Inc.


  6
    Defendants have agreed to hold in abeyance this motion. See Transcript of Hearing Before the Hon. Claire C.
  Cecchi, June 29, 2018, at 101:20-22 ("June 29, 2018 Hearing Transcript''). The Court administratively terminated
  this motion on August 16, 2018. D.I. 572 at 15.



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          3.      Plaintiff Hoffinann-La Roche Inc. ("Roche") is a corporation organized and

  existing under the laws of the State of New Jersey with its principal place of business at 150

  Clove Road, Suite 8, Little Falls, New Jersey 07424.

          4.      Defendant Sandoz Inc. is a corporation organized and existing under the laws of

  the State of Colorado, with its principal place of business at 100 College Road West, Princeton,

  New Jersey 08540.

          5.      Defendant Sandoz International GmbH is a Gesellschaft mit beschrankter Haftung

  (Company with Limited Liability) existing under the laws of the Federal Republic of Germany

  with its principal place of business at Industriestrafie 25, 83607 Holzkirchen, Germany.

          6.      Defendant Sandoz GmbH is a Gesellschaft mit beschrankter Haftung (Company

  with Limited Liability) existing under the laws of the Republic of Austria with its principal place

  of business at BiochemiestraJ3e 10, 6250 Kundl, Austria.

          B.     The Patents-in-Suit

                  1.     The '182 Patent

          7.     The '182 patent is titled "Human TNF Receptor Fusion Protein," and issued on

  November 22, 2011. The named inventors listed on the face of the '182 patent are Manfred

  Brockhaus, Reiner Gentz, Zlatko Dembic, Werner Lesslauer, Hansruedi Loetscher, and Ernst­

  Jurgen Schlaeger. Each of the named inventors of the '182 patent was formerly an employee of

  a corporate affiliate of Plaintiff Roche.

          8.     Plaintiff Roche is identified as the assignee on the face of the '182 patent.

          9.     The '182 patent issued from U.S. Patent Application No. 08/444,790 ("the

  Brockhaus '790 application"). The Brockhaus '790 application was filed on May 19, 1995 as a

  division of U.S. Patent Application No. 08/095,640 ("the Brockhaus '640 application"), which

  issued as U.S. Patent No. 5,610,279 ("the Brockhaus '279 patent") on March 11, 1997. The '640


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  application was filed on July 21, 1993 as a continuation of U.S. Patent Application No.

  07/580,013 ("the Brockhaus '013 application").

         10.     On its face, the '182 patent also claims priority to four foreign patent applications:

  (i) Swiss Patent Application No. 3319/89, filed on September 12, 1989; (ii) Swiss Patent

  Application No. 746/90, filed on March 8, 1990; (iii) Swiss Patent Application No. 1347/90,

  filed on April 20, 1990; and (iv) European Patent Application No. 90116707 ("the Brockhaus

  '707 application"), filed on August 31, 1990.

         11.     The '182 patent issued on November 22, 2011.

         12.     The '182 patent expires on November 22, 2028.

         13.     Plaintiffs assert infringement of claims 11-12 and 35-36 of the '182 patent.

         14.     Claim 1 of the '182 patent is not asserted, but is the independent claim on which

  Asserted Claims 11-12 depend.

         15.     Claim 1 of the '182 patent recites: "A protein comprising: (a) a human tumor

  necrosis factor (TNF)-binding soluble fragment of an insoluble human TNF receptor, wherein

  the insoluble human TNF receptor (i) specifically binds human TNF, (ii) has an apparent

  molecular weight of about 75 kilodaltons on a non-reducing SDS-polyacrylamide gel, and

  (iii) comprises the amino acid sequence LPAQVAFXPYAPEPGSTC (SEQ ID NO: 1O); and (b)

  all of the domains of the constant region of a human imrnunoglobulin IgG heavy chain other than

  the first domain of said constant region; wherein said protein specifically binds human TNF."

         16.     Claim 11 of the '182 patent recites: "The protein of claim 1, wherein the protein

  consists essentially of the extracellular region of the insoluble human TNF receptor and all the

  domains of the constant region of a human IgG1 imrnunoglobulin heavy chain other than the first

  domain of the constant region."




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          17.    Claim 12 of the '182 patent recites: "A pharmaceutical composition comprising

  the protein of claim 11 and a pharmaceutically acceptable carrier material."

          18.    Claim 30 of the '182 patent is not asserted, but is the independent claim on which

  Asserted Claims 35-36 depend.

         19.     Claim 30 of the '182 patent recites: "A protein comprising (a) human tumor

  necrosis factor (TNF) binding soluble fragment of the amino acid sequence encoded by the

  cDNA insert of the plasmid deposited with the ATCC on Oct. 17, 2006 under accession number

  PTA 794 2, (b) all of the domains of the constant region of a human immunoglobulin IgG heavy

  chain other than the first domain of said constant region; wherein said protein specifically binds

  human TNF."

         20.     Claim 35 of the '182 patent recites: "The protein of claim 30, wherein the protein

  consists essentially of the extracellular region of the human tumor necrosis factor (TNF) receptor

  amino acid sequence encoded by the cDNA insert, and all the domains of the constant region of a

  human IgG1 immunoglobulin heavy chain other than the first domain of the constant region."

         21.     Claim 36 of the '182 patent recites: "A pharmaceutical composition comprising

  the protein of claim 35 and a pharmaceutically acceptable carrier material."

                 2.     The '522 Patent

         22.     The '522 patent is titled "Human TNF Receptor," and issued on April 24, 2012.

  The named inventors listed on the face of the '522 patent are Manfred Brockhaus, Reiner Gentz,

  Zlatko Dembic, Werner Lesslauer, Hansruedi Loetscher, and Ernst-Jurgen Schlaeger. Each of

  the named inventors of the '522 patent was formerly an employee of a corporate affiliate of

  Plaintiff Roche.

         23.     Plaintiff Roche is identified as the assignee on the face of the '522 patent.




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          24.    The '522 patent issued from U.S. Patent Application No. 08/444,791 ("the

  Brockhaus '791 application"). The Brockhaus '791 application was filed on May 19, 1995 as a

  division of the Brockhaus '640 application, which issued as the Brockhaus '279 patent on March

  11, 1997. The Brockhaus '640 application was filed on July 21, 1993 as a continuation of the

  Brockhaus '013 application.


         25.     On its face, the '522 patent also claims priority to four foreign patent applications:

  (i) Swiss Patent Application No. 3319/89, filed on September 12, 1989; (ii) Swiss Patent

  Application No. 746/90, filed on March 8, 1990; (iii) Swiss Patent Application No. 1347/90,

  filed on April 20, 1990; and (iv) European Patent Application No. 90116707 ("the Brockhaus

  '707 application"), filed on August 31, 1990.

         26.     The '522 patent issued on April 24, 2012.

         27.     The '522 patent expires on April 24, 2029.

         28.     Plaintiffs assert claims 3, 8, and 10 of the '522 patent.

         29.     Claim 1 of the '522 patent is not asserted, but is the independent claim on which

  Asserted Claim 3 depends.

         30.     Claim 1 of the '522 patent recites: "A method comprising the steps of: (a)

  culturing a host cell comprising a polynucleotide, wherein the polynucleotide encodes a protein

  consisting of: (i) the extracellular region of an insoluble human TNF receptor, wherein the

  insoluble human TNF receptor has an apparent molecular weight of about 75 kilodaltons as

  determined on a non-reducing SDS-polyacrylamide gel and comprises the amino acid sequence

  LPAQVAFXPYAPEPGSTC (SEQ ID NO: 10), and (ii) all of the domains of the constant region

  of a human IgG immunoglobulin heavy chain other than the first domain of said constant region,




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   and (b) purifying an expression product of the polynucleotide from the cell mass or the culture

   medium."

          31.       Claim 3 of the '522 patent recites: "The method of claim 1, wherein the IgG

   heavy chain is an lgG 1 heavy chain."

          32.       Claim 7 of the '522 patent is not asserted, but is the independent claim on which

   Asserted Claims 8 and 10 depend.

          33.     Claim 7 of the '522 patent recites: "A method comprising the steps of: (a)

   culturing a host cell comprising a polynucleotide, wherein the polynucleotide encodes a protein

   consisting of: (i) the extracellular region of an insoluble human TNF receptor, wherein the

   insoluble human TNF receptor comprises the amino acid sequence of SEQ ID N0:27 and (ii) all

   of the domains of the constant region of a human IgG immunoglobulin heavy chain other than

   the first domain of said constant region, and (b) purifying an expression product of the

   polynucleotide from the cell mass or the culture medium."

          34.     Claim 8 of the '522 patent recites: ''The method of claim 7, wherein the human

   lgG immunoglobulin heavy chain is an IgG1 heavy chain."

          35.     Claim 10 of the '522 patent recites: "The method of claim 8, wherein the host cell

  is a CHO cell."

          C.      Etanercept

                  1.       ENBREL®

          36.     Immunex is the reference product sponsor of the biological drug product

  ENBREL® in the United States. The active ingredient in ENBREL® is etanercept.

          37.     The etanercept drug substance in ENBREL® is a dimeric fusion protein consisting

  of the extracellular region of the p75 TNF receptor fused to hinge-CH2-CH3 region of a human

  IgG 1. The amino acid sequence of etanercept is identified as Sequence A in Joint Exhibit 1.


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          38.     ENBREL® (etanercept) is presently approved by FDA for the following

   indications: rheumatoid arthritis (RA), polyarticular juvenile idiopathic arthritis (JIA), psoriatic

   arthritis (PsA), ankylosing spondylitis (AS), and plaque psoriasis (PsO).

          39.     Immunex filed Biologic License Application ("BLA") No. 103795 seeking FDA

   approval ofENBREL® (etanercept). FDA approved BLA No. 103795 on November 2, 1998 for

   use of ENBREL® (etanercept) in the treatment of rheumatoid arthritis. Immunex holds the rights

   to BLA No. 103795.

          40.     Immunex filed supplements to BLA No. 103795, requesting that ENBREL®

   (etanercept) be approved for certain acj.ditional indications. FDA approved ENBREL®

   (etanercept) for the treatment of polyarticular juvenile idiopathic arthritis (JIA) in 1999, psoriatic

   arthritis (PsA) in 2002, ankylosing spondylitis (AS) in 2003, and plaque psoriasis (PsO) in 2004.

                  2.      Erelzi®, Defendants' Biosimilar Etanercept

          41.     On July 30, 2015, Sandoz Inc. submitted a Section 35l(k) application, aBLA No.

   761042, to FDA, seeking authorization to market Erelzi® as a biosimilar version of Immunex 's

  ENBREL® (etanercept) product in the United States.

          42.     On September 29, 2015, FDA accepted for review Sandoz's aBLA No. 761042.

          43.     On August 30, 2016, FDA approved Defendants' Biosimilar Etanercept for all the

  indications in which ENBREL® (etanercept) had been approved at that time: rheumatoid arthritis

  (RA), polyarticular juvenile idiopathic arthritis (JIA), psoriatic arthritis (PsA), ankylosing

  spondylitis (AS), and plaque psoriasis (PsO).

          44.     On July 27, 2017, Sandoz filed an amendment to its aBLA No. 761042 seeking

  FDA approval for a new proposed label for Erelzi® that removed the indications for psoriatic

  arthritis (PsA) and plaque psoriasis (PsO). The amendment was made because these indications

  remain protected by the Finck Patents until August 13, 2019.


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          4 5.    On January 26, 2018, FDA approved the new label for Erelzi®. The new label for

   Erelzi® states that it is indicated for the treatment of rheumatoid arthritis (RA), polyarticular

   juvenile idiopathic arthritis (JIA), and ankylosing spondylitis (AS). Erelzi® is not indicated for

   the treatment of psoriatic arthritis (PsA) or plaque psoriasis (PsO).

          46.     The etanercept drug substance in Defendants' Biosimilar Etanercept is a dimeric

   fusion protein consisting of the extracellular region of the p75 TNF receptor fused to hinge-CH2-

   CH3 region of a human IgG 1. The etanercept drug substance in Defendants' Biosimilar

   Etanercept has the amino acid sequence identified as Sequence A in Joint Exhibit 1, which is

   the same amino acid sequence as the etanercept drug substance in Immunex's ENBREL®

   biological drug product.

          D.      The Litigation

          47.     On February 26, 2016, Plaintiffs filed a Complaint against Defendants asserting

  infringement under 35 U.S.C. § 27l (e)(2)(C), seeking a declaratory judgment of infringement

  under, 35 U.S.C. §§ 271 (a), (b ), (g), and further seeking, among other things, damages or other

  monetary relief adequate to compensate Plaintiffs for Defendants' infringement, an injunction

  preventing infringement and future infringement until the later of the expiration dates of the

  Patents-in-Suit, a declaration that this is an exceptional case such that Plaintiffs should be

  awarded attorneys' fees and costs pursuant to 35 U.S.C. § 285, and such other relief as the Court

  may deem just and proper. D.I. 1.

          48.     On March 21, 2016, Sandoz Inc. filed its Answer denying infringement of, inter

  alia, the Patents-in-Suit. Sandoz Inc. also denied that Plaintiffs are entitled to any relief sought

  in the Complaint, and denied that the case is exceptional. Sandoz Inc. also pled its affirmative

  defenses that the Patents-in-Suit are invalid for failing to satisfy one or more sections of Title 35

  of the United States Code, invalid under the judicially created doctrine of obviousness-type


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   double patenting, and/or unenforceable due to prosecution laches. Sandoz Inc. requested that: (a)

   Plaintiffs' complaint be dismissed with prejudice and judgment be entered in favor of Sandoz

   Inc.; (b) a declaration that this case is exceptional under 35 U.S.C. § 285 entitling Sandoz Inc. to

   relief under that statute; and (c) an award of such other and further relief to Sandoz Inc. that the

   Court deems just and proper. DJ. 28.

          49.     On September 20, 2016, Sandoz International GmbH filed its Answer denying

  infringement of, inter alia, the Patents-in-Suit. Sandoz International GmbH also denied that

  Plaintiffs are entitled to any relief sought in the Complaint, and denied that the case is

  exceptional. Sandoz International GmbH also pled its affirmative defenses that the Patents-in­

   Suit and the Finck Patents are invalid for failing to satisfy one or more sections of Title 35 of the

  United States Code, invalid under the judicially created doctrine of obviousness-type double

  patenting, and/or unenforceable due to prosecution }aches. Sandoz International GmbH

  requested that: (a) Plaintiffs' complaint be dismissed with prejudice and judgment be entered in

  favor of Sandoz International GmbH; (b) a declaration that this case is exceptional under 35

  U.S.C. § 285 entitling Sandoz International GmbH to relief under that statute; and (c) an award

  of such other and further relief to Sandoz International GmbH that the Court deems just and

  proper. D.I. 105.

          50.     On October 27, 2016 Sandoz GmbH filed its Answer denying infringement of,

  inter alia, the Patents-in-Suit. Sandoz GmbH also denied that Plaintiffs are entitled to any relief

  sought in the Complaint, and denied that the case is exceptional. Sandoz GmbH also pied its

  affinnative defenses that the Patents-in-Suit and the Finck Patents are invalid for failing to

  satisfy one or more sections of Title 35 of the United States Code, invalid under the judicially

  created doctrine of obviousness-type double patenting, and/or unenforceable due to prosecution



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   laches. Sandoz GmbH requested that: (a) Plaintiffs' complaint be dismissed with prejudice and

  judgment be entered in favor of Sandoz GmbH; (b) a declaration that this case is exceptional

   under 35 U.S.C. § 285 entitling Sandoz GmbH to relief under that statute; and (c) an award of

   such other and further relief to Sandoz GmbH that the Court deems just and proper. D.I. 121.

  V.      STIPULATIONS AND CONSENT ORDERS

          51.     On August 11, 2016, the Court entered a Consent Preliminary Injunction pursuant

   to Fed. R. Civ. P. 65(d), subject to the terms and conditions of a sealed Stipulation. D.I. 95.

          52.     On July 11, 2017, Defendants withdrew their prosecution !aches defense against

  the Patents-in-Suit. Defendants informed the Court of their withdrawal of this defense during the

  July 13, 2017 status conference with the Court. D .I. 199.

          53.     On October 20, 2017, the Court entered a Consent Order regarding constructive

  amendment of Defendants' invalidity contentions and case schedule. D.I. 253.

          54.     On November 3, 2017, Plaintiffs withdrew their claims of infringement of claims

   1-10 and 13-34 of the '182 patent and elected to assert at trial claims 11, 12, 35 and 36 of the

  '182 patent and claims 1-3 and 7-10 of the '522 patent. Plaintiffs informed the Court of the same

  in a letter to the Court filed under seal on November 3, 2017. D.I. 268.

          55.     On January 26, 2018, the Court entered a Stipulation and Order regarding

  Plaintiffs' motion to strike portions of the Rebuttal Expert Report of Daniel Capon, Ph.D. D.I.

  367.




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           56.       In the May 15, 2018 Joint Pretrial Report, Plaintiffs identified that they are

   asserting at trial infringement of claims 11, 12, 35, and 36 of the '182 patent and claims 1-3 and

   7-10 of tbe '522 patent.7 D.I. 486 at 6.

           57.       In the May 15, 2018 Joint Pretrial Report, Defendants indicated they do not

   contest that Defendants' Biosimilar Etanercept infringes the Asserted Claims of the '182 patent.

   D.I. 486 at 6.

           58.       In the Joint Pretrial Report, Defendants listed the following defenses: (a)

   non-infringement of the Asserted Claims of the '522 patent and (b) three theories of invalidity:
                 •   Obviousness based on one or more of six purported prior art combinations;
                 •   Obviousness-type double patenting based on one or more of three purported

                     reference families; and
                 •   Lack of written description and enablement. D.I. 486 at 6-7.

           59.       At the June 29, 2018 hearing, the Court confirmed that Defendants may assert that

   claims 35 and 36 of the '182 patent are anticipated.8

           60.       On June 7, 2018, the Court entered an Amended Consent Preliminary Injunction

  pursuant to Fed. R. Civ. P. 65(d), subject to the terms and conditions of a sealed Amended

  Stipulation. D.I. 509.




  7
   On August 13, 2018, Plaintiffs identified that they are asserting at trial only claims 11-12 and 35-36 of the '182
  patent, and claims 3, 8, and 10 of the '522 patent.
  8 June 29, 2018 Hearing Transcript at 107:11-23.



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             61.      Sandoz agreed to hold in abeyance its Motion in Limine Regarding the Priority

   Date of Claims 35 and 36 of the '182 Patent. D.I. 518.9

             62.      On August 21,2018, the Court entered an Order to Preclude Introduction of

   Arguments on Defenses and Issues No Longer in the Case. DJ. 516,597.

             63.      On August 22, 2018,the Court resolved the parties• dispute regarding the

   construction of the term "wherein the polynucleotide contains the genetic information for a

   protein consisting of," relevant to the Asserted Claims of the '522 patent. D.I. 596. Specifically,

   the Court construed the term to mean "wherein the polynucleotide contains the genetic

   information for a protein consisting of." Id. Based on the Court's claim construction, and

   without prejudice to their right to appeal the Court's claim construction ruling, Defendants

   confirmed that they will not contest infringement of the Asserted Claims of the '522 patent at

   trial.

             64.      On September 10, 2018, Defendants stipulated that the Sandoz's submission

  aBLA 761042 infringed the Asserted Claims of the Patents-in-Suit under 35 U.S.C. §

  271(e)(2)(C). Defendants also stipulated that Defendants' making, using,offering to sell,or

  selling of Defendants' Biosimilar Etanercept within the United States, or Defendants'

  importation of Defendants' Biosimilar Etanercept into the United States, will infringe claims 11-

  12 and 35-36 of the '182 under 35 U.S.C. § 271(a); and Defendants' making, using,offering to

  sell, or selling of Defendants' Biosimilar Etanercept within the United States, or Defendants'

  importation of Defendants' Biosimilar Etanercept into the United States, will infringe claims 3,

  8, and 10 of the '522 patent under 35 U.S.C. § 27l(g).


  9
      The Court administratively tenninated this motion on August 16, 2018. DJ. 572 at 15.




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          65.     On September 10, 2018, Defendants agreed to Plaintiffs' proposed construction of

   the following tenn of the '182 Patent: "all of the domains of the constant region of a human

   imrnunoglobulin lgG[ l] heavy chain other than the first domain of said constant region" and the

   following term of the '522 Patent: "all of the domains of the constant region of a human lgG

   imrnunoglobulin heavy chain other than the first domain of said constant region." (D.I. 618).



   VI.    CLAIM CONSTRUCTIONS

          66.     The parties have agreed upon the proper construction of the following claim terms

   from the '182 patent and the '522 patent, and the Court has entered orders on the construction of

   these claims terms (D.I. 136, D.I. 144):




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                     Term                     Relevant Claims             Agreed Construction

         "the extracellular region of   Asserted Claim 11 of the '182 Plain and ordinary
         the insoluble human TNF        patent                        meaning:
         receptor"
                                        Asserted Claim 12 of the '182 "that portion of the human
                                        patent (by dependence on      TNF receptor that
                                        Asserted Claim 11)            protrudes outside the
                                                                      cell" 10

         "the extracellular region of   Asserted Claim 35 of the '182
         the human tumor necrosis       patent
         factor (TNF) receptor"
                                        Asserted Claim 36 of the '182
                                        patent (by dependence on
                                        Asserted Claim 35)

         "the extracellular region of Asserted Claim 3 of the '522      Plain and ordinary
         the human tumor necrosis     patent (by dependence on          meaning:
         factor (TNF) receptor,       Claim 1)
         wherein the insoluble human                                    "that portion of the human
         TNF receptor has an                                            75 kDa TNF receptor that
         apparent molecular weight of                                   protrudes outside the
         about 75 kilodaltons as                                        cell" 11
         determined on a non-
         reducing SDS
         polyacrylamide gel and
         comprises the amino acid
         sequence
         LPAQVAFXPYAPEPGSTC
         (SEQ ID NO: l O)"


         "the extracellular region of Asserted Claims 8 and 10 of
         an insoluble human TNF       the '522 Patent (by
         receptor, wherein the        dependence on Claim 7)
         insoluble human TNF
         receptor comprises the amino
         acid sequence of SEQ ID
         NO: 27"



  100.I. 136.

  II   D.I. 136.



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                     Term                            Relevant Claims                    Agreed Construction

         "all of the domains of the          Claims 1 and 30 of the '182             Plain and ordinary
         constant region of a human          patent (unasserted, but the             meaning:
         immunoglobulin IgG[ 1]              independent claims from
         heavy chain other than the          which Asserted Claims 11-12             "'-hinge-CH2-CH3' region
         first domain of said constant       and 35-36 respectively                  of a human [IgG/lgG l ]" 12
         region"                             depend)

                                             Asserted Claims 11 and 35 of
                                             the '182 patent (expressly and
                                             by dependence on unasserted
                                             claims 1 and 30, respectively)

                                             Asserted Claims 12 and 36 of
                                             the '182 patent (by
                                             dependence on Asserted
                                             Claims 11 and 35,
                                             respectively)


         "all of the domains of the          Asserted Claims 3, 8, and 10
         constant region of a human          of the '522 patent (by
         IgG immunoglobulin heavy            dependence on Claims 1 and
         chain other than the first          7)
         domain of said constant
         region"
         "specifically binds human           Claims 1 and 30 of the '182             Plain and ordinary
         TNF"                                patent (unasserted, but the             meaning:
                                             independent claims from
                                             which Asserted Claims 11-12             "has the ability to strongly
                                             and 35-36 respectively                  and stably bind human
                                             depend)                                 TNF" 13

                                             Asserted Claims 11-12 and
                                             35-36 of the '182 patent (by
                                             dependence on Asserted
                                             Claims 1 and 30, respectively)


  12 D.I. 144. The plain and ordinary meaning of"hinge" is disputed. The Court has indicated that "both sides will be
  pennitted to offer expert testimony as to how a POSA as of August 1990 would have understood the meaning of
  'hinge."' D.I. 572 at 9. The Court has further noted that "if additional construction is needed to detennine the scope
  of the claims, the Court will do so after further development of the record. Id., footnote 4.
  13
       D.I. 144.



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          67.    The Court has entered an order construing the following claim term of the '522

  patent that had been disputed by the parties (D.I. 596):

                  Term                       Relevant Claims              Court's Construction

      "wherein the polynucleotide     Asserted Claims 3, 8, and 10      "wherein the
      encodes a protein consisting    of the '522 patent                polynucleotide contains the
      of'                                                               genetic information for a
                                                                        protein consisting of'


          68.    The parties have agreed upon the construction of the following claim term (D.I.

  618):


   Claim Terms                                         Construction
   '182 Patent: "all of the domains of the             "the exon-encoded '-hinge-CH2-CH3' region
   constant region of a human immunoglobulin           of a human [IgG/IgG 1 ]"
   IgG[ 1] heavy chain other than the first
   domain of said constant region"

   '522 Patent: "all of the domains of the
   constant region of a human lgG
   immunoglobulin heavy chain other than the
   first domain of said constant region"




          69.    Plaintiffs' Exhibit 1 shows Plaintiffs' version of the language of the Asserted

  Claims (including claims from which the Asserted Claims depend) as the Asserted Claims would

  be understood through the undisputed, plain-and-ordinary-meaning claim constructions.

          70.    Defendants object to Plaintiffs' Exhibit 1 as mischaracterizing how the Asserted

  Claims would be understood through the undisputed, plain-and-ordinary-meaning claim

  constructions. Plaintiffs paraphrase certain portions of the claims to give the claims an

  alternative meaning, rather than merely substituting the disputed claim terms with the agreed-


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   upon constructions. The claims are best understood through the presentation of evidence during

   trial.




  VII.      ISSUES TO BE LITIGATED 14

            71.

            A.      Infringement (3S U.S.C. §§ 271(a), (e)(2)(C) and (g))

                    1.       Plaintiffs' Statement

            72.     Under 35 U.S.C. § 271(e)(2)(C), the submission of an application seeking

  approval of a biological product is an act of infringement with respect to a patent that is

  identified in the list of patents described in section 351(/)(3) of the PHSA (including as provided

  under section 351(/)(7) of such Act). See Sandoz Inc. v. Amgen Inc., 137 S. Ct. 1664, 1670

  (2017)...

            73.     Defendants do not contest that Defendants' Biosimilar Etanercept meets each and

   every limitation of each of the Asserted Claims of the '182 patent and therefore infringes the

  Asserted Claims of the '182 patent under 35 U.S.C § 271(a) and (e)(2)(C).

            74.     Defendants do also not contest that their method of making of Defendants'

  Biosimilar Etanercept meets each and every limitation of each of the Asserted Claims of the '522

  patent and therefore infringes the Asserted Claims of the '522 patent under 35 U.S.C § 271(g)

  and (e)(2)(C).

            75.     Defendants therefore do not contest that the commercial manufacture, use, sale,

  offer for sale, and/or importation of Defendants' Biosimilar Etanercept into the United States


  14 The parties provide the following summary of the issues in the case without waiver of their rights to present their
  claims and defenses with more specificity during trial.



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  will infringe the Asserted Claims of the '182 patent under 35 U.S.C. § 271(a) and the Asserted

  Claims of the '522 patent under 35 U.S.C. § 271(g) and that the submission of Defendants'

  Section 351(k) application, aBLA No. 761042, to FDA, seeking authorization to market Erelzi®

  as a biosimilar version ofhnmunex's ENBREL® (etanercept) product in the United States is an

  act of infringement under 35 U.S.C. § 271(e)(2)(C).

                 2.      Defendants' Statement

          76.     Defendants dispute that there are any remaining issues to be litigated at trial

  relating to infringement, without prejudice to Defendants' right to appeal. Plaintiffs

  mischaracterize the issues not contested by Defendants.

          77.     As stated in the May 15, 2018 Joint Pretrial Report, Defendants do not contest

  that the Asserted Claims of the '182 patent cover Defendants' Biosimilar Etanercept, but do not

  thereby waive any argument that the specification fails to adequately describe or enable the

  Asserted Claims.

          78.    Defendants do not contest infringement of the '522 patent, under the Court's

  claim construction (D.I. 595), without prejudice to their right to appeal the Court's claim

  construction ruling.

         79.     The submission of Defendants' Section 35l(k) application pursuant to the

  BPCIA, aBLA No. 761042, to FDA, seeking authorization to market Erelzi® as a biosimilar

  version of Immunex's ENBREL® (etanercept) product in the United States does not give rise to

  liability for patent infringement. The Supreme Court has explained that the BPCIA "enables the

  parties to bring infringement actions at certain points in the application process, even if the

  applicant has not yet committed an act that would traditionally constitute patent infringement."

  Sandoz Inc. v. Amgen Inc., 13 7 S. Ct. 1664, 1669 (2017) (emphasis added). The Supreme Cowi

  "refer[s] to this kind of preapproval infringement as 'artificial' infringement." Id.


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          80.     Defendants' activities in the United States thus far have not infringed any

   Asserted Claim of the Patents-in-Suit under 35 U.S.C. §§ 27l(a) or (g). 35 U.S.C. § 271(e)(l )

   provides a safe harbor for any acts of infringement "solely for uses reasonably related to the

   development or submission of any information" to the FDA, which regulates the manufacture,

   use and sale of drugs-such as Defendants' Biosimilar Etanercept.

          B.      Obviousness-Type Double Patenting

                  1.      Defendants' Statement

          81.     "[I]t is a bedrock principle of our patent system that when a patent expires, the

   public is free to use not only the same invention claimed in the expired patent but also obvious or

   patentably indistinct modifications of that invention.... The double patenting doctrine has

   always been implemented to effectively uphold that principle." Gilead Sci., Inc. v. Natco

  Pharma Ltd., 753 F.3d 1208, 1214 (Fed. Cir. 2014); see also Boehringer Inge/heim Int'/ GmbH

  v. Barr Labs., Inc., 592 F.3d 1340, 1347 (Fed. Cir. 2010).

          82.     "Generally, an obviousness-type double patenting analysis entails two steps.

  First, as a matter of law, a court construes the claim in the earlier patent and the claim in the later

  patent and determines the differences. . . . Second, the court detennines whether the differences

  in subject matter between the two claims render the claims patentably distinct." Eli Lilly & Co.

  v. Barr Labs., Inc., 251 F.3d 955, 968 (Fed. Cir. 200 l ). "A later claim that is not patentably

  distinct from an earlier claim in a commonly owned patent is invalid for obvious-type double

  patenting. . . . A later patent claim is not patentably distinct from an earlier patent claim if the

  later claim is obvious over, or anticipated by, the earlier claim." Id.

          83.     "As a general rule, a 'one-way' test applies to determine obviousness-type double

  patenting." In re Hubbell, 709 F.3d 1140, 1149 (Fed.Cir. 2013). The two-way test is "a narrow

  exception to the general rule of the one-way test," which "is appropriate only in the 'unusual


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   circumstance' where 'the PTO is solely responsible for the delay in causing the second-filed

   application to issue prior to the first."' Id. Application of the two-way test requires

   circumstances where both "(l) a second-filed application issues prior to a first-filed application,

   and (2) 'the PTO is solely responsible for the delay' in the issuance of the first-filed application."

   In re Janssen Biotech, Inc., 880 F.3d 1315, 1325 (Fed. Cir. 2018). The Federal Circuit has

   declined to apply the two-way test where an applicant "had significant control over the rate of

   prosecution of the application" and has not limited the analysis to the time period during which

   both applications where pending. In re Emert, 124 F.3d at 1498 (Fed. Cir. 1997).

          84.     "There are two justifications for obviousness-type double patenting. The first is

   'to prevent unjustified timewise extension of the right to exclude granted by a patent no matter

   how the extension is brought about.' The second rationale is to prevent multiple infringement

   suits by different assignees asserting essentially the same patented invention." Hubbell, 709 F.3d

  at 1145. Thus, an earlier-expiring patent that either has one or more inventors in common with a

  later-expiring patent or shares a common assignee or owner with the later-expiring patent may be

  used as an obviousness-type double patenting reference. Id. at 1146 (affirming that

  "obviousness-type double patenting applies where an application and a conflicting patent have

  one or more inventors in common but the inventive entities are not identical and the applications

  were never commonly owned"); In re Langi, 759 F.2d 887, 895 (Fed. Cir. 1985) ("(W]e hold

  that double patenting of the obviousness type, as applied to commonly-owned applications made

  by different inventive entities, is still a viable doctrine.").

          85.     To guard against the potential for multiple infringement suits by different entities

  asserting the same patented invention, the Federal Circuit identifies the entity that has "all

  substantial rights" to the patent as the owner who has the authority to enforce the patent.




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  Namely, "a party that has been granted all substantial rights under the patent is considered the

   owner regardless of how the parties characterize the transaction that conveyed those rights."

   Speedplay, Inc. v. Bebop, Inc., 211 F.3d 1245, 1250 (Fed. Cir. 2000); see also Diamond Coating

   Techs., LLC v. Hyndai Motor Am., 823 F.3d 615, 618-19 (Fed. Cir. 2016). Common ownership

   for purposes of obviousness-type double patenting may be established at any point in time,

  including after the time of invention. See Geneva Pharm., Inc. v. GlaxoSmithKline PLC, 349

  F.3d 1373,1377,1382-86 (Fed. Cir. 2003) (holding patents invalid for obviousness-type double

   patenting where the patentee "own[ed] the [reference] patents because [it] has merged with the

  original assignees of those patents"); cf STC. UNM v. Intel Corp., 754 F.3d 940,944 (Fed. Cir.

  2014) (affinning district court's dismissal for lack of standing where plaintiff assigned an

  interest in the patent-in-suit to third-party during litigation to establish co-ownership of reference

  patent under terms of terminal disclaimer filed during prosecution to overcome double patenting

  rejection, but where co-owner then refused to join litigation). See also In re Hubbell, 709 F.3d

  1140, 1145 (Fed. Cir. 2013) (obviousness type double patenting serves "to prevent unjustified

  timewise extension of the right to exclude granted by a patent no matter how the extension is

  brought about").

          86.    Section 121 may provide a safe harbor from double patenting invalidation for

  certain "patent[s] issuing on an application with respect to which a requirement for restriction

  under this section has been made, or on an application filed as a result of such a requirement."

  35 U.S.C.§ 121. The PTO may issue a restriction requirement "when 'independent and distinct

  inventions' are claimed in one application." Gerber Garment Tech., Inc. v. Lectra Sys., Inc., 916

  F.2d 683,687 (Fed. Cir. 1990) (quoting 35 U.S.C.§ 121). The§ 121 safe harbor "applies only

  to the divisional applications that are 'filed as a result of a restriction requirement. Plain




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   common sense dictates that a divisional application filed as a result of a restriction requirement

   may not contain claims drawn to the invention set forth in the claims elected and prosecuted to

   patent in the parent application. The divisional application must have claims drawn only to the

   'other invention.'" Id. at 687.

          87.     The claims of the divisional application must maintain "consonance" with the

   divisions imposed by the PTO's restriction requirement. Specifically, "the line of demarcation

   between the 'independent and distinct inventions' that prompted the restriction requirement be

   maintained. Though the claims may be amended, they must not be so amended as to bring them

   back over the line imposed in the restriction requirement. Where that line is crossed the

   prohibition of the third sentence of Section 121 does not apply." Id. at 688.

                          a.         Defendants' Statement of the Issues of Law to be Litigated

                                     (i)    Obviousness-Type Double Patenting Over the Finck
                                            '225, '605, and '631 Patents

          88.     Whether each of the Finck '225 patent, the Finck '605 patent, and the Finck '631

   patent are available as obviousness-type double patenting references to invalidate the Patents-in­

  Suit?

          89.     Whether a reference patent and a challenged patent are deemed "commonly

  owned" for purposes of obviousness-type double patenting, when the owner of the reference

  patent acquires all substantial rights to the challenged patent after the date of invention?

          90.     Whether a later-filed but earlier-expiring patent is available as an obviousness-

  type double patenting reference to invalidate an earlier-filed but later-expiring challenged patent,

  when the later-filed patent expires earlier than the earlier-filed challenged patent due to the

  changes in the grant of U.S. patent term implemented by the Uruguay Round Agreements Act of

  the General Agreement on Tariffs and Trade (GA TT)?



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           91.    Whether Defendants have proven by clear and convincing evidence that the

   Asserted Claims of the Patents-in-Suit are invalid for obviousness-type double patenting over

 each of claim I of the Finck '225 patent, claim 1 of the Finck '605 patent, or claim 1 of the Finck

   '631 patent under the one-way test?

          92.     Whether Plaintiffs have shown that the Court should apply the two-way test,

   instead of the presumptive one-way test, for the Finck '225 patent, the Finck '605 patent, and the

   Finck '631 patent as obviousness-type double patenting references to the Patents-in-Suit?


                                  (ii)    Obviousness-Type Double Patenting Over the Jacobs
                                          '690 Patent

          93.     Whether the Jacobs '690 patent is available as an obviousness-type double

   patenting reference to invalidate the Patents-in-Suit?

          94.     Whether a reference patent and a challenged patent are deemed "commonly

   owned" for purposes of obviousness-type double patenting, when the owner of the reference

   patent acquires all substantial rights to the challenged patent after the date of invention?

          95.     Whether Defendants have proven by clear and convincing evidence that the

   Asserted Claims of the Patents-in-Suit are invalid for obviousness-type double patenting over

   claim 3 of the Jacobs '690 patent under the one-way test?

          96.     Whether Plaintiffs have shown that the Court should apply the two-way test,

   instead of the presumptive one-way test, for the Jacobs '690 patent as an obviousness-type

   double patenting reference to the Patents-in-Suit?

          97.     Whether Defendants have proven by clear and convincing evidence that the

   Asserted Claims of the Patents-in-Suit are invalid for obviousness-type double patenting over

  claim 3 of the Jacobs '690 patent under the two-way test?




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                                 (iii)   Obviousness-Type Double Patenting Over the
                                         Brockhaus '279 Patent

          98.     Whether the Brockhaus '279 patent is available as an obviousness-type double

   patenting reference to invalidate the '182 patent?

          99.     Whether Plaintiffs have shown that the Asserted Claims of the '182 patent are

   entitled to claim the protection of the safe harbor under 35 U.S.C. § 121 against a claim of

   obviousness-type double patenting over the Brockhaus '279 patent?

          100.    Whether Defendants have proven by clear and convincing evidence that the

  Asserted Claims of the Patents-in-Suit are invalid for obviousness-type double patenting over

   claim 5 of the Brockhaus '279 patent under the one-way test?

          101.    Whether Plaintiffs have shown that the Court should apply the two-way test,

   instead of the presumptive one-way test, for the Brockhaus '279 patent as an obviousness-type

  double patenting reference to the Patents-in-Suit?

          102.    Whether Defendants have proven by clear and convincing evidence that the

  Asserted Claims of the Patents-in-Suit are invalid for obviousness-type double patenting over

  claim 5 of the Brockhaus '279 patent under the two-way test?

                         b.      Defendants' Statement of the Issues of Fact to be Litigated

                                 ( i)    Obviousness-Type Double Patenting Over the Finck
                                         '225, '605, and '631 Patents

          103.    Whether Plaintiff Immunex received all substantive ownership rights to the

  Patents-in-Suit through the 2004 Accord and Satisfaction Agreement, resulting in Plaintiff

  Immunex commonly owning each of the Patents-in-Suit and the Finck '225, '605, and '631

  patents?




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          104.      Whether the "TNFR:Fc" recited in claim 1 of each of the Finck '225, '605, and

   '631 patents should be construed to refer to etanercept, as expressly defined in the patent

   specification?

          105.      Whether the Asserted Claims of the Patents-in-Suit would have been anticipated

   or obvious over claim 1 of each of the Finck '225, '605, and '631 patents, which claims a

   method of treating a patient having psoriasis by administering etanercept?

          106.      Whether the patent applicants were at least partly responsible for the delay in

  prosecution of the Patents-in-Suit, which caused the Finck '225 patent to issue before the

  Patents-in-Suit and the Finck '605 patent to issue before the '182 patent?

                                   (ii)    Obviousness-Type Double Patenting Over the Jacobs
                                           '690 Patent

          107.      Whether Plaintiff lmmunex received all substantive ownership rights to the

  Patents-in-Suit through the 2004 Accord and Satisfaction Agreement, resulting in Plaintiff

  Immunex commonly owning each of the Patents-in-Suit and the Jacobs '690 patent?

          108.      Whether the "chimeric antibody comprising a TNF receptor comprising the

  sequence of amino acids 3-163 of SEQ ID NO: I fused to the constant domain of an

  immunoglobulin molecule" recited in claim 3 of the Jacobs '690 patent should be construed to

  refer to etanercept, in light the specification and prosecution history of the Jacobs '690 patent as

  well as statements by Plaintiff Immunex in marketing ENBREL® (etanercept)?

          109.      Whether the Asserted Claims of the Patents-in-Suit would have been anticipated

  or obvious over claim 3 of the Jacobs '690 patent, which claims a method of lowering the levels

  of active TNF-a. by administering etanercept?




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          110.    Whether the patent applicants were at least partly responsible for the delay in

   prosecution of the Patents-in-Suit, which caused the Jacobs '690 patent to issue before the

   Patents-in-Suit?

          111.    Whether claim 3 of the Jacobs '690 patent would have been anticipated or

   obvious over any of Asserted Claims of the Patents-in-Suit?

                                 (iii)   Obviousness-Type Double Patenting Over the
                                         Brockhaus '279 Patent

          112.   Whether the patent applicants failed to comply with the PTO's restriction

  requirement and maintain consonance of the line demarking the claimed subject matter of the

   '182 patent and the Brockhaus '279 patent?

          113.   Whether the Asserted Claims of the '182 patent would have been obvious over

  claim 5 of the Brockhaus '279 patent, which claims a fusion protein comprising a soluble

   fragment of the p55 TNF receptor (instead of the p75 TNF receptor) and the hinge-CH2-CH3

  domain of a human IgG1 immunoglobulin?

          114.   Whether the patent applicants were at least partly responsible for the delay in

  prosecution of the Patents-in-Suit, which caused the Brockhaus '279 patent to issue before the

  '182 patent?

          115.   Whether claim 1 of the Brockhaus '279 patent would have been obvious over any

  of Asserted Claims of the '182 patent?

                         c.      Defendants' Statement of the Contested Facts

          116.   ENBREL® (etanercept) was first sold in the United States in November 1998.

          117.   Immunex obtained several patents covering etanercept, including U.S. Patent No.

  5, 3 95,760 ("the Smith '760 patent"), filed May 10, 1990, and U.S. Patent No. 5,605,690 ("the

  Jacobs '690 patent"), filed Feb. 8, 1995, which had been listed on the label for ENBREL®



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  (etanercept) from its launch until their expiration. The Smith '760 patent expired in March 2012

  and the Jacobs '690 patent expired in February 2014. Separate from the Patents-in-Suit,

  Immunex has already enjoyed the full-term patent protection (lasting for more than 20 years of

  exclusivity) covering etanercept.

          118.   Immunex had also obtained several patents covering a method of treatment by

  administering etanercept, including each of the Finck patents. The Finck '225 and Finck '605

  patents are presently listed on the label for ENBREL® (etanercept).

          119.   Each of the Asserted Claims of the Patents-in-Suit is invalid for obviousness-type

  double patenting over each of claim 1 of the Finck '225 patent, claim 1 of the Finck '605 patent,

  claim 1 of the Finck '631 patent, and/or claim 3 of the Jacobs '690 patent. Each of the Asserted

  Claims of the '182 patent is invalid for obviousness-type double patenting over claim 5 of the

  Brockhaus '279 patent.

                                 (i)     Immunex is the Owner of the Patents-in-Suit

          120.   lmmunex is the owner of the Patents-in-Suit.

          121.   In November 1998, Roche had licensed to Imrnunex the rights to the Brockhaus

  '790 and '791 applications (which ultimately issued as the Patents-in-Suit) to make, use, and sell

  its etanercept product for an agreed-upon royalty.

         122.    In June 2004, Roche and Immunex entered into an "Accord & Satisfaction

  Agreement," with the express purpose for Immunex "to acquire all rights licensed pursuant to the

  Roche-Immunex Agreement and to eliminate the continuing obligations to pay royalties to

  Roche" and for Roche "to sell such rights in accordance with the terms of this [Accord &

  Satisfaction]." See 2004 Accord & Satisfaction Agreement, DTX-357. The 2004 Accord &

  Satisfaction Agreement transferred to Immunex all substantive ownership rights to the Patents­

  in-Suit, including the right to exclude all others from practicing the claimed invention, the right


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   to sue for infringement, the right to grant sublicenses, the right to prosecute and maintain the

   patent applications at its sole direction, and the right to retain the entirety of any award of

   damages from a patent infringement suit. See 2004 Accord & Satisfaction Agreement, DTX-

   357.

           123.   Following execution of the 2004 Accord & Satisfaction Agreement, Roche

   retained no ownership rights, let alone substantive rights, to the Patents-in-Suit. Immunex owed

   no continuing obligation to Roche, including no obligation to pay a royalty or share in any award

   of patent damages concurrent with the execution ofthe 2004 Accord & Satisfaction Agreement.

   Thereafter, lmmunex was granted the unilateral power to effectively terminate any rights

   retained by Roche. For example, Roche's illusory right to sue for infringement, only iflmmunex

   failed to do so, may be obviated by Immunex's sole right to grant sublicenses to any alleged

   infringer.

           124.   As Immunex acquired the right to prosecute and maintain the patent applications

   at its sole direction pursuant to the 2004 Accord & Satisfaction Agreement, at the PTO, power of

   attorney over prosecution ofthe Patents-in-Suit was transferred exclusively to Immunex.

   Prosecution History of the '182 patent, DTX-0003, at AMG-ENBNJ-00002225; Prosecution

  History ofthe '522 patent, DTX-0004, at AMG-ENBNJ-00008119. Immunex directed and

  controlled the prosecution ofthe applications that led to the Patents-in-Suit. In or around 2005,

  Immunex materially amended the specification and changed the scope of the pending claims in

  an attempt to purportedly cover etanercept following transfer ofcontrol of the prosecution of the

  applications to Immunex.




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                                 (ii)    Obviousness-Type Double Patenting Over the Finck
                                         '225, '605, and '631 Patents

           125.   The Finck '225 patent (DTX-11) is titled "Soluble Tumor Necrosis Factor

  Receptor Treatment of Medical Disorders," and issued on March 29, 2011. The named inventor

   listed on the face of the Finck '225 patent is Barbara K. Finck.

           126.   The Finck '225 patent was assigned to Plaintiff Immunex Corporation upon

  issuance. Plaintiff Immunex Corporation is the owner of the Finck '225 patent.

           127.   The Finck '225 patent expires on August 13, 2019.

           128.   Claim 1 of the Finck '225 patent recites as follows:

                  1. A method for treating a patient having psoriasis comprising
                  administering to the patient a therapeutically effective dose of
                  TNFR:Fc, wherein the patient attains at least fifty percent
                  improvement in PASI score.
           129.   The Finck '225 patent is listed among the patents on the ENBREL® (etanercept)

  label.

           130.   The Finck '605 patent (DTX-12) is titled "Soluble Tumor Necrosis Factor

  Receptor Treatment of Medical Disorders," and issued on February 21, 2012. The named

  inventor listed on the face of the Finck '605 patent is Barbara K. Finck.

           131.   The Finck '605 patent was assigned to Plaintifflmmunex Corporation upon

  issuance. Plaintifflmmunex Corporation is the owner of the Finck '605 patent.

           132.   The Finck '605 patent expires on August 13, 2019.

           133.   Claim 1 of the Finck '605 patent recites as follows:

                  1. A method for treating a patient having ordinary psonas1s
                  comprising administering to the patient a therapeutically effective
                  dose of TNFR:Fc.

           134.   The Finck '605 patent is listed among the patents on the ENBREL® (etanercept)

  label.


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           135.   TheFinck '631 patent (DTX-13) is titled "Soluble Tumor N ecrosisFactor

   Receptor Treatment ofMedical Disorders," and issued on May 13, 2014. The named inventor

   listed on the face oftheFinck '631 patent isBarbara K. Finck.

           136.   TheFinck '631 patent was assigned to Plaintifflmmunex Corporation upon

  issuance. Plaintiff Immunex Corporation is the owner oftheFinck '631 patent.

           137.   TheFinck '631 patent expires on August 13,2019.

           138.   Claim 1 oftheFinck '631 patent recites as follows:

                  1. A method of treatment comprising administering a dose of
                  TNFR:Fc to a patient having psoriatic arthritis and/or plaque
                  psoriasis, wherein the dose is administered one time or two times per
                  week,and wherein the dose administered is 25-50 mg or 50-100 mg,
                  and wherein the dose is administered by subcutaneous injection.

           139.   TheFinck '631 patent is listed among the patents on the ENBREL® (etanercept)

  label.

           140.   Claim 1 ofeach oftheFinck '225, '605,and '631 patents anticipates and/or

  renders obvious each of the Asserted Claims ofthe Patents-in-Suit.

           141.   As properly construed, claim 1 ofeach of theFinck '225, '605, and '631 patents

  recites a method of treating a patient having psoriasis by administering etanercept. An inherent

  property ofetanercept is specific binding to human TNF. When etanercept is administered to

  treat a patient having psoriasis,etanercept specifically binds to human TNF. Plaintiffs have not

  disputed that, if theFinck '225, '605, and '631 patents were reference patents to the Patents-in­

  Suit, the Asserted Claims of the Patents-in-Suit would not have been patentably distinct under

  the standard one-way test.

           142.   Claim 1 ofeach oftheFinck '225, '605,and '631 patents anticipates each ofthe

  Asserted Claims ofthe '182 patent,which claim etanercept and a pharmaceutical composition




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   comprising etanercept. A person of ordinary skill in the art would have also found the Asserted

   Claims of the '182 patent obvious in light of the claims of the Finck '225, '605, and '631 patents

   reciting etanercept.

           143.    Claim 1 of each of the Finck '225, '605, and '631 patents renders obvious each of

   the Asserted Claims of the '522 patent. The only difference between the set of claims is that the

   '522 patent further recites a method for producing etanercept. A person of ordinary skill in the

   art would   have found the claimed method of culturing a host cell (e.g., a CHO cell) comprising a

   polynucleotide encoding etanercept and purifying etanercept from the cell mass or the cell

   culture medium to be obvious in light of the claims of the Finck '225, '605, and '631 patents

  reciting etanercept.

          144.     Plaintiffs have not shown any objective evidence supporting a finding that the

  Asserted Claims of the Patents-in-Suit are nonobvious over claim 1 of each of the Finck '225,

   '605, and '631 patents.

          145.     Plaintiffs have not shown that the narrow exception for application of the two­

  way test applies for evaluating the Finck '225, '605, and '631 patents as obviousness-type double

  patenting references to the Patents-in-Suit. The applications underlying the Finck '631 and '605

  patents were filed after the applications underlying the Patents-in-Suit. The Finck '631 patent

  issued after both of the Patents-in-Suit. Compare Finck '631 patent, DTX-13, with '182 patent,

  DTX-1, and '522 patent, DTX-2. The Finck '605 patent issued after the '182 patent. Compare

  Finck '605 patent, DTX-12, with '182 patent, DTX-1.

          146.     The PTO was not solely responsible for the delay in causing the Finck '225 patent

  to issue prior to the Patents-in-Suit or the Finck '605 patent to issue prior to the '182 patent. The

  patent applicants' dilatory actions during prosecution of the '182 patent included repeatedly




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  filing and obtaining extensions of time to respond to the PTO's rejections, requesting to reopen

  prosecution after the PTO found certain claims allowable, and materially amending the

  specification and changing the scope of the pending claims in an attempt to purportedly cover

  etanercept following transfer of control of the prosecution of the application to Immunex. The

  patent applicants' dilatory actions during prosecution of the '522 patent included requesting and

  ultimately withdrawing a request to initiate interference proceedings, repeatedly filing and

  obtaining extensions of time to respond to the PTO's rejections, and materially amending the

  specification and changing the scope of the pending claims in an attempt to purportedly cover

  etanercept following transfer of control of the prosecution of the application to Immunex. These

  actions contributed to the delay in issuance of the Patents-in-Suit and, ultimately, unjustly

  extended their patent term.

                                 (iii)   Obviousness-Type Double Patenting Over the Jacobs
                                         '690 Patent

         147.    The Jacobs '690 patent (DTX-17) is titled "Methods of Lowering Active TNF-n

  Levels in Mammals Using Tumor Necrosis Factor Receptor," and issued on February 25, 1997.

  The named inventors listed on the face of the Jacobs '690 patent are Cindy A. Jacobs and Craig

  A. Smith.

         148.    The Jacobs '690 patent was assigned to Plaintiff Immunex Corporation upon

  issuance. Plaintiff Immunex Corporation is the owner of the Jacobs '690 patent.

         149.    The Jacobs '690 patent expired on February 25, 2014. Immunex has already

  received the full 17-year patent term protection under the Jacobs '690 patent for etanercept.

         150.    Claim 3 of the Jacobs '690 patent recites as follows:

                 3. A method for lowering the levels of active TNF-a in a mammal
                 in need thereof which comprises administering to said mammal a
                 TNF-lowering amount of a chimeric antibody comprising a TNF



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                  receptor comprising the sequence of amino acids 3-163 of SEQ ID
                  NO: 1 fused to the constant domain of an imrnunoglobulin molecule.


          Figure 1 of the Jacobs '690 patent presents a schematic representation of a molecule of

   etanercept.

          151.    _Prior to its expiration, the Jacobs '690 patent was listed among the patents on the

   ENBREL® (etanercept) label. See, e.g., DTX-44 at 29; DTX-76 at 34; DTX-77 at 41; DTX-122

   at 2; DTX-237 at 35.

          152.    Claim 3 of the Jacobs '690 patent anticipates and/or renders obvious each of the

   Asserted Claims of the Patents-in-Suit.

          153.    As properly construed, the claimed chimeric antibody of claim 3 of the Jacobs

   '690 patent recites etanercept. Etanercept is a chimeric antibody comprising a TNF receptor

   comprising the sequence of amino acids 3-163 of SEQ ID NO: 1 (i.e., the extracellular region of

   the p75 TNF receptor) fused to the constant domain of an immunoglobulin molecule (i.e., fused

   to the hinge-CH2-CH3 domain of a human IgG I irnmunoglobulin) as recited in claim 3 of the

   Jacobs '690 patent. Jacobs '690 patent, DTX-17, at claim 3. This construction is supported by

   the specification of the Jacobs '690 patent, which provides in Figure 1 a schematic representation

  of a molecule of etanercept as the preferred embodiment of the patent. Id. at Fig. I. This

   construction is further consistent with the prosecution history of the Jacobs '690 patent, where

  Irnmunex argued to the PTO that the claimed invention had utility based on the results of a

  clinical trial of etanercept. Prosecution History of Jacobs '690 patent, DTX-18, at SAN-

  ETAN 0099137-98.




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           154.   Prior to the expiration of the Jacobs '690 patent, Immunex listed the Jacobs '690

   patent on the FDA-approved label for ENBREL® (etanercept). See, e.g., DTX-44 at 29; DTX-76

   at 34; DTX-77 at 41; DTX-122 at 2; DTX-237 at 35.

           155.   Claim 3 of the Jacobs '690 patent anticipates each of the Asserted Claims of the

   '182 patent, which claim etanercept and a pharmaceutical composition comprising etanercept. A

   person of ordinary skill in the art would have also found the Asserted Claims of the '182 patent

   obvious in light of claim 3 of the Jacobs '690 patent reciting etanercept.

          156.    Claim 3 of the Jacobs '690 patent renders obvious each of the Asserted Claims of

   the '522 patent. The only difference between the set of claims is that the '522 patent further

   recites a method for producing etanercept. A person of ordinary skill in the art would have found

   the claimed method of culturing a host cell (e.g., a CHO cell) comprising a polynucleotide

   encoding etanercept and purifying etanercept from the cell mass or the cell culture medium to be

   obvious in light of claim 3 of the Jacobs '690 patent reciting etanercept.

          157.    Plaintiffs have not shown any objective evidence supporting a finding that the

  Asserted Claims of the Patents-in-Suit are nonobvious over claim 3 of the Jacobs '690 patent.

          158.    Plaintiffs have not shown that the narrow exception for application of the two­

  way test applies for the Jacobs '690 patent as an obviousness-type double patenting reference to

  the Patents-in-Suit. The application underlying the Jacobs '690 patent was filed on February 8,

  1995 before the applications underlying the Patents-in-Suit were filed on May 19, 1995. See

  Jacobs '690 patent, DTX-17, at cover. The Jacobs '690 patent issued before each of the Patents­

  in-Suit. Id. The PTO was not solely responsible for the delay in causing the Jacobs '690 patent

  to issue prior to either the Patents-in-Suit. The patent applicants were partially responsible for




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   the delay in issuance of the Patents-in-Suit, which ultimately unjustly extended the term of the

   Patents-in-Suit.

           159.   Even if the two-way test were applied, the Asserted Claims of the '182 patent

   render obvious the properly construed claim 3 of the Jacobs '690 patent. The only difference

   between the set of claims is that the Jacobs '690 patent recites a method comprising

  administering etanercept to a mammal. A person of ordinary skill in the art would have found it

   obvious to administer to a mammal a TNF-lowering amount of etanercept to lower the levels of

   active TNF-a in light of the claims of the '182 patent reciting etanercept.

          160.    Even if the two-way test were applied, the Asserted Claims of the '522 patent

   render obvious the properly construed claim 3 of the Jacobs '690 patent. The only difference

  between the set of claims is that the Jacobs '690 patent recites a method comprising

  administering etanercept to a mammal. A person of ordinary skill in the art would have found it

  obvious to administer to a mammal a TNF-lowering amount of etanercept to lower the levels of

  active TNF-a in light of the claims of the '522 patent reciting etanercept.

          161.    Plaintiffs have not shown any objective evidence supporting a finding that claim 3

  of the Jacobs '690 patent is nonobvious over the Asserted Claims of the Patents-in-Suit.

          162.    Plaintiffs assert that claim 3 of the Jacobs '690 patent does not recite etanercept.

  Plaintiffs contend that claim 3 of the Jacobs '690 patent requires a chimeric antibody that

  includes the CHl domains and the light chain of an immunoglobulin protein. Plaintiffs proposed

  construction is inconsistent with the plain meaning of the claims, the specification, and the

  prosecution history as well as extrinsic evidence of lrnmunex's representations regarding the

  scope of the claims of the Jacobs '690 patent.




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           163.   Even if claim 3 of the Jacobs '690 patent were construed to require a chimeric

   antibody that includes the CHl domains and the light chain of an immunoglobulin protein, the

   claim renders obvious each of the Asserted Claims of the Patents-in-Suit. A person of ordinary

   skill in the art would have motivated to remove the CHI domain and light chain (resulting in

   etanercept) in light of the prior art teaching that their removal promotes the expression and

   secretion of the recombinant protein.

          164.    Plaintiffs have not shown any objective evidence supporting a finding that the

   Asserted Claims of the Patents-in-Suit are nonobvious over claim 3 of the Jacobs '690 patent as

   construed by Plaintiffs.

                                 (iv)      Obviousness-Type Double Patenting Over the
                                           Brockhaus '279 Patent

          165.    The Brockhaus '279 patent (DTX-9) is titled "Human TNF Receptor," and issued

   on March 11, 1997. The named inventors listed on the face of the Brockhaus '279 patent are

   Manfred Brockhaus, Reiner Gentz, Zlatko Dembic, Werner Lesslauer, Hansruedi Loetscher, and

   Ernst-Jurgen Schlaeger.

          166.    The Brockhaus '279 patent was assigned to Plaintiff Roche upon issuance.

          167.    The Brockhaus '279 patent expired on March 11, 2014.

          168.    Claim 5 of the Brockhaus '279 patent and the claims upon which it depends recite

   as follows:

                  1. A recombinant protein encoded by a polynucleotide which
                  comprises two DNA subsequences, wherein the first subsequence
                  encodes a soluble fragment of the insoluble TNF receptor protein,
                  wherein said insoluble TNF receptor protein has a apparent
                  molecular weight of about 55 kilodaltons as determined on a non­
                  reducing SDS-polyacrylamide gel, and the second subsequence
                  encodes all of the domains of the constant region of a human
                  immunoglobulin heavy chain other than the first domain of said
                  constant region.



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                  2. A protein of claim 1 wherein said human imrnunoglobulin heavy
                  chain is selected from the group consisting of IgG, IgM, IgA and
                  IgE.
                  3. A recombinant protein of claim 2, wherein said human
                  immunoglobulin heavy chain is IgG.
                  4. A recombinant protein of claim 3, wherein the IgG is IgG l or
                  IgG3.
                  5. A recombinant protein of claim 4, wherein the IgG is lgGl.
          169.    The '182 patent and the Brockhaus '279 patent share common inventors.

          170.    Claim 5 of the Brockhaus'279 patent renders obvious each of the Asserted

   Claims of the '182 patent.

           171.   As properly construed, claim 5 of the Brockhaus'279 patent recites a

   recombinant protein encoded by a polynucleotide comprising the DNA sequence of a soluble

   fragment of the p55 TNF receptor and the DNA sequence for the hinge-CH2-CH3 domain of a

   human IgG1 immunoglobulin (i.e., all of the domains of the constant region of a human IgG1

   immunoglobulin heavy chain other than the first domain of said constant region). Brockhaus

  '279 patent, DTX-9, at claim 5.

          172.    As properly construed, claim 5 of the Brockhaus '279 patent renders obvious each

   of the Asserted Claims of the '182 patent. The only difference between the set of claims is that

   the TNF receptor fragment in the'182 patent is the extracellular region of the p75 TNF receptor,

   instead of a soluble fragment of the p55 TNF receptor. A person of ordinary skill in the art

  would have been motivated to replace the soluble fragment of the p55 TNF receptor in the

  claimed recombinant protein with the extracellular region of the p75 TNF receptor.

          173.    Plaintiffs have not shown any objective evidence supporting a finding that the

  Asserted Claims of the '182 patent are nonobvious over claim 5 of the Brockhaus'279 patent.




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          174.    Plaintiffs have not shown that the narrow exception for application of the two­

   way test does not apply for the Brockhaus '279 patent as an obviousness-type double patenting

   reference to the '182 patent. The application underlying the Brockhaus '279 patent was filed on

   July 21, 1993, before the application underlying the '182 patent was filed on May 19, 1995.

   Brockhaus '279 patent, DTX-9, at cover; '182 patent, DTX-1, at cover. The Brockhaus '279

   patent issued before the '182 patent. Id. The PTO was not solely responsible for the delay in

   causing the Brockhaus '279 patent to issue prior to the '182 patent. The patent applicants were

   partially responsible for the delay in issuance of the '182 patent, which ultimately unjustly

   extended the term of the '182 patent.

           175.   Even if the two-way test were applied, the Asserted Claims of the '182 patent

   render obvious claim 5 of the Brockhaus '279 patent. The only difference between the set of

   claims is that the TNF receptor fragment in claim 5 of the Brockhaus '279 patent is a soluble

   fragment of the p55 TNF receptor, instead of the extracellular region of the p75 TNF receptor. A

   person of ordinary skill in the art would have been motivated to replace the extracellular region

   of the p75 TNF receptor with the extracellular region of the p55 TNF receptor (which is a

   soluble fragment of the p55 TNF receptor).

          176.    Plaintiffs have not shown any objective evidence supporting a finding that claim 5

   of the Brockhaus '279 patent is nonobvious over the Asserted Claims of the '182 patent.

          I 77.   Section 121 's safe harbor does not apply to exclude the Brockhaus '279 patent as

  an obviousness-type double patenting reference to the '182 patent.

          178.    During prosecution of the Brockhaus '279 patent (as the Brockhaus '640

  application), the examiner issued a restriction requirement dividing the pending claims into three

  groups: Group I (the protein and antibody), Group II (the DNA, vector, and host), and Group Ill




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   (method of isolating insoluble homogenous proteins). Prosecution History of Brockhaus '279

   patent, DTX-6, at AMG-ENBNJ-00354294-98. The examiner further required an election of

   species within the claims of each of Groups I and II: subgroup A (55 kD TNF receptor) and

   subgroup B (75 kD TNF receptor). (Id.) The patent applicants elected to continue prosecution

  of the claims in Group IA (the protein and antibody of the pSS TNF receptor). Id. at AMG­

   ENBNJ-00354301. The issued claims of the Brockhaus '279 patent are directed to Group IA.

  Brockhaus '279 patent, DTX-9, at claim 5.

          179.   The patent applicants filed the application underlying the '182 patent (the

  Brockhaus '790 application) as a divisional application to continue prosecution of the claims in

  Group IA (the protein and antibody of the p55 TNF receptor), which is the same group of claims

  as elected in the Brockhaus '279 patent. Prosecution History of the '182 patent, DTX-3, at

  AMG-ENBNJ-00001359. The patent applicants continued to present claims directed to the

  fusion protein of the p55 TNF receptor during prosecution of the '182 patent.

          180.   PTO procedures specifically state that the safe harbor protection does not apply

  when the claims of the second application are drawn to the same invention as the first invention

  or parent. (Manual of Patent Examining Procedure, DTX-284, at 30-31.) During prosecution of

  the '182 patent, the PTO did not afford the application the safe-harbor protections of Section

  121. (Prosecution History of the '182 patent, DTX-3, at AMG-ENBNJ-00001638-40; id. at

  AMG-ENBNJ-00004505-11.)

                 2.     Plaintiffs' Statement

         181.    The judicially created doctrine of obviousness-type double patenting is grounded

  in 35 U.S.C. § 101-which provides that inventors are entitled to "a patent" for their inventions

  (subject to the requirements of the Patent Act). Abbvie Inc. v. Mathilda & Terence Kennedy Inst.

  ofRheumatology Trust, 764 F.3d 1366, 1373-74 (Fed. Cir. 2014). This section of the Patent Act

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   prohibits an inventor from obtaining "more than one patent on the same invention." Eli Lilly &

   Co. v. Teva Pharm. USA, Inc., 619 F.3d 1329, 1341 (Fed. Cir. 2010). The doctrine of

   obviousness type double patenting extended this prohibition to preclude an applicant from

   obtaining two patents that covered "slight variants" of the same invention thus "prevent[ing]

   issuance of a patent on claims that are nearly identical to claims" in another patent. Id.

          182.     Obviousness-type double patenting is applicable only where there is at least one

   inventor in common between a challenged patent and a reference patent, or where the "common

   ownership" requirement is met. 15 In re Hubbell, 709 F.3d 1140, 1148 (Fed. Cir. 2013).

          183.    No court has ever applied the "all substantial rights test"-which Defendants

   attempt to borrow from the law of prudential standing-to determine "common ownership" for

   purposes of obviousness-type double patenting.

          184.     Both of the cases Sandoz relies on for the "all substantial rights test," supra, ,i 97,

  apply the test to prudential standing and do not discuss how "common ownership" is defined for

   the purposes of obviousness-type double patenting. See Speedplay, Inc. v. Bebop, Inc., 211 F .3d

   1245, 1249-50 (Fed. Cir. 2000); see also Diamond Coating Techs., LLC v. Hyundai Motor Am.,

   823 F.3d 615, 618-19 (Fed. Cir. 2016).

          185.    No court has ever treated a license agreement as transferring ownership and

   creating "common ownership" for purposes of obviousness-type double patenting.

          186.    No court has ever indicated that anything less than 100% common ownership will

  suffice for purposes of the "common ownership" requirement.




  15 As explained below, the parties dispute the contours of the common ownership requirement, including the
  applicable test for determining common ownership and the relevant time period in which common ownership must
  exist.



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          187.    Consistent with § 10 l, obviousness-type patenting attaches where patents share a

   common inventor or common ownership at the time of invention, prohibiting inventors or those

   who own an invention from pursuing multiple patents on the same or patentably indistinct

   inventions. Double patenting thus does not apply when patents are licensed or transferred long

   after the time of invention, and no court has invoked double patenting to invalidate a patent

   based on a license agreement entered into many years after an invention was made.

          188.    In the limited circumstances where obviousness-type double patenting may apply,

   the analysis involves two steps:
          •       First, the court construes the claims in the earlier patent and the claims in the later

                  patent and determines the differences.
          •       Second, the court determines, on a claim-by-claim basis, whether those

                  differences render the claims patentably distinct.

          189.    A later claim that is not patentably distinct from, i.e., is obvious over or

   anticipated by, an earlier claim is invalid for obviousness-type double patenting. Abbvie, 764

   F.3d at 1374. The obviousness analysis in the context of obviousness-type double patenting

   includes consideration of objective indicia of non-obviousness. Eli Lilly, 689 F.3d at 1381.

          190.    In assessing whether the claims of a challenged patent and a reference patent are

  patentably distinct, the subject matter of each of the claims must be considered as a whole. See

   Gen. Foods Corp. v. Studiengesellschafl Kohle mbH, 972 F.2d 1272, 1278 (Fed. Cir. 1992)

  ("Claims must be read as a whole in analyzing a claim of double patenting.").

          191.    35 U.S.C. § 121 provides a safe harbor that prevents an earlier issued patent from

  being used as a reference to challenge the validity of a later issued patent if a restriction

  requirement was made by the Patent Office during prosecution of the application that resulted in




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   the earlier issued patent and the later issued patent issued from a divisional application of the

   application that resulted in the earlier issued patent.

            192.      If a restriction requirement is made by the Patent Office during prosecution that

   requires the applicant to elect a species within a genus, an application and patent that claims that

   species falls under the safe harbor provisions of 35 U.S.C. § 121. See St. Jude Med., Inc. v.

   Access Closure, Inc., 729 F.3d 1369, 1378-79 (Fed. Cir. 2013); see also Manual of Patenting

   Examining Procedure (MPEP) § 806.04(d), 8th Edition, Rev. 8 (July 2010).

             193.     Sandoz alleges that the Asserted Claims are invalid for obviousness-type double

   patenting. 16

            194.      Pursuant to the Amended Stipulation (D.I. 510 � 3.a), Sandoz has identified three

   double-patenting reference families: U.S. Patent Nos. 7,915,225 ("Finck '225 patent"), 8,119,605

   ("Finck '605 patent"), and 8,722,631 ("Finck '631 patent"); U.S. Patent No. 5,605,690 ("Jacobs

   '690 patent"); and U.S. Patent No. 5,610,279 ("Brockhaus '279 patent"). 17

            195.      Specifically, Sandoz alleges that the Asserted Claims are not patentably distinct

   from claim 1 of the Finck '225 patent, which recites:

                      A method for treating a patient having psonas1s comprising
                      administering to the patient a therapeutically effective dose of
                      TNFR:Fc, wherein the patient attains at least fifty percent
                      improvement in PASI score.

            196.      Sandoz also alleges that the Asserted Claims are not patentably distinct from

  claim 1 of the Finck '605 patent, which recites:




   16 Joint Pretrial Report. D.I. 486.

    See June 5, 2018 Sandoz's Disclosure of Obviousness Combinations and Double Patenting Reference Families
   11

  (attached as Joint Exhibit 2).



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                  A method for treating a patient having ordinary psoriasis comprising
                  administering to the patient a therapeutically effective dose of
                  TNFR:Fc.
          197.   Sandoz also alleges that the Asserted Claims are not patentably distinct from

   claim 1 ofthe Finck '631 patent, which recites:

                  A method oftreatment comprising administering a dose ofTNFR:Fc
                  to a patient having psoriatic arthritis and/or plaque psoriasis,
                  wherein the dose is administered one time or two times per week,
                  and wherein the dose administered is 25-50 mg or 50-100 mg, and
                  wherein the dose is administered by subcutaneous injection.
          198.   Sandoz also alleges that the Asserted Claims are not patentably distinct from

   claim 3 ofthe Jacobs '690 patent, which recites:

                 A method for lowering the levels of active TNF-a in a mammal in
                 need thereofwhich comprises administering to said mammal a TNF­
                 lowering amount ofa chimeric antibody comprising a TNF receptor
                 comprising the sequence of amino acids 3-163 of SEQ ID NO:1
                 fused to the constant domain ofan irnmunoglobulin molecule.
          199.   Sandoz also alleges that the Asserted Claims are not patentably distinct from

  claim 5 ofthe Brockhaus '279 patent, which recites:

                 A recombinant protein encoded by a polynucleotide which
                 comprises two DNA subsequences, wherein the first subsequence
                 encodes a soluble fragment of the insoluble TNF receptor protein,
                 wherein said insoluble TNF receptor protein has a apparent
                 molecular weight of about 55 kilodaltons as determined on a non­
                 reducing SDS-polyacrylamide gel, and the second subsequence
                 encodes all of the domains of the constant region of a human
                 irnmunoglobulin heavy chain other than the first domain of said
                 constant region [wherein the inununoglobulin heavy chain is lgG1].

          200.   Plaintiffs dispute Sandoz's allegations ofobviousness-type double patenting.

          201.   As with obviousness under 35 U.S.C. § 103, obviousness-type double patenting is

  a question oflaw premised on underlying factual inquiries, including findings regarding

  objective indicia, considered in a Section 103 obviousness analysis. Eli Lilly, 689 F.3d at 1376.




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          202.    Issued patents are presumed valid. See 35 U.S.C. § 282(a). To rebut the

  presumption of validity, Defendants bear the burden of proving invalidity by clear and

  convincing evidence, Microsoft Corp. v. i4i Ltd. P'ship, 564 U.S. 91, 110-14 (2011), and that

   "ultimate burden never shifts." Tech. Licensing Corp. v. Videotek, Inc., 545 F.3d 1316, 1329

   (Fed. Cir. 2008); see also Symbol Techs., Inc. v. Opticon, Inc., 935 F.2d 1569, 1580 (Fed. Cir.

   1991) (explaining that defendant was "required to prove double patenting by clear and

  convincing evidence, a heavy and unshifting burden"). Defendants' suggestion that Plaintiffs

  bear the burden of proof or the burden of persuasion with respect to certain double-patenting

   issues is therefore misplaced. To the extent that fact questions arise-regarding, for example

   whether all substantial rights were transferred under the Accord & Satisfaction, or who was

  responsible for delays at the Patent Office during a relevant period-Sandoz bears the burden of

  proving any necessary facts by clear and convincing evidence.

                         a.      Plaintiffs' Statement of Issues of Law to Be Litigated

          203.    Whether Defendants have proven, by clear and convincing evidence, that each of

   the Asserted Claims of the '182 patent is invalid for obviousness-type double patenting based on

  one or more of the three purported reference families identified by Defendants.

          204.   Whether Defendants have proven, by clear and convincing evidence, that each of

  the Asserted Claims of the '522 patent is invalid for obviousness-type double patenting based on

  one or more of the three purported reference families identified by Defendants.

          205.   Whether Defendants have proven, by clear and convincing evidence, that the

  doctrine of obviousness-type double patenting can apply where the challenged patent and

  reference patent share no common inventors and the owner of the challenged patent at the time

  of its invention and the owner of the reference patent at the time of its invention are not the same.




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           206.     In the absence of any common inventors, what must Defendants prove by clear

   and convincing evidence in order to establish the "common ownership" requirement under the

   obviousness-type double patenting doctrine, including but not limited to:
           •        Whether Defendants must prove "common ownership" of the challenged and

                    reference patents by the same legal entity, and if not, what relationship between

                    legally distinct entities is sufficient for Defendants to prove "common

                    ownership";
           •        Whether Defendants must prove "common ownership" of the challenged and

                    reference patent by showing identity (or some other specific relationship) between

                    the entity that owned the challenged patent at the time of its invention and the

                    entity that owned the reference patent at the time of its invention, rather than at a

                    later time; and
           •        If Defendants have proven, by clear and convincing evidence, that the

                    obviousness type double patenting doctrine allows an entity that did not own a

                    challenged patent at the time of its invention to become a "common owner" after­

                    the-fact-whether such after-the-fact "common ownership" can be established by

                    acquisition of less than all rights in a patent (rather than ownership-in-fact), and if

                    so, what requirements such after-the-fact acquisition must have.

           207.     Whether Defendants have proven by clear and convincing evidence that the

   patent-term protection afforded by Congress to patents issuing from pre-GAIT patent

   applications can be vitiated by operation of the judicially-created doctrine of obviousness-type

   double patenting based on a patent issuing from a post-GAIT patent application. 18


   18 Patents that mature from applications filed before the June 8, 1995 effective date of the Uruguay Round of the
   General Agreement on Tariffs and Trade and Trade-Related Aspects oflntellectual Property are commonly referred


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          The Finck Patents

          208.     Whether Defendants have proven, by clear and convincing evidence, that the

   Finck Patents, which issued from post-GATT applications, are available as potential references

   in an obviousness-type double patenting challenge against the Asserted Claims (given that

   Patents-in-Suit issued from pre-GATT applications).

          209.     Whether Defendants have proven, by clear and convincing evidence, that the

   Finck Patents satisfy the common ownership requirement necessary to allow them to be available

   as potential references in an obviousness-type double patenting challenge against the Patents-in­

   Suit, including but not limited to:
           •       Whether the Finck Patents and the Patents-in-Suit are entirely owned by the same

                   entity;
           •       Whether Defendants have proven by clear and convincing evidence that the entity

                   that owned the Patents-in Suit at the time of their invention also owned the Finck

                   Patents' at the time oftheir invention; and
           •       If Defendants have proven, by clear and convincing evidence, (i) that the

                   obviousness type double patenting doctrine allows an entity that did not own a

                   challenged patent at the time ofits invention to become a "common owner" after­

                   the-fact, and (ii) that such after-the-fact "common ownership" can be established

                   by acquisition ofless than all rights in a patent-whether Defendants have proven

                   by clear and convincing evidence that the 2004 Accord & Satisfaction conveyed




  to as "pre-GATT" patents. E.g., Gilead Sciences Inc. v. Natco Pharma Ltd., 753 F.3d 1208, 1211 (Fed. Cir. 2014).
  Applications filed after June 8, 1995 are commonly referred to as "post-GATT" patents. Id. The Patents-in-Suit are
  pre-GATT patents because they were filed before June 8, 1995.



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                  to Irnrnunex sufficient rights to establish lrnmunex as the owner, rather than the

                  exclusive licensee, of the Patents-in-Suit.

          210.    If Sandoz bas proven, by clear and convincing evidence, that the Finck Patents are

   available as potential references in an obviousness-type double patenting challenge against the

   Patents-in-Suit-whether Defendants have proven, by clear and convincing evidence, that the

   "two-way test" for determining patentable distinctness does not apply, notwithstanding the fact

   that there was no applicant-caused delay in the prosecution of the Patents-in-Suit during the

   period that the applications that resulted in the Finck Patents and the applications that resulted in

   the Patents-in-Suit were co-pending, or even during the period that they were allegedly "co­

   owned."

          211.    If Sandoz has proven, by clear and convincing evidence, that the Finck Patents are

   available as potential references in an obviousness-type double patenting challenge against the

   Patents-in-Suit,:
           •      The meaning of (i) claim 1 of the Finck '225 patent, (ii) claim 1 of the Finck '605

                  patent, and (iii) claim 1 of the Finck '631 patent;
           •      Whether Defendants have proven by clear and convincing evidence that the

                  Asserted Claims are not patentably distinct from (i) claim l of the Finck '225

                  patent, (ii) claim 1 of the Finck '605 patent, and (iii) claim 1 of the Finck '631

                  patent;
           •      Whether the law allows the use of a single limitation from claim 1 of the Finck

                   '225 patent, claim 1 of the Finck '605 patent, and claim 1 of the Finck '631

                  patent, rather than the invention claimed as a whole in these claims, to invalidate

                  the Asserted Claims; and




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           •      If Defendants have failed to prove, by clear and convincing evidence, that the

                  "two-way test" for determining patentable distinctness does not apply, whether

                  Defendants have proven by clear and convincing evidence that the Asserted

                  Claims would render obvious the methods of treatment (i.e., psoriasis and/or

                  psoriatic arthritis) claimed in (i) claim 1 of the Finck '225 patent, (ii) claim 1 of

                  the Finck '605 patent, and (iii) claim 1 of the Finck '631 patent.

           The Jacobs '690 Patent

          212.    Whether Defendants have proven, by clear and convincing evidence, that the

   Jacobs '690 patent satisfies the common ownership requirement necessary to allow it to be

  available as a potential reference in an obviousness-type double patenting challenge against the

   Patents-in-Suit, including but not limited to:
          •       Whether Defendants have proven by clear and convincing evidence that the

                  Jacobs '690 patent and the Patents-in-Suit are entirely owned by the same entity;
          •       Whether Defendants have proven by clear and convincing evidence that the entity

                  that owned the Patents-in-Suit at the time of their invention also owned the Jacobs

                  '690 patent at the time of its invention; and
          •       If Defendants have proven, by clear and convincing evidence, (i) the obviousness­

                  type double-patenting doctrine allows an entity that did not own a challenged

                  patent at the time of its invention to become a "common owner" after-the-fact,

                  and (ii) that such after-the-fact "common ownership" can be established by less

                  than all rights in a patent-whether Defendants have proven by clear and

                  convincing evidence that the 2004 Accord & Satisfaction conveyed to lmmunex




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                  sufficient rights to establish Immunex as the owner, rather than the exclusive

                  licensee, ofthe Patents-in-Suit.

          213.    IfSandoz has proven, by clear and convincing evidence, that the Jacobs '690

   patent is available as a potential reference in an obviousness-type double patenting challenge

   against the Patents-in-Suit:
          •       The meaning ofclaim 3 ofthe Jacobs '690 patent, including the meaning ofthe

                  term "chimeric antibody comprising the sequence ofthe amino acids 3-163 of

                  SEQ ID NO: 1 fused to the constant domain ofan immunoglobulin";
          •       Whether Defendants have proven by clear and convincing evidence that the

                  Asserted Claims are not patentably distinct from claim 3 ofthe Jacobs '690

                  patent; and
          •       Whether the law allows the use ofa single limitation from claim 3 ofthe Jacobs

                  '690 patent, rather than the invention claimed as a whole in this claim, to

                  invalidate the Asserted Claims.

          The Brockhaus '279 Patent

          214.    Whether Defendants have proven, by clear and convincing evidence, that the safe

   harbor of35 U.S.C. § 121 does not protect the '182 patent against a double-patenting challenge

  based on the Brockhaus '279 patent, given that the claims ofthe '182 patent arose after a

   restriction requirement made by the USPTO requiring the applicant to elect between subject

   matter encompassing the p55 TNF receptor protein or the p75 TNF receptor protein and, as

  issued, are in consonance with the subject matter ofthe restriction requirement.

          215.    Whether Defendants have proven, by clear and convincing evidence, that the safe

   harbor of35 U.S.C. § 121 does not protect the '522 patent against a double-patenting challenge



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   based on the Brockhaus '279 patent, given that the claims of the '522 patent arose after a

  restriction requirement made by the USPTO requiring the applicant to elect between subject

  matter encompassing proteins and antibodies, on the one hand, and DNA, vector, and host, on

   the other hand, as well as between subject matter encompassing the p55 TNF receptor protein or

  the p75 TNF receptor protein, and are in consonance with the subject matter of the restriction

  requirement.

           216.      If Defendants have proven, by clear and convincing evidence, that the safe harbor

  of35 U.S.C. § 121 does not apply to either or both of the Patents-in Suit:
           •        The meaning of claim 5 of the Brockhaus '279 patent;
           •        Whether Defendants have proven by clear and convincing evidence that the

                     Asserted Claims of the 'I 82 patent and/or the '522 patent (as applicable) are not

                     patentably distinct from claim 5 of the Brockhaus '279 patent; and
           •        Whether the law allows the use of select limitations from claim 5 of the

                     Brockhaus '279 patent, rather than the invention claimed as a whole in this claim,

                     to invalidate the applicable Asserted Claims.

                              b.       Plaintiffs' Statement of Issues of Fact to Be Litigated 19

           217.     If Defendants have proven, by clear and convincing evidence, (i) that the

  obviousness type double patenting doctrine allows an entity that did not own a challenged patent



  19 Defendants  wrongly claim that Plaintiffs' statements regarding the "contested facts" are improper. See, supra,§
  VII.A.2, footnote 19. While the parties agreed to follow a model pretrial order, the "contested facts" section of that
  model sets out each side's "additional proposed stipulation of facts." Hence, this section includes general scientific
  facts, and other basic issues, for which the parties were apparently unable to sufficiently agree to for inclusion in the
  "stipulation of facts" section of the model order. The "contested facts" section was not intended to set out (even at a
  high level) the issues of fact to be litigated in the case, as borne out by the fact the accused infringer in that case
  identified only three "additional proposed stipulation of facts," in a case involving issues of infringement,
  anticipation, obviousness, obviousness-type double patenting, lack of written description and enablement,
  inequitable conduct, etc.



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   at the time of its invention to become a "common owner" after-the-fact, and (ii) that such after­

  the-fact "common ownership" can be established by acquisition of less than all rights in a

   patent-whether Defendants have proven by clear and convincing evidence that the parties to the

  2004 Accord & Satisfaction intended to and did convey to Immunex sufficient rights to establish

  Immunex as the owner, rather than the exclusive licensee, of the Patents-in-Suit.20

           218.     If Sandoz has proven, by clear and convincing evidence, that the Finck Patents are

  available as potential references in an obviousness-type double patenting challenge against the

  Patents-in-Suit:
           •        The differences between (i) claim 1 of the Finck '225 patent and the Asserted

                    Claims, (ii) claim 1 of the Finck '605 patent and the Asserted Claims, and (iii)

                    claim 1 of the Finck '631 patent and the Asserted Claims;
           •        The level of ordinary skill in the art;
           •        Whether Defendants have proven, by clear and convincing evidence, that there

                    was a motivation, with a reasonable expectation of success, to treat psoriasis

                   and/or psoriatic arthritis with "TNFR:Fc" at the time of the invention; and
           •       Whether, once established by Plaintiffs, Defendants have rebutted, by clear and

                    convincing evidence, the objective indicia of non-obviousness.

           219.     If Sandoz has proven, by clear and convincing evidence, that the Finck Patents are

  available as potential references in an obviousness-type double patenting challenge against the

  Patents-in-Suit-whether Sandoz has proven, by clear and convincing evidence, that there was

  any delay caused by applicants during any period in which the applications that resulted in the


  20 lmmunex is the assignee of the Finck Patents and the Jacobs '690 patent, having obtained assignments from the
  inventors of these patents. Roche is the assignee of Patents-in-Suit, having obtained assignments from the inventors
  of the Patents-in-Suit.



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   Finck Patents and the applications that resulted in the Patents-in-Suit were co-pending, or even

   the period in which they were allegedly co-owned.

           220.     If Sandoz has proven, by clear and convincing evidence, that the Jacobs '690

   patent is available as a potential reference in an obviousness-type double patenting challenge

  against the Patents-in-Suit:
           •        The differences between claim 3 of the Jacobs '690 patent and the Asserted

                    Claims·'21
           •        The level of ordinary skill in the art;
           •        Whether Defendants have proven, by clear and convincing evidence, that there

                    was a motivation, with a reasonable expectation of success, to modify the

                    "chimeric antibody" of claim 3 of the Jacobs '690 patent (which comprises a

                    fragment of the extracellular region of the p75 TNF receptor "fused to the

                    constant domain of an immunoglobulin molecule") to arrive at a fusion protein

                    that meets each and every limitation of the Asserted Claims at the time of the

                    invention (which consists of the entire extracellular region of the p75 TNF

                    receptor fused to "all of the domains of the constant region ... other than the first

                    domain of said constant region"); and
           •        Whether, once established by Plaintiffs, Defendants have rebutted, by clear and

                    convincing evidence, the objective indicia of non-obviousness.




  21 Defendants now claim that the "only difference between" claim 3 of the Jacobs '690 patent and the Asserted
  Claims of the '522 patent is that the Asserted Claims "further recites a method for producing etanercept." See,
  supra, 1 168. Plaintiffs dispute that this is the only difference between claim 3 of the Jacobs '690 patent and the
  subject matter of the Asserted Claims.



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          221.    If Sandoz has proven, by clear and convincing evidence, that the Brockhaus '279

   patent is available as a potential reference in an obviousness-type double patenting challenge

   against the Patents-in-Suit-whether Sandoz has proven, by clear and convincing evidence:
          •   The differences between claim 5 of the Brockhaus '279 patent and the applicable

              Asserted Claims;
          •   The level of ordinary skill in the art;
          •   Whether Defendants have proven, by clear and convincing evidence, that there was a

              motivation, with a reasonable expectation of success, to modify the "recombinant

              protein" of claim 5 of the '279 patent (which comprises a genus of fusion proteins

              that include any "soluble fragment of the insoluble" p55 TNF receptor) to arrive at a

              fusion protein that meets each and every limitation of the Asserted Claims at the time

              of the invention (which consists of the entire extracellular region of the p75 TNF

              receptor fused to "all of the domains of the constant region...other than the first

              domain of said constant region"); and

          •   Whether, once established by Plaintiffs, Defendants have rebutted, by clear and

              convincing evidence, the objective indicia of non-obviousness.

                         c.       Response to Defendant's Statement of Contested Facts

          222.    Plaintiffs object to Defendants' "Statement of Contested Facts" in the section

  above. Rather than identifying disputed factual questions, Defendants' statement does nothing

  more than provide a summary of Defendants' position (in paragraph form) based on a misleading

  and selective portrayal of the facts. In addition, many of the facts that Defendants characterize as

  not disputed are, in fact, disputed.




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          C.      Obviousness (35 U.S.C. § 103)

                  1.      Defendants' Statement

          223.    "A patent may not be obtained though the invention is not identically disclosed or

   described as set forth in section 102, if the differences between the subject matter sought to be

   patented and the prior art are such that the subject matter as a whole would have been obvious at

   the time the invention was made to a person having ordinary skill in the art to which said subject

   matter pertains." 35 U.S.C. § 103(a).

          224.    "Under § 103, the scope and content of the prior art are to be determined;

  differences between the prior art and the claims at issue are to be ascertained; and the level of

   ordinary skill in the pertinent art resolved. Against this background, the obviousness or

   nonobviousness of the subject matter is determined. Such secondary considerations as

  commercial success, long felt but unresolved needs, failure of others, etc., might be utilized to

  give light to the circumstances surrounding the origin of the subject matter sought to be patented.

  As indicia of obviousness or nonobviousness, these inquiries may have relevancy." Graham v.

  John Deere Co., 383 U.S. 1, 17-18 (1966).

          225.    The Supreme Court has adopted an "expansive and flexible approach" to question

  of obviousness. KSR Int'/ Co. v. Teleflex Inc., 550 U.S. 398, 415 (2007). For example, "[w]hen

  a work is available in one field of endeavor, design incentives and other market forces can

  prompt variations of it, either in the same field or a different one. If a person of ordinary skill

  can implement a predictable variation,§ 103 likely bars its patentability. For the same reason, if

  a technique has been used to improve one device, and a person of ordinary skill in the art would

  recognize that it would improve similar devices in the same way, using the technique is obvious

  unless its actual application is beyond his or her skill." Id. at 417.




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           226.    In the context of new chemical compounds, "the accused infringer must identify

   some reason that would have led a chemist to modify a known compound." Bristol-Myers

   Squibb Co. v. Teva Pharms. USA, Inc., 752 F.3d 967,973 (Fed. Cir. 2014). "The motivation to

   modify that lead compound can come from any number of sources and need not necessarily be

   explicit in the art. '(I]t is sufficient to show that the claimed and prior art compounds possess a

   sufficiently close relationship ... to create an expectation, in light of the totality of the prior art,

   that the new compound will have similar properties to the old."' Id.

           227.    Evidence of simultaneous invention by those working in the field is relevant

   evidence to show that the motivation to combine the elements of the prior art according to the

   claimed invention is not the result of any hindsight bias. International Glass Co. v. U.S., 408

   F.2d 395,405 (Ct. Cl. 1969) ("The problem of hindsight [in an obviousness analysis] is greatly

  minimized in this case where there is evidence of the level of ordinary skill in the art and how

   those skilled in the art approached and solved problems" addressed by the claimed invention.).

   ''The fact of near-simultaneous invention, though not determinative of statutory obviousness, is

   strong evidence of what constitutes the level of ordinary skill in the art." Id. Thus,

   "(i]ndependently made, simultaneous inventions, made 'within a comparatively short space of

  time,' are persuasive evidence that the claimed apparatus 'was the product only of ordinary

   mechanical or engineering skill."' Geo. M. Martin Co. v. Alliance Machine Sys. Intern. LLC,

  618 F.3d 1294, 1305-06 (Fed. Cir. 2010) (finding that a machine "occurring only a year later

  than the earliest possible reduction-to-practice date of the claimed invention, qualified as a

  simultaneous invention" supporting obviousness).

           228.    Copying in the context of regulatory approval of a drug product is not probative

  evidence of nonobviousness. The BPCIA established an abbreviated pathway for the approval of




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   biological drugs that meet the requirements for biosimilarity to a previously approved reference

   biological drug. 42 U.S.C. § 262(k). Biosimilarity requires evidence that: "(A) that the

   biological product is highly similar to the reference product notwithstanding minor differences in

   clinically inactive components; and (B) there are no clinically meaningful differences between

   the biological product and the reference product in terms of the safety, purity, and potency of the

   product." 42 U.S.C. § 262(i)(2). FDA Guidance confirms this. In the similar context of

   abbreviated new drug applications, copying has been found to have no probative value to the

  question of nonobviousness. Bayer Healthcare Phann., Inc. v. Watson Pharm., Inc., 713 F.3d

   1369, 1377 (Fed. Cir. 2013) (explaining that copying is "not probative of nonobviousness" in

  pharmaceutical cases because "a showing of bioequivalence is required for FDA approval"); see

  also Purdue Pharma Prod. L.P. v. Par Phann., Inc., 377 F. App'x 978,983 (Fed. Cir. 2010)

   (same); Hoffmann-La Roche Inc. v. Apotex Inc., No. 07 4417, 2012 WL 1637736, at *20 (D.N.J.

  May 7,2012) (same).

                         a.      Defendants' Statement of the Issues of Law to be Litigated

          229.    Whether Defendants have proven by clear and convincing evidence that the

  Asserted Claims of the Patents-in-Suit are invalid as obvious to a person of ordinary skill in the

  art as of August 1990 pursuant to 35 U.S.C. § 103?

                         b.      Defendants' Statement of the Issues of Fact to be Litigated

          230.    What are the qualifications of a person of ordinary skill in the art?

          231.    Whether the scope and content of the prior art as of August 1990 describes each

  of the elements of the Asserted Claims of the Patents-in-Suit?

          232.    What are the differences between the claimed invention and the prior art?

          233.    Whether a person of ordinary skill in the art as of August 1990 would have been

  motivated to develop a fusion protein consisting of the extracellular region of the p75 TNF


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   receptor and the hinge-CH2-CH3 domain of a human IgG I immunoglobulin, with a reasonable

   expectation of success, in light of the prior art?

           234.    Whether a person of ordinary skill in the art as of August 1990 would have been

  motivated to culture a host cell comprising the polynucleotide encoding the claimed fusion

   protein and to purify the fusion protein from the cell culture medium, with a reasonable

   expectation of success?

          235.    Whether the objective indicia support the obviousness of the Asserted Claims of

   the Patents-in-Suit?

                          c.      Defendants' Statement of the Contested Facts

          236.    Each of the Asserted Claims of the Patents-in-Suit would have been obvious to a

  person of ordinary skill in the art as of August 31, 1990.

          237.    Real-world evidence shows that several research groups-namely, Immunex and

   Behringwerke, UT Southwestern, and Genentech-before and shortly after August 1990 had the

   idea and independently developed TNF receptor-IgG fusion proteins. In particular, independent

  of any involvement of Plaintiff Roche, scientists at Immunex and Behringwerke had developed a

  p75 TNF receptor-IgG 1 fusion protein prior to August 1990 and had developed the specific

  etanercept protein by November 1990. Scientists at Roche did not conceive of or make

  etanercept. Immunex relies on its own research to argue that the patents filed by Roche scientists

  are nonobvious.

                                  (i)     Level of Ordinary Skill in the Art

          238.    A person of ordinary skill in the art with respect to the claimed subject matter of

  the Patents-in-Suit would include a person who possess a M.D. or Ph.D. in biology, molecular

  biology, biochemistry, chemistry, or a similar field with 1-2 years of experience in the field of




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   immunology or molecular immunology, including experience with cloning and expression of

   DNA, protein biochemistry, cell culture, protein purification, and immunological assays.

                                      (ii)     Scope and Content of the Prior Art As of August 199022

           239.     The Asserted Claims of the Patents-in-Suit would have been obvious to a person

   of ordinary skill in the art in August 1990 in light of the prior art relating to (1) the TNF

   receptors and (2) fusion proteins containing a portion of a receptor fused to a portion of an

   immunoglobulin including human IgG1 at different junctions, including the "hinge" region. It is

   undisputed that by August 1990 the receptor-IgG1 fusion proteins were shown to enhance the

   properties of the soluble receptors. Prior art examples of receptor-IgGI fusion proteins include

   fusion proteins that fuse the soluble ligand-binding portion of CD4 to the hinge-CH2-CH3

   portion of a human IgG 1 (e.g., the Seed '262 publication, and Byrn 1990) and fusion proteins

   that fuse the soluble ligand-binding portion of a homing receptor to the hinge-CH2-CH3 portion

  of a human IgGl (e.g., Capon '964 patent and Watson 1990).

           240.     Tumor necrosis factor-a and-�, collectively referred to as "TNF," are small

  proteins that are involved in cell signaling, which is a means by which cells perceive and respond

   to their extracellular environment. This was well established as of August 1990 and is not

  disputed. The messenger of the signals, such as TNF, is referred to as a "ligand." When a ligand

   binds to its receptor on the outside of a cell, the receptor transmits the signal to the inside of the

  cell, leading to various physiological effects.

           241.     By August 1990, scientists had identified two cell-surface receptors that

  specifically bind TNF: the p55 TNF receptor and the p75 TNF receptor. See Brockhaus 1990,


  22 On July 13, 2018, Defendants identified background references describing aspects of the state of the prior art in
  August 1990 for purposes of demonstrating Defendants' case of prima fade obviousness. See Letter from Maureen
  Rurka to Vernon M. Winters (July 13, 2018).



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   DTX-36, at 3127. The DNA and amino acid sequences for both receptors were reported in the

   prior art by August 1990. See, e.g., Loetscher 1990, DTX-47, at Figure 2A; Schall 1990, DTX-

   34, at Figure 1; Smith '760 patent, DTX-45, at Figures 2A-2B; Smith 1990, DTX-24, at Figure 3.

   Plaintiffs' experts do not dispute these facts.

          242.    By August 1990, TNF was known to cause a biological effect on cells by binding

  to the TNF receptors that are expressed on the cell surface ofTNF-responsive cells. The

  overproduction ofTNF was shown to be associated with significant harmful effects on the body,

  including causing diseases, such as rheumatoid arthritis where the body's immune system begins

  to attack healthy tissue. See, e.g., Brennan 1989, DTX-75, at 244; Hinshaw 1990, DTX-79, at

  279; Jacob 1989, DTX-127, at 254. A known strategy for mitigating diseases that are caused by

  the overstimulation ofa cell signaling pathway is to inhibit the binding ofthe ligand to its cell­

  surface receptor. For example, this binding may be inhibited by administering the soluble form

  ofthe receptor (i.e., the extracellular region ofthe receptor that is no longer attached to the cell),

  which acts as a "decoy" receptor that binds to the ligand, thereby leaving less ligand available to

  bind to the cell-surface receptor. See, e.g., Smith '760 patent, DTX-45, at col. 2, 1. 67 - col. 3, I.

  6; Capon '964 patent, DTX-43, at col. 4, 11. 16-20. None ofthese facts are in dispute.

          243.    By August 1990, scientists had isolated in human blood and urine naturally­

  occurring TNF-binding proteins that were believed to play an important physiological role in

  inhibiting the binding ofTNF to its cell-surface receptor. See, e.g., Seckinger 1989, DTX-21, at

  11966; Seckinger 1990b, DTX-29, at 5188; Engelmann 1989, DTX-51, at 11974; Engelmann

  1990, DTX-49, at 1531. These TNF-binding proteins had been identified as the extracellular

  regions ofthe TNF receptors, which had been enzymatically cleaved at the cell surface to form a




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   soluble TNF receptor. See id.; see also Loetscher 1990, DTX-47, at 354; Schall 1990, DTX-34,

   at 36 1. None of these facts are in dispute.

          244.    By August 1990, the prior art taught administering a soluble form of the TNF

   receptor or other TNF-binding protein derived from the soluble form of the TNF receptor as a

   potential therapeutic agent to target TNF and inhibit its binding to its cell-surface receptors. See,

   e.g., Wallach '378 publication, DTX-38; Hohmann 1989, DTX-52; Loetscher 1990, DTX-47;

   Schall, DTX-34; Smith '760 patent, DTX-45; Smith 1990, DTX-24. These soluble forms

   comprising the extracellular region of the TNF receptor were shown known to bind TNF with

   high affinity. This is not disputed.

          245.    By August 1990, the prior art taught the construction of fusion proteins that fused

   the soluble, TNF-binding portion of a p75 TNF receptor to a portion of a human IgG1. For

   example, the Smith '760 patent taught that the construction of both a soluble p75 TNF receptor

   and a chimeric antibody comprised of the soluble p75 TNF receptor fused to the constant

   domains of an IgG 1 immunoglobulin, which are both useful in diagnostic assays to study TNF

   and in therapy to bind or scavenge for TNF. See Smith '760 patent, DTX-45, at col. 2, I. 67 -

  col. 3, I. 6, col. 9, 11. 17-29, col. 10, 11. 53-61. This is not disputed.

          246.    By August 1990, the prior art taught that the properties of the soluble receptor

  (e.g., CD4, lymphocyte homing receptor, and others) may be enhanced by developing receptor­

  IgG 1 fusion proteins, including by joining the soluble receptor to the hinge-CH2-CH3 portion of

  an IgGl. See, e.g., Seed '262 publication, DTX-33; Capon 1989, DTX-23; Traunecker 1989,

  DTX-25; Capon '964 patent, DTX-43; Byrn 1990, DTX-22; Watson 1990, DTX-30. Fusing

  soluble receptors to the hinge-CH2-CH3 domain of a human IgG 1 immunoglobulin were shown

  to provide several advantages, including (i) extending the half-life of the soluble receptor in vivo,




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   (ii) providing for a bivalent structure that can enhance binding of the receptor to its ligand, and

   (iii) allowing for purification of the receptor using standard affinity chromatography techniques.

   The DNA and amino acid sequences of the human lgGl irnmunoglobulin, including the

   sequences for the hinge-CH2-CH3 portion, were known by August 1990. This is not disputed.

          247.    By August 1990, the recombinant DNA technology had developed routine

   techniques for cutting and fusing DNA molecules together to form a fusion DNA sequence.

   Routine techniques allowed for the production of fusion proteins using suitable vectors to

   introduce the DNA sequence into host cells and to culture the host cells to express the fusion

   protein. This is not disputed.

          248.    By August 1990, the prior art taught the receptor-IgGl fusion proteins have broad

   usefulness as inhibitors to block the binding of a ligand to its receptor in conditions aggravated

   by the ligand-receptor binding. See, e.g., Traunecker 1989, DTX-25, at 70; Capon '964 patent,

   DTX-43, at col. 4, 11. 16-20, 38-41; Watson 1990, DTX-30, at 2221, 2228. The prior art teaches

   the use of these receptor-IgG1 fusion proteins as therapeutic agents in immune and inflammatory

  diseases, including rheumatoid arthritis. See, e.g., Capon' 964 patent, DTX-43, at col. 30, IL 42-

  48; Watson 1990, DTX-30, at 2228.

                                    (iii)   Motivation to Combine and Reasonable Expectation of
                                            Success As of August 1990

          249.    The prior art collectively teach and would have motivated a person of ordinary

  skill in the art to develop a fusion protein capable of specifically binding TNF consisting of the

   extracellular region of the p75 TNF receptor fused to the hinge-CH2-CH3 portion of an IgGI

  immunoglobulin. The amino acid and DNA sequences of both the p75 TNF receptor and the

  IgG immunoglobulin were known and published in the prior art by August 1990.




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             250.   A person of ordinary skill in the art in August 1990 would have been motivated to

   develop a TNF-binding protein, including as a tool to study TNF and its mechanism of action

   and as a potential therapeutic agent to inhibit the role ofTNF in mediating certain inflammatory

   and immune diseases.

             251.   A person ofordinary skill in the art in August 1990 would have been motivated to

   select the extracellular region of the p75 TNF receptor, which was shown to specifically bind

   TNF, as a starting point in developing a TNF-binding protein. A person of ordinary skill in the

   art in August 1990 would have been motivated to fuse the extracellular region of the p75 TNF

  receptor to an lgGl irnmunoglobulin, including to extend the half-life of the receptor, enhance

   the binding ofthe receptor to TNF, and permit use of standard techniques to purify the receptor.

  A person of ordinary skill in the art in August 1990 would have been motivated to fuse the

  extracellular region of the p75 TNF receptor at the hinge of an IgGl immunoglobulin (thereby,

   leaving the hinge-CH2-CH3 domain), because the prior art taught that removal of the CHl

  domain and the light chain of an IgG1 immunoglobulin facilitated the expression and secretion

  of the fusion protein.

          252.      A person of ordinary skill in the art in August 1990 also would have been

  motivated to select the p75 TNF receptor-IgG chimeric antibody of Smith '760 patent, which

  was expected to provide for extended half-life, enhanced binding to TNF, and use of standard

  purification techniques, as a starting point in developing a TNF-binding protein. A person of

  ordinary skill in the art in August 1990 would have been motivated to remove the CHI domain

  and the light chain of the chimeric antibody to facilitate the expression and secretion of the

  protein.




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          253.    A person of ordinary skill in the art in August 1990 would have been motivated to

   culture a host cell (e.g., a CHO cell) comprising a polynucleotide that encodes a fusion protein

   consisting of the extracellular region of the p75 TNF receptor fused to the hinge-CH2-CH3

  portion of a human IgG 1, and would have been motivated to purify the expressed fusion protein

   from the cell mass or culture medium.

          254.    A person of ordinary skill in the art in August 1990 would reasonably expect that

   a fusion protein consisting of the extracellular region of the p75 TNF receptor fused to the hinge­

  CH2-CH3 portion of an IgG 1 immunoglobulin would specifically bind to human TNF.

          255.    A person of ordinary skill in the art in August 1990 would have been able to

  successfully express and purify a fusion protein consisting of the extracellular region of the p75

  TNF receptor fused to the hinge-CH2-CH3 portion of an lgG 1 immunoglobulin using no more

   than ordinary skill and routine recombinant DNA and purification methods utilized in the art.

                                 (iv)    The Differences Between The August 1990 Prior Art
                                         and the Claimed Subject Matter

          256.    There are no differences between the prior art and the claimed subject matter.

  The prior art discloses all of the elements of the claimed subject matter. A person of ordinary

  skill in the art would have followed the clear motivation in the art to combine these elements

  with a reasonable expectation of success in doing so.

          257.    Combinations of the prior art that render the Asserted Claims of the Patents-in-

  Suit obvious are the following:

                      •   Smith '760 patent in view of the Seed '262 publication;

                      •   Smith '760 patent in view of Byrn 1990;

                      •   Smith '760 patent in view of Watson 1990;

                      •   Smith '760 patent in view of Karjalainen '827 publication;



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                          •   Smith '760 patent in view of Capon '964 patent in further
                              view ofTraunecker 1989; and

                          •   Smith 1990 in view of Watson 1990.

                                       (v)       The Objective Indicia Support a Finding of
                                                 Obviousness23

                                                 (a)       Simultaneous Invention by Others

            258.     At least three research groups had, within a short time frame around August 1990,

   independently conceived of and developed fusion proteins comprising the extracellular region of

   the TNF receptor and the hinge-CH2-CH3 portion of an immunoglobulin.

           259.      Scientists at Immunex and Behringwerke had developed a fusion protein

  comprising a soluble p75 TNF receptor and hinge-CH2-CH3 domains of a human IgGI prior to

  August 1990. This research eventually led to creation of etanercept at Immunex by November

  1990. Etanercept was developed by scientists at Immunex, independent of any involvement of

  Plaintiff Roche.

           260.     The idea for the creation of a TNF receptor-IgG I fusion protein was discussed in

  an October 1989 meeting between Immunex and Behringwerke. See, e.g., DTX-111. At the

  time, Immunex had sequenced the full-length p75 TNF receptor and Behringwerke had

  experience expressing fusion proteins of receptors fused to the hinge-CH2-CH3 domain of a

  human IgG 1 immunoglobulin. With the DNA sequence for the p75 TNF receptor provided by

  Immunex, scientists at Behringwerke created the fusion protein in Germany.

           261.     By June 25, 1990, Behringwerke had sent a sample of the TNF receptor-IgGI

  fusion protein in cell culture supernatant to Immunex in the United States. See, e.g., DTX-87.



  23 Defendants object to Plaintiffs' statement of the disputed objective indicia to the extent that any of the objective
  indicia have not been properly raised or extend beyond the opinions offered by Plaintiffs' experts. Examples of the
  improper objective indicia include assertions of commercial success, licensing, and skepticism.



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   Testing by Immunex confirmed that the supernatant had TNF inhibitory activity and that the

   TNF receptor-IgGI fusion protein did function as expected. See, e.g., DTX-114. This fusion

   protein was comprised of a truncated portion of the extracellular region of the p75 TNF receptor

   (which was missing the last five amino acids of the extracellular region) fused to the hinge-CH2-

   CH3 domain of a human IgGI immunoglobulin via a three-amino acid linker.

          262.    On June 28, 1990, scientists at Behringwerke also filed German Patent

   Application No. P40 20 607.6 ("Lauffer DE '607 application") describing the construction of a

   TNF receptor fusion protein wherein the extracellular region of the TNF receptor is fused to the

   hinge-CH2-CH3 portion of a human IgGI irnmunoglobulin. See, e.g., DTX-105. The U.S.

   version of this patent application, U.S. Patent Application No. 07/581,703 ("Lauffer '703

   application," DTX-102), was filed on September 13, 1990, with the scientists at Immunex later

   named as inventors on the application (DTX-103). Imrnunex and Behringwerke were reasonably

   diligent in the filing of the Lauffer '703 application in the United States on September 13, 1990.

          263.    Immunex and Behringwerke's TNF receptor-IgGl fusion protein supports a

  finding that the Asserted Claims of the Patents-in-Suit would have been obvious. The only

   differences between Immunex and Behringwerke's TNF receptor-IgGl fusion protein and the

   claimed fusion protein is that Immunex and Behringwerke's fusion protein lacks the five last

   amino acids of the extracellular region of the p75 TNF receptor and includes three-amino acid

  linker. A person of ordinary skill in the art would have been motivated to construct the TNF

  receptor-IgGl fusion protein with the entire extracellular region of the p75 TNF receptor,

  without the three-amino acid linker.

          264.    The Lauffer '703 application supports a finding that the Asserted Claims of the

   Patents-in-Suit would have been obvious. The only difference between the TNF receptor-IgG I




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   fusion protein described in the Lauffer '703 application and the asserted claims is that the

   Patents-in-Suit specify that the TNF receptor is the p75 TNF receptor. A person of ordinary skill

   in the art would have been motivated to construct the Lauffer '703 TNF receptor-IgGl fusion

   with the p75 TNF receptor.

            265.   The research by scientists at the University of Texas Southwestern Medical

   Center supports a finding that the Asserted Claims of the Patents-in-Suit would have been

   obvious. The UT Southwestern scientists had developed a TNF receptor-IgG heavy chain

   chimeric protein. Their fusion protein is described in Peppel 1991, which was submitted for

   publication in August 1991 and published in December 1991. DTX-26. The UT Southwestern

   scientists filed a patent application on April 2, 1992, which issued as U.S. Patent No. 5,447,851

   ("Beutler '851 patent") on September 5, 1995. DTX-41. Immunex acquired the Beutler '851

  patent.

            266.   The research by scientists at Genentech supports a finding that the Asserted

  Claims of the Patents-in-Suit would have been obvious. The Genentech scientists had developed

  a p5 5 TNF receptor-IgG 1 protein. Their fusion protein is described in Ashkenazi 1991, which

  was received for review on June 13, 1991 and was published in December 1991. DTX-35.

            267.   The research at Immunex/Behringwerke, UT Southwestern, and Genentech

  demonstrate that scientists prior to and shortly after August 1990 had independently conceived

  and developed a fusion protein that fused an extracellular portion of a TNF receptor to the hinge­

  CH2-CH3 domain of an immunoglobulin.

                                         (b)     Plaintiffs' Objective Indicia Lack Nexus to the
                                                 Claimed Invention

            268.   All of Plaintiffs' asserted objective indicia use etanercept as the embodiment of

  the claimed invention, and claim that etanercept and its effects are evidence that the Patents-in-


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   Suit are not obvious. But etanercept was developed by Immunex. The work ofthe named

   inventors at Roche on the p55 TNF receptor-IgG3 fusion protein was conducted independently

   from the work at Immunex on etanercept, and with no knowledge of what specific type ofTNF

   receptor protein Immunex was developing. As such, Roche had no involvement in the discovery

   of etanercept. None of Plaintiffs' objective indicia, which all rely on Immunex's independent

   work in the development of etanercept, can show how Roche's work was inventive in light of the

   real-world research that was being conducted by scientists at around the same time.

                                          (c)    No Failure By Others

          269.     Plaintiffs have not shown that individuals others than the named inventors

   attempted to develop etanercept but failed to do so.

          270.     Individuals other than the named inventors at Roche-i.e., the scientists at

  Immunex-had developed ENBREL® as an FDA-approved and commercial product. The

  named inventors at Roche had no involvement in the creation or development of Enbrel® into a

   commercial product. Immunex succeeded in the development ofEnbrel® independent of any

  contribution from the named inventors at Roche.

          271.     Roche attempted to develop their p55 TNF receptor-IgG3 fusion protein but failed

  in clinical trials.

                                         (d)     No Unexpected Results, Proceeding Against
                                                 Conventional Wisdom, or Skepticism

          272.     Plaintiffs have not shown that etanercept exhibits unexpected results.

          273.     Plaintiffs have not shown that etanercept surprisingly binds TNF with very high

  affinity relative to the soluble form of the p75 TNF receptor. The soluble form of the p75 TNF

  receptor can only bind the TNF trimer at only one binding site. But a person of ordinary skill in

  the art as ofAugust 1990, would have expected that etanercept, as a dimeric fusion protein with



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   two soluble p75 TNF receptors, would bind the TNF trimer at two bindings sites. The enhanced

   binding of etanercept would have been expected when etanercept binds to more than one binding

   site on the same TNF trimer. This was known as the ..avidity effect." As taught by the prior art,

   such a person would have been motivated to fuse the extracellular region of the p75 TNF

   receptor to the hinge-CH2-CH3 domain of a human IgG 1 immunoglobulin based on the expected

   enhanced TNF binding activity of the dimeric fusion protein.

          274.    Plaintiffs have not shown that etanercept surprisingly does not form aggregates in

   the presence ofTNF. Aggregates are higher-order complexes formed from the cross-linking of

   many receptors. Higher-order complexes may form when a receptor binds to more than one of

  its ligands, and each ligand cross-links a receptor to other receptors. A person ofordinary skill

   in the art as of August 1990 would not have expected etanercept to form these cross-links

   required to create higher-order complexes. Based on the avidity effect, a person of ordinary skill

   in the art would have expected that etanercept, as a dimeric fusion protein with two soluble p75

   TNF receptors, would more strongly bind to two binding sites on the same TNF trimer as

  compared to binding to a single binding site on two different TNF trimers. When each

   etanercept binds to only one TNF trimer, there is no formation of cross-links between the

  etanercept molecules and no formation of higher-order complexes.

          275.    Plaintiffs have not shown that etanercept surprisingly exhibits little to no effector

  function activity of complement-dependent cytotoxicity (CDC) and antibody-dependent cell­

   mediated cytotoxicity (ADCC). As of August 1990, a person of ordinary skill in the art would

  have known that initiation of CDC and ADCC activity requires the aggregation of antibodies into

  higher-order complexes. Etanercepfs little to no effector function activity would have been

  expected in light of the expectation that etanercept would not form higher-order complexes in the



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   presence of TNF. Plaintiffs' comparison of the effector function activity of etanercept relative to

   the anti-TNF antibodies adalimumab and infliximab is improper, as these anti-TNF antibodies

   were undisputedly not available in the prior art.

          276.    Plaintiffs have not shown that the little to no effector function activity of

   etanercept is a beneficial property. Despite exhibiting some effector function activity, the anti­

   TNF antibodies adalimumab and infliximab are FDA-approved to treat each of the indications

   for which etanercept has been approved. Further, these anti-TNF antibodies have been FDA

  approved to treat Crohn 's disease, which is an indication that has not been approved for

  etanercept. The efficacy of these anti-TNF antibodies to treat Crohn's disease has been

  associated with their effector function activity. Thus, Plaintiffs' allegations of surprising results

  have no nexus to the claimed invention.

          277.    Plaintiffs have not shown that the named inventors were proceeding against the

  conventional wisdom or that there was skepticism in the art.

          278.    Plaintiffs have not shown that the prior art taught away from developing a TNF

  receptor-IgG fusion protein. Plaintiffs assert that a person of ordinary skill in the art as of 1990

  would have been concerned that etanercept would exhibit similar effector function activity to

  antibodies, and assert that this was expected to be disadvantageous in treating inflammatory

  diseases, such as rheumatoid arthritis. First, the prior art did not report any concerns of effector

  function activities from antibodies that target TNF. The prior art teaching anti-TNF antibodies

  and the chimeric TNF receptor antibody do not mention effe.ctor function activity. Second, the

  prior art taught administering other lgG I fusion proteins for the treatment of inflammatory

  diseases, such as rheumatoid arthritis, without raising any concern of effector function activity.




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           279.    Plaintiffs have not shown that the prior art expressed skepticism in light of

   questions that etanercept would raise immunogenicity issues due to its unnatural structure. Each of

   the p75 TNF receptor and IgG 1 antibody are naturally produced in humans. Fusing the

   soluble p75 TNF receptor directly to the hinge-CH2-CH3 of an IgG1 antibody minimizes any

   immunogenicity issues.

          280.    Contrary to the opinions of Plaintiffs' experts, the research of scientists at hnmunex,

   Behringwerke, UT Southwestern, and Genentech show that those actually working in the field at the

   time were not discouraged from or skeptical of developing a fusion protein comprising the

   extracellular region of the TNF receptor and the hinge-CH2-CH3 portion of an immunoglobulin.

   Thus, Plaintiffs' allegations of proceeding against conventional wisdom or skepticism have no nexus

   to the claimed invention or the real-world research activities.


                                          (e)    No Clinical Success, Commercial Success, Praise,
                                                 Long-Felt Need, and Recognition By Others

          281.    Plaintiffs have not shown that etanercept monotherapy is clinically successful in

   treating rheumatoid arthritis, or that it has met a long-felt need. The treatment of rheumatoid

  arthritis with ENBREL® alone was not significantly better than the prior art treatment of

   methotrexate monotherapy or other treatments that had become available prior to approval of

  ENBREL®. ENBREL® monotherapy did not fulfill a long-felt need for the treatment of

  rheumatoid arthritis left by prior art therapies. Any clinical success was a result of a

  combination of etanercept and methotrexate, and thus lacks a sufficient nexus to the claimed

  invention.

          282.    Plaintiffs have not established that any praise or recognition of ENBREL® was

  directed to ENBREL® monotherapy, and thus have not established a sufficient nexus between

  the claimed invention and any such praise or recognition by others. Active marketing


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  contributed to the prescription ofENBREL® and other anti-TNF agents. ENBREL® is not

  effective in treating all TNF-mediated diseases, for which other anti-TNF agents have been

  approved. Specifically, the anti-TNF antibodies adalimumab and infliximab are approved by the

  FDA for each indications of etanercept, as well as for the treatment of Crohn's disease. Thus,

  any clinical success of etanercept in treating TNF-mediated diseases is not commensurate in

  scope with the invention as claimed and therefore lacks the requisite nexus.

          283.    Plaintiffs' allegations ofclinical success is not probative of any recognized

  secondary consideration ofnonobviousness. In addition, Plaintiffs have not shown why any

  clinical success years after the priority date would support the nonobviousness ofthe claimed

  invention.

          284.    To the extent that Plaintiffs are now asserting commercial success, Plaintiffs have

  not established that Enbrel is a commercial success. Plaintiffs' expert has not conducted a proper

  commercial success analysis, and Plaintiffs have not established any connection between the

  Patents-in-Suit and the commercial performance ofEnbrel. For example, Plaintiffs' expert

  considers only one metric ofcommercial performance, a limited timeframe, and limited

  competitors. In addition, during its time on the market, Enbrel has been protected by numerous

  other patents, and the Patents-in-Suit did not issue until well after the time period addressed by

  Plaintiffs' expert.

                                        (t)     Copying Is Not Probative Evidence Of The
                                                Nonobviousness Of the Patents-in-Suit

          285.    Sandoz began its etanercept project no later than 2005-long before the Patents-

  in-Suit issued-and worked on it continuously until filing its aBLA in 2015. Consistent with the

  regulatory requirements that were in place in countries outside the U.S., Sandoz sequenced the

  commercial product Enbrel® and used the same primary amino acid sequence as the originator


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   for its product. At that time, the patents potentially relevant to etanercept included the Smith

   '760 and Jacobs '690 patents, which expired in 2012 and 2014, respectively. Sandoz intended to

   launch its product upon expiration of those patents.

          286.    On November 22, 2011, shortly before the Smith '760 patent was to expire,

   Amgen, which had acquired Immunex, issued a press release announcing that it had acquired the

   newly-issued '182 patent. Amgen announced that "[t]he patent describes and claims the fusion

   protein that is etanercept, and by statute, the '182 patent has a term of 17 years from today"­

   until November 2028. After Amgen issued its press release, Sandoz began to explore the

   possibility of"designing around" the Patents-in-Suit by modifying the amino acid sequence. The

   design-around project never entered in vivo testing and was discontinued in 2014 when it became

   clear that the same primary amino acid sequence as the originator would be necessary in order to

   obtain FDA approval as a biosimilar, similar to the requirements in other countries.

          287.    Sandoz filed a declaratory judgment action against Immunex, seeking a

   declaration that the Patents-in-Suit were invalid and/or not infringed, in 2013. Rather than admit

   that it was planning to sue Sandoz for patent infringement, Immunex filed a motion to dismiss,

   arguing that there was no subject matter jurisdiction over Sandoz's claims. The case was

   dismissed. Sandoz Inc. v. Amgen Inc. et al., Case No. 2014-1693 (Fed. Cir. 2014).

          288.    Having worked on its product for approximately a decade, on July 30, 2015,

   Sandoz Inc. submitted a Section 35l(k) application, aBLA No. 761042, to FDA, seeking

   authorization to market Erelzi® as a biosimilar version of lmmunex's ENBREL® (etanercept)

   product in the United States. On August 30, 2016, FDA approved Defendants' Biosimilar




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   Etanercept for all the indications in which ENBREL® (etanercept) had been approved at that

  time.24

            289.     Sandoz filed and obtained FDA approval of its aBLA pursuant to the Biologics

  Price Competition and Innovation Act (BPCIA) enacted in 2010, which established an

  abbreviated pathway for regulatory approval of follow-on biological products that are "highly

  similar" to a previously approved biological drug product. Any copying by Sandoz of the amino

  acid sequence for etanercept reflects its efforts to meet the FDA standards for approval of

  biosimilar products under the BPCIA-not any nonobviousness of the Patents-in-Suit, which

  issued in 2011 and 2012. Thus, Plaintiffs' allegations of copying have no nexus to the claimed

  invention.

                     2.        Plaintiffs' Statement

            290.     Defendants allege that each of the Asserted Claims is invalid as obvious under 35

  U.S.C. § 103 based on one or more of six purported prior art combinations.25

            291.     Pursuant to the Amended Stipulation (DJ. 510 � 3.b, see also, supra, § V.),

  Defendants have identified those six prior art combinations as follows: 26
                • U.S. Patent No. 5,395,760 ("Smith '760 patent") in view of European Patent

                     Application Publication No. 0 325 262 ("Seed '262 publication");
                • Smith '760 patent in view of Byrn RA et al., Biological properties of a CD4

                     immunoadhesin, Nature 344:667-670 (1990) ("Byrn 1990");



  24
    Sandoz subsequently amended its proposed label for Erelzi® to remove the indications for psoriatic arthritis (PsA)
  and plaque psoriasis (PsO), because these indications remained protected by the Finck patents until August 13, 2019.
  25 Joint Pretrial Report. D.I. 486.

  26 See June 5, 2018 Sandoz's Disclosure of Obviousness Combinations and Double Patenting Reference Families
  (attached as Joint Exhibit 2).



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                  •   Smith '760 patent in view ofWatson SR et al., A homing receptor-JgG chimera

                      as a probe for adhesive ligands of lymph node high endothelial venules, Journal

                      ofCell Biology 110:2221-2229 (1990) ("Watson 1990");
                  •   Smith '760 patent in view ofEuropean Patent Application Publication No. 0 394

                      827 ("Karjalainen '827 publication");
                  • Smith '760 patent in view ofU.S. Patent No. 5,116,964 ("Capon '964 patent") in

                      further view ofTraunecker A et al., Highly efficient neutralization of HIV with

                      recombinant CD4-immunoglobulin molecules, Nature 339:68-70 (1989)

                      ("Traunecker 1989"); and
                  •   Smith CA et al., A receptor for tumor necrosis factor defines an unusual family of

                      cellular and viral proteins, Science 248:1019-23 (1990) ("Smith 1990") in view

                      ofWatson 1990.

             292.     Plaintiffs dispute Sandoz's allegations ofobviousness.

             293.     35 U.S.C. § 103(a) states: "[a] patent may not be obtained ... ifthe differences

  between the subject matter sought to be patented and the prior art are such that the subject matter

  as a whole would have been obvious at the time the invention was made to a person having

  ordinary skill in the art to which said subject matter pertains."

             294.     Obviousness is a question oflaw predicated on factual inquiries. The factual

  inquiries (the "Graham factors") include the following:27

             ( 1) the level ofordinary skill in the art;

             (2) the scope and content ofthe prior art;

             (3) the differences between the claimed subject matter and the prior art; and


  27 See   Graham v. John Deere Co., 383 U.S. I, 17-18 (1966).



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           (4) objective indicia of non-obviousness, such as commercial success, long-felt but

           unsolved needs, failure of others, etc.

           295.   An alleged infringer cannot prove obviousness "merely by demonstrating that

  each of its elements was, independently, known in the prior art." See KSR Int 'l Co. v. Teleflex,

  Inc., 550 U.S. 398, 418 (2007). Instead, a party seeking to invalidate a patent as obvious "must

  demonstrate by clear and convincing evidence that a skilled artisan would have had reason to

  combine the teaching of the prior art references to achieve the claimed invention, and that the

  skilled artisan would have had a reasonable expectation of success from doing so." In re

  Cyclobenzaprine Hydrochloride Extended-Release Capsule Patent Litig., 676 F.3d 1063, 1068-

  69 (Fed. Cir. 2012).

           296.   The use of hindsight is not permitted in an obviousness analysis. KSR, 550 U.S.

  at 421 (cautioning against "the distortion caused by hindsight bias" and "arguments reliant upon

  ex post reasoning"). In addition, the prior art must be considered "in its entirety, i.e., as a

  whole," including the portions that suggest that the claimed invention would not have been

  obvious. Panduit Corp v. Dennison Mfg. Co., 810 F.2d 1561, 1568 (Fed. Cir. 1987); see also

  Genetics Inst., LLC v. Novartis Vaccines & Diagnostics, Inc., 655 F.3d 1291, 1305 (Fed. Cir.

  2011).

           297.   Issued patents are presumed valid. See 35 U.S.C. § 282(a). To rebut the

  presumption of validity, Defendants bear the burden of proving invalidity by clear and

  convincing evidence. Microsoft, 564 U.S. at 110-14.

                          a.      Plaintiffs' Statement of the Issues of Law to Be Litigated

           298.   Whether Defendants have proven, by clear and convincing evidence, that each of

  the Asserted Claims of the '182 patent is invalid for obviousness under 35 U.S.C. § 103 based on

  one or more of the six purported prior art combinations identified by Defendants.

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            299.     Whether Defendants have proven, by clear and convincing evidence, that each of

   the Asserted Claims of the '522 patent is invalid for obviousness under 35 U.S.C. § 103 based on

   one or more of the six purported prior art combinations identified by Defendants.

                              b.       Plaintiffs' Statement of the Issues of Fact to Be Litigated

           300.      Whether Defendants have proven, by clear and convincing evidence, the predicate

   factual underpinnings necessary to support their allegations that one or more of the six purported

   prior art combinations renders obvious the subject matter claimed in each of the Asserted

   Claims, including, but not limited to, the following:

           Level ofSkill in the Art28

           301.      Whether Defendants have proven, by clear and convincing evidence, that one

   working in the field as of August 31, 1990 and possessing ordinary skill in the art as of August

   31, 1990 would have found the subject matter of the Asserted Claims to be obvious.

           Scope and Content of the Prior Art

           302.      Whether Defendants have proven by clear and convincing evidence that the

  ordinary artisan would have been motivated to develop, with a reasonable expectation of success,

  an agent that binds free, circulating TNF for use as:
           •        A therapeutic to treat disorders such as autoimmune disease and inflammation,

                    amongst other agents and mechanisms that could have been explored to

                    potentially treat these disorders and given that the physiological role ofTNF in

                    these disorders was unclear; or alternatively



  28 Plaintiffs propose the following level of skill in the art: A research scientist with an M.D. or Ph.D. and 1-2 years
  of relevant post-doctoral research experience in immunology, molecular biology, ce!Jular biology, and/or
  biochemistry, with experience in DNA cloning, protein expression and purification, cell culture, and basic
  immunological structures and functions). Compare, supra,� 250 (Defendants' proposal).



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           •      A research reagent, despite the availability of other TNF-binding agents that

                  existed in the art for such use.

          303.    Whether Defendants have proven by clear and convincing evidence that the

   ordinary artisan, if motivated to develop an agent that binds free, circulating TNF for use as

   therapeutic or research reagent, would have been further motivated, with a reasonable

   expectation of success, to choose and select TNF-R, given that the physiological role of TNF-R

   was unclear, and despite the availability of other TNF-binding agents that existed in the art.

          304.    Whether Defendants have proven by clear and convincing evidence that the

   ordinary artisan, if motivated to develop a TNF-R-based TNF binding agent for use as

   therapeutic or research reagent, would have been motivated, with a reasonable expectation of

   success, to choose p75 TNF-R, despite availability or disclosure of other TNF-binding agents

   that existed in the art, including but not limited to, other TNF-R molecules, such as p55 TNF-R.

          305.    Whether Defendants have proven by clear and convincing evidence that the

   ordinary artisan, if motivated to develop a p75 TNF-R-based TNF binding agent for use as a

   therapeutic or a research reagent, would have looked to the Smith '760 patent or Smith 1990

   patent for guidance.

          306.    Whether Defendants have proven by clear and convincing evidence that the

  ordinary artisan, if motivated to develop a p75 TNF-R-based TNF binding agent for use as a

  therapeutic or a research reagent and looking to the Smith '760 patent or Smith 1990 for

   guidance, would have been further motivated, with a reasonable expectation of success, to

  choose the full extracellular region of p75 TNF-R, or the "recombinant chimeric antibody

  molecule" disclosed in the Smith '760 patent from among the various potential TNF-R based

  TNF-binding agents disclosed in the two references.




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             307.     Whether Defendants have proven by clear and convincing evidence that the

   ordinary artisan, if motivated to develop a p75 TNF-R-based TNF binding agent for use as

   therapeutic or research reagent, and looking to the Smith '760 patent or Smith 1990 for guidance,

   would have found the other potential TNF-R based TNF-binding agents disclosed in the two

   references to be unsuitable and thus would have sought further guidance from other relevant art.

            308.     Whether Defendants have proven by clear and convincing evidence that the ordinary

   artisan, if motivated to develop an agent that binds free, circulating TNF for use as a therapeutic to

   treat disorders such as autoimmune disease and inflammation or use as a research reagent, would

   have considered as relevant to such development, art from fields relating to (i)

   cell-surface adhesion molecules designed to treat non-inflammatory conditions, such as

   HIV/AIDS, by eliciting the effector functions of antibodies and thereby provoking an inflammatory

   response (the Seed '262 publication, Byrn 1990, the Karjalainen '827

   publication,29 the Capon '964 patent and Traunecker 1989); or (ii) histochemical "probes" used

   to study the distribution of chemical structures affixed to the surface of cells (Watson 1990).

            309.     Whether Defendants have proven by clear and convincing evidence that an

   ordinary artisan, if motivated to develop a p75 TNF-R-based TNF binding agent for use as

   therapeutic or in vitro research reagent by choosing the "recombinant chimeric antibody

   molecule" disclosed in the Smith '760, and if further motivated to look to art outside the field for

   guidance, would have disregarded the teaching in the Smith '760 patent that such molecules have

   "unmodified constant region domains."

             310.     Whether Defendants have proven by clear and convincing evidence that the

      Karjalainen '827 publication, having been published after August 31, 1990, is prior art against



   29 The parties dispute whether the Karjalainen '827 publication is prior art.



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   the Asserted Claims.

   Differences Between the Claimed Subiect Matter and the Prior Art

          311.    Whether Defendants have proven by clear and convincing evidence that the

   ordinary artisan, if motivated to develop the full extracellular region of p75 TNF-R or the

   "recombinant chimeric antibody molecule" in the Smith '760 patent for use as a therapeutic or

   research reagent, would have been motivated, with a reasonable expectation of success, to

   modify the structure of these proteins to "extend the half-life of the receptor, enhance the binding

   of the receptor to TNF, and permit use of standard [antibody-based] techniques to purify the

   receptor" by fusion to an immunoglobulin heavy chain constant region and make a fusion protein

   covered by the Asserted Claims given:
          •       The availability of other known methods and agents that could have been used

                  address these issues if they were of concern to an ordinary artisan based on the

                  prior art;
          •       The art taught that immunoglobulin fusion proteins were designed to treat AIDS

                  by provoking an inflammatory response via the effector function of antibodies;

                  and
          •       Teachings in the art that "[ o]ne of the most important issues" confronting the use

                  of immunoglobulin fusion proteins was "the extent of autoimmune damage."

          312.    Whether Defendants have proven by clear and convincing evidence that the

  ordinary artisan, if motivated to develop the "recombinant chimeric antibody molecule" in the

  Smith '760 patent for use as a therapeutic or research reagent, would have been motivated, with a

  reasonable expectation of success, to modify the structure of this protein to "facilitate[] the

   expression and secretion" of the antibody given, for example, that the Smith '760 patent



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  expressly states that the chimeric antibody molecule should have "unmodified constant region

   domains."

          313.   Whether Defendants have proven by clear and convincing evidence that the

  ordinary artisan, ifmotivated to develop the full extracellular region ofp75 TNF-R or the

  "recombinant chimeric antibody molecule" in the Smith '760 patent for use as a therapeutic or

  research reagent, would have been motivated, with a reasonable expectation ofsuccess, to

  express either protein in Chinese hamster ovary cells.

          314.   Whether Defendants have proven by clear and convincing evidence that the

  ordinary artisan would have been motivated, with a reasonable expectation ofsuccess, to

   combine the Smith '760 patent and the Seed '262 publication, and ifso, whether Defendants

  have proven by clear and convincing evidence:
          •      That the combination discloses each and every element ofany ofthe Asserted

                 Claims; and
          •      That the combination would have motivated the ordinary artisan, with a

                 reasonable expectation ofsuccess, to (i) make a fusion protein that meets each and

                 every element ofthe Asserted Claims ofthe '182 patent, and (ii) carry out a

                 process for making a fusion protein that meets each and every element ofthe

                 Asserted Claims ofthe '522 patent.

          315.   Whether Defendants have proven by clear and convincing evidence that the

  ordinary artisan would have been motivated, with a reasonable expectation ofsuccess, to

  combine the Smith '760 patent and Byrn 1990, and ifso, whether Defendants have proven by

  clear and convincing evidence:




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          •      That the combination discloses each and every element of any of the Asserted

                 Claims; and
          •      That the combination would have motivated the ordinary artisan, with a

                 reasonable expectation of success, to (i) make a fusion protein that meets each and

                 every element of the Asserted Claims of the '182 patent, and (ii) carry out a

                 process for making a fusion protein that meets each and every element of the

                 Asserted Claims of the '522 patent.

          316.   Whether Defendants have proven by clear and convincing evidence that the

   ordinary artisan would have been motivated, with a reasonable expectation of success, to

   combine the Smith '760 patent and Watson 1990, and if so, whether Defendants have proven by

   clear and convincing evidence:
          •      That the combination discloses each and every element of any of the Asserted

                 Claims; and
          •      That the combination would have motivated the ordinary artisan, with a

                 reasonable expectation of success, to (i) make a fusion protein that meets each and

                 every element of the Asserted Claims of the '182 patent, and (ii) carry out a

                 process for making a fusion protein that meets each and every element of the

                 Asserted Claims of the '522 patent.

          317.   Assuming the Karjalainen '827 publication is prior art (which the parties dispute,

  see, supra,� 320, footnote 36), whether Defendants have proven by clear and convincing

  evidence that the ordinary artisan would have been motivated, with a reasonable expectation of

  success, to combine the Smith '760 patent and the Karjalainen '827 publication, and if so,

  whether Defendants have proven by clear and convincing evidence;




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         •       That the combination discloses each and every element of any of the Asserted

                 Claims; and
         •       That the combination would have motivated the ordinary artisan, with a

                 reasonable expectation of success, to (i) make a fusion protein that meets each and

                 every element of the Asserted Claims of the '182 patent, and (ii) carry out a

                 process for making a fusion protein that meets each and every element of the

                Asserted Claims of the '522 patent.

         318.   Whether Defendants have proven by clear and convincing evidence that the

  ordinary artisan would have been motivated, with a reasonable expectation, of success to

  combine the Smith '760 patent and the Capon '964 patent and Traunecker 1989, and if so,

  whether Defendants have proven by clear and convincing evidence:
         •       That the combination discloses each and every element of any of the Asserted

                 Claims; and
         •      That the combination would have motivated the ordinary artisan, with a

                reasonable expectation of success, to (i) make a fusion protein that meets each and

                every element of the Asserted Claims of the '182 patent, and (ii) carry out a

                process for making a fusion protein that meets each and every element of the

                Asserted Claims of the '522 patent.

         319.   Whether Defendants have proven by clear and convincing evidence that the

  ordinary artisan would have been motivated, with a reasonable expectation of success, to

  combine Smith 1990 and Watson 1990, and if so, whether Defendants have proven by clear and

  convincing evidence:




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           •        That the combination discloses each and every element of any of the Asserted

                    Claims; and

           •        That the combination would have motivated the ordinary artisan, with a

                    reasonable expectation of success, to (i) make a fusion protein that meets each and

                    every element of the Asserted Claims of the '182 patent, and (ii) carry out a

                    process for making a fusion protein that meets each and every element of the

                    Asserted Claims of the '522 patent.

           Objective Jndicia ofNon-Obviousness

           320.     Whether, once established by Plaintiffs, Defendants have rebutted, by clear and

  convincing evidence, the objective indicia supporting nonobviousness, including but not limited

  to the following:
           •        Clinical success that provides evidence of commercial success, given the

                    widespread and rapid adoption of ENBREL® in the United States; 30
           •        Praise in light of laudatory statements regarding ENBREL® by numerous

                    physicians and patients;
           •        Long-felt, but unmet need, and the failure of others, in light of the advantages of

                    ENBREL® in, for example, patients that previously could not be successfully


  30 Defendants argue that "allegations of clinical success is not probative of any recognized secondary consideration
  ofnonobviousness." See, supra,� 295. Defendants presented a version ofthis argument in their Daubert motion
  against Drs. Fleischmann and Vellturo, D.I. 521, which Plaintiffs addressed, D.I. 533. The Court has denied
  Defendants' motion. D.I. 572 at 9. Defendants also allege that "Plaintiffs' expert has not conducted a proper
  commercial success analysis." See, s11pra, 1 296. Defendants are incorrect on this point. Both Drs. Fleischmann
  and Vellturo addressed commercial success as demonstrated by clinical success. Courts have upheld this type of
  analysis. See, e.g., Pfizer Inc. v. Teva Pharm U.S.A. Inc., 882 F. Supp. 2d 643,671 (D. Del. 2012), aff'd, 555 F.
  App'x 961 (Fed. Cir. 2014) (addressing commercial success as objective indicium and stating "the court finds
  credible the testimony of the plaintiffs expert ... who explained that Lyrica has the largest share of prescriptions for
  branded products to treat diabetic peripheral neuropathy and postherpetic neuralgia combined in the United States
  and is one of the two leading branded products prescribed for the treatment offibromyalgia"); Janssen Pharm., Inc.
  v. Watson Labs, Inc., 2012 WL 3990221, *18 (D.N.J. Sep. 11, 2012) (using, in part, prescriptions written as
  evidence of commercial success).



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                    treated with prior art therapies, and the fact that others, among other things,

                    attempted to develop TNF binding proteins for the treatment of inflammatory

                    disorders, but failed;
           •        Skepticism in light of questions that etanercept would raise immunogenicity

                    issues due to its unnatural structure;

           •        Licensing by others of the patented technology;
           •        Unexpected results, such as the fact that etanercept exhibits little to no effector

                    function activity, binds TNF with very high affinity relative to soluble forms of

                    p75 TNF-R, and does not form aggregates with TNF are unexpected properties,

                    given, for example, that the physical and structural factors that give rise to these

                    advantages were not known in August 1990 and remain unclear even today; and
           •        Copying, given Sandoz's intentional use of the identical amino acid sequence of

                    the etanercept drug substance found in ENBREL®, and decision to use the same

                    the CHO host cell expression system used to make the etanercept drug substance

                    found in ENBREL® after identifying "design around" variants of etanercept that

                    Sandoz recognized could have been approved by FDA. 31




  31 Defendants argue that copying is "not probative" ofnonobviousness (see, supra, 'lMI 240, 297-301) for the same
  reasons that they sought to strike the testimony oflmmunex and AML's expert, Dr. Jones. D.I. 521; D.I. 532; D.I
  539. The Court declined to exclude Dr. Jones's testimony. D.I. 572. Again, Defendants ignore case law from the
  Federal Circuit holding that, even in the "Hatch-Waxman" context, copying can be a relevant objective indicia
  where, as here, copying is not required for regulatory approval. E.g., Merck Sharp & Dohme Corp. v. Hospira, Inc.,
  874 F.3d 724, 731 (Fed. Cir. 2017) ("[The Hatch-Waxman Act) does not ... require the generic manufacturer to
  copy the ... process ofmanufacturing the drug" (emphasis original)). Plaintiffs also dispute Defendants'
  characterization of their efforts to develop Defendants' Biosimilar Etanercept. Plaintiffs further object to these
  statements as they seek to introduce facts relating to arguments that the Court has ordered Defendants are precluded
  from making at trial, such as arguments relating to the prosecution }aches defense that Defendants have withdrawn.
  DJ. 597.



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               321.    Whether Defendants have rebutted, by clear and convincing evidence, the

  presumption that that there is a nexus between etanercept and the Asserted Claims given that the

  Asserted Claims cover etanercept.


           322.       Whether Defendants have proven, by clear and convincing evidence, objective

  indicia supporting obviousness, including but not limited to:
           •          Whether Defendants have proven, by clear and convincing evidence, any facts

                      that qualify as "simultaneous invention," including, for example, by proving

                      whether and when multiple other groups made etanercept and whether, if they did

                      so, whether the work was made independently of the claimed inventions and

                      whether the level of skill in the art and state of the art was the same at the time of

                      the alleged "simultaneous invention" as it was as of the August 31, 1990

                      invention date of the Asserted Claims; 32 and
           •          Whether Defendants have proven, by clear and convincing evidence, how any

                      facts tending to show "simultaneous invention," if proven, may be used as indicia

                      supporting obviousness in light of the requirement that the motivation to combine

                      and reasonable expectation of success must be based on the prior art and the

                      knowledge of the ordinary artisan at the time of the invention; and
           •          Whether Defendants have proven, by clear and convincing evidence, how any

                      facts tending to show "simultaneous invention," if proven, may be used as indicia

                      supporting obviousness in light of the Patent Act's provision for "interference"

                      proceedings that recognize that multiple groups may simultaneously seek patents

                      on the same or similar subject matter. E.g., Lindemann Maschinenfabrik GMBH


  32 The Patents-in-Suit claim priority to the Brockhaus '707 application, which was published on March 20, 1991.



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                  v. Am. Hoist & Derrick Co., 730 F.2d 1452, 1460 (Fed. Cir. 1984) ("Because the

                  statute, 35 U.S.C. § 135, (establishing and governing interference practice)

                  recognizes the possibility ofnear simultaneous invention by two or more equally

                 talented inventors working independently, that occurrence may or may not be an

                 indication of obviousness when considered in light of all the circumstances.").

                          c.     Response to Defendant's Statement of Contested Facts

          323.    Plaintiffs object to Defendants' "Statement of Contested Facts" in the section

  above. Rather than identifying disputed factual questions, Defendants' statement does nothing

  more than provide a summary of Defendants' position (in paragraph form) based on a misleading

  and selective portrayal of the facts. In addition, many of the facts that Defendants characterize as

  not disputed are, in fact, disputed.

          D.      Written Description (35 U.S.C. § 112)

                  1.     Defendants' Statement

         324.    A patent's specification "shall contain a written description of the invention, and

  of the manner and process of making and using it, in such full, clear, concise, and exact terms as

  to enable any person skilled in the art to which it pertains, or with which it is most nearly

  connected, to make and use the same." 35 U.S.C. § 112, ,r I.

         325.    Thus, the first paragraph of§ 112 contains two separate requirements: a "written

  description"and "enablement." See Ariad Pharm., Inc., v. Eli Lilly & Co., 598 F.3d 1336, 1351

  (Fed. Cir. 2010) (en bane).

         326.    Whether a specification satisfies the written description requirement is a question

  of fact. GlaxoSmithKline LLC v. Banner Pharmacaps, Inc., 744 F.3d 725, 729 (Fed. Cir. 2014).

         327.    For a patent specification to incorporate "another document by reference [e.g., a

  patent application], the incorporating document must identify the incorporated document with


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  detailed particularity, clearly indicating the specific material for incorporation." Kyocera

   Wireless Corp. v. Int 'I Trade Comm 'n, 545 F.3d 1340, 1352 (Fed. Cir. 2008).

          328.   To comply with the written description requirement, a patentee must describe "the

  invention, with all its claimed limitations" as of the filing date. ICU Med., Inc. v Alaris Med.

  Sys., Inc., 558 F.3d 1368, 1379 (Fed. Cir. 2009) (citation omitted). A specification contains

  adequate written description if "the description ... clearly allow[s] persons of ordinary skill in

  the art to recognize that the inventor invented what is claimed," and "had possession of the

  claimed subject matter as of the filing date." Ariad Pharm., 598 F.3d at 1351 (quotation and

  alterations omitted).

          329.   "[T]he hallmark of written description is disclosure," and "the test requires an

  objective inquiry into the four comers of the specification" to determine whether it "show[s] that

  the inventor actually invented the invention claimed." Id. The Federal Circuit has "repeatedly

  stated that actual 'possession' or reduction to practice outside of the specification is not enough";

  "the specification itself .. . must demonstrate possession." Id. at 1352. A "description that

  merely renders the invention obvious does not satisfy the requirement." Id.

          330.   A "mere wish or plan" for obtaining the claimed invention is not an adequate

  written description. Centocor Ortho Biotech, Inc. v. Abbott Labs., 636 F.3d 1341, 1348 (Fed.

  Cir. 2011).

          331.   The original disclosure must provide adequate direction which reasonably would

  lead persons skilled in the art to "single out" the invention from the various alternatives

  discussed in the disclosure. See id.; Purdue Pharma L.P. v. Paulding Inc., 230 F.3d 1320, 1325-

  26 (Fed. Cir. 2000); Fujikawa v. Wattanasin, 93 F.3d 1559, 1570 (Fed. Cir. 1996); In re Ruschig,

  54 C.C.P.A. 1551, 379 F.2d 990, 995 (C.C.P.A. 1967). In particular, "where a patentee adds



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   claims during prosecution that. ...were not included in the original priority application, courts

   require a detailed description and identification of the later-claimed invention in the original

   disclosure, particularly where the specification discloses numerous possibilities with scant

   guidance on which to select." Novozymes AIS v. DuPont Nutrition Biosciences APS, 723 F.3d

   1336 (Fed. Cir. 2013). Even if the specification "provides formal textual support for each

   individual limitation recited in the claims" it must describe the actual, functioning species that

   falls within the claims. Id. at 1349.

          332.    "When a patent claims a genus using functional language to define a desired

   result, the specification must demonstrate that the applicant has made a generic invention that

   achieves the claimed result and do so by showing that the applicant has invented species

   sufficient to support a claim to the functionally-defined genus." AbbVie Deutsch/and GmbH &

   Co., KG v. Janssen Biotech, Inc., 759 F.3d 1285, 1299 (Fed. Cir. 2014) (citation omitted). Thus,

  when a specification only describes one type of structurally similar proteins which are not

   representative of the full scope of the genus, there is no written description support for proteins

   that differ significantly from those described. Id. at 1300. "A court may rely on post-priority­

  date evidence to determine if a patent discloses a representative number of species." Amgen Inc.

  v. Sanofi, 872 F.3d 1367, 1373 (Fed. Cir. 2017) (citation omitted).

          333.    Merely describing one embodiment of a claimed invention does not necessarily

  satisfy the written description requirement; instead, description of a "single embodiment would

  support [] a generic claim only if the specification would reasonably convey to a person of skill

  in the art that [the inventor] had possession of the claimed subject matter." LizardTech, Inc. v.

  Earth Res. Mapping, Inc., 424 F.3d 1336, 1346 (Fed. Cir. 2005). If"the specification ... fail[s]




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   to demonstrate that the patentee possessed the full scope of the invention recited in [a] claim" at

   the time of filing, it "provides inadequate support for the claim under section 112." Id. at 1345.

          334.    A "mere wish or plan" for obtaining the claimed invention is not an adequate

   written description. Centocor Ortho Biotech, Inc. v. Abbott Labs., 636 F.3d 1341, 1348 (Fed.

   Cir. 2011).

                          a.      Defendants' Statement of the Issues of Law to be Litigated

          335.     Whether Defendants have proven by clear and convincing evidence that the

  Asserted Claims of the Patents-in-Suit are invalid for lack of written description?

                          b.      Defendants' Statement of the Issues of Fact to be Litigated

          336.    Whether the Asserted Claims of the Patents-in-Suit are invalid for lack of written

  description because the specification as of September 1990 did not describe the invention, with

  all its claimed limitations?

          337.    Whether the Asserted Claims of the Patents-in-Suit are invalid for lack of written

  description because the specification as of September 1990 did not describe the extracellular

  region of the insoluble human TNF receptor with an apparent molecular weight of about 75

  kilodaltons (i.e. the full p75 extracellular region)?

          338.    Whether the Asserted Claims of the Patents-in-Suit are invalid for lack of written

  description because the specification as of September 1990 does not describe all the domains of

  the constant region of a human IgG1 immunoglobulin heavy chain other than the first domain of

  the constant region (i.e. the hinge-CH2-CH3 region of a human IgG/IgGl )?

          339.    Whether the Asserted Claims of the Patents-in-Suit are invalid for lack of written

  description because the specification as of September 1990 does not describe a fusion protein

  combining the full p7 5 extracellular region and the hinge-CH2-CH3 region of a human

  IgG/IgGl?


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          340.    Whether the Asserted Claims of the Patents-in-Suit are invalid for lack of written

   description because the specification as of September 1990 does not describe a fusion protein

   combining the full p75 extracellular region and the hinge-CH2-CH3 region of a human IgG/IgG1

   that specifically binds human TNF?

                          c.      Defendants' Statement of the Contested Facts

          341.    Each of the Asserted Claims of the Patents-in-Suit are invalid for failure to meet

   the written description requirement of 35 U.S.C. § 112, 1 1.

          342.    The Asserted Claims of the Patents-in-Suit are generally directed to a fusion

   protein comprised of the full p75 extracellular region and the hinge-CH2-CH3 region of a human

   IgG/IgG 1, wherein the fusion protein specifically binds human TNF. A person of ordinary skill

   in the art reading the specification would not have understood that the Roche inventors had

   invented and possessed a fusion protein comprising the full p75 extracellular region and hinge­

   CH2-CH3 region of a human IgG/IgG1 as of September 1990.

          343.    The Roche inventors filed the U.S. application leading to the Patents-in-Suit in

   September 1990. The Roche inventors were employed by Plaintiff Roche. The Roche inventors

   were not employed by Plaintiffs Imrnunex at the time of filing the application leading to the

   Patents-in-Suit. From the late 1980s through at least the late 1990s, the Roche inventors worked

   on a p55 TNF receptor-IgG3 fusion protein. Roche's p55 TNF receptor-IgG3 fusion protein

   failed in clinical trials. The Roche inventors did not take any p75 TNF receptor-IgG 1 fusion

  protein to clinical trials. Also during the late 1980s and through the 1990s, Imrnunex was

   working on a fusion protein comprised of the full p75 extracellular region and hinge-CH2-CH3

  region of a human IgGngG1, later approved to be marketed as ENBREL® starting in 1998.

          344.    The specification as of September 1990 describes the invention as "TNF-binding

  proteins... containing the amino acid sequence depicted in FIG. 1. .. or in FIG. 4 .... " See, e.g.,

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   '182 patent, DTX-1, at col. 3, 11. 4-11. The specification as of September 1990 provides in

   Figure 1 a full p55 TNF receptor. The specification provides in Figure 4 a fragment of a

   purported p75 TNF receptor with mutations. The protein described in Figure 4 is a different

   protein than the full p75 extracellular region.

           345.   The specification as of September 1990 describes as the invention the Figure 4

   protein-not a protein with the full p75 extracellular region. The specification as of September

   1990 does not describe the full p75 extracellular region to one of ordinary skill in the art. As

   compared to the actual sequence of 235 amino acids comprising the full p75 extracellular region,

   the Figure 4 fragment deleted amino acids 1-70 of the full p75 extracellular region, contains

   three amino acid mutations, and has one extra amino acid. Although it was not known in 1990

   because the specification does not report any TNF binding data, it is now known that the amino

   acid deletions result in significant consequence, including likely affecting the Figure 4 protein's

   ability to specifically bind TNF.

          346.    The specification describes the Figure 4 fragment as ''preferred" and a smaller

   fragment of Figure 4 containing one less amino acid as "especially preferred". See, e.g., '182

   patent, DTX-1, at col. 5, ll. 35-40. The specification discloses that despite repeated sequencing,

   the inventors obtained only the "preferred" Figure 4 fragment, and not the sequence of the full

   p75 TNF receptor. The Roche inventors chose to describe only the sequence of the Figure 4

   fragment and fragments thereof as their invention in the specification. The Roche inventors did

   not describe the sequence of the full p75 extracellular region in the specification.

          347.    The specification as of September 1990 does not incorporate by reference the full

   p75 TNF extracellular region described in the scientific literature. It directs a person of ordinary

   skill in the art to the sequence disclosed in Smith 1990 only as an example of a deletion of one




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   amino acid in the Figure 4 fragment. See, e.g., '182 patent, DTX-1, at col. 5, 11. 22-24. A

   deletion of one amino acid in the Figure 4 fragment would not include the full extracellular

   region of the p75 TNF receptor.

          348.    None of the examples in the specification as of September 1990 provide any

   instruction for making a fusion protein comprised of the full p75 extracellular region and the

   hinge-CH2-CH3 region of a human IgG/IgG1. The specification provides in Example 11 a

   cloning procedure that mentions the TNF receptor sequence for only the p55 TNF receptor-not

   the p75 TNF receptor. The method of Example 11 cannot be used to obtain a fusion protein

   comprised of the full p75 extracellular region and the hinge-CH2-CH3 region of a human

   IgG/IgG1, like etanercept.

          349.    A p55 TNF receptor-IgG3 fusion protein has structurally distinct component parts

   as compared to a p75 TNF receptor-IgGl fusion protein. First, the p55 and p75 TNF receptors

   were shown to be structurally distinct with different amino acid sequences. Second, the IgG3

   antibody has a unique structure and activity among the different subtypes of the human IgG

  isotype, including a having a characteristic repeated hinge region (62 amino acids, compared to

   the 13-15 amino acids in the IgGl hinge, depending on the definition).

          350.    In June 2004, Roche and Immunex entered into an "Accord & Satisfaction

  Agreement" that transferred to Immunex all substantive ownership rights to the Patents-in-Suit.

  See 2004 Accord & Satisfaction Agreement, DTX-357. Thereafter, Immunex took over

  prosecution of the applications that led to the Patents-in-Suit.

          351.    Immunex materially amended the specification and changed the scope of the

  pending claims in an attempt to purportedly cover etanercept following transfer of control of the

  prosecution of the application to hnmunex. For example, in November 2006, Immunex amended



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   the specification to reference the plasmid PTA 7942. Plasmid PTA 7942 was unavailable at the

   timing of filing the patent application. Plasmid PTA 7942 was only deposited on October 17,

   2006 with the American Type Culture Collection. Inconsistencies in the amino acid sequences

   of Plasmid PTA 7942 and the Figure 4 fragment reflect that the Figure 4 fragment encodes a

   different protein than that encoded by Plasmid PTA 7942.

          352.    The specification as of September 1990 does not describe the hinge-CH2-CH3

   region of a human IgG/IgG1.

          353.    The parties stipulated that the claimed phrase "all the domains of the constant

   region of a human IgG1 immunoglobulin heavy chain other than the first domain of the constant

   region" has its "plain and ordinary meaning: • -hinge-CH2-CH3' region of a human

   [IgG/IgGl]."' D.I. 144 at 1.

          354.    The specification as of September 1990 does not mention the term "hinge". A

   person of ordinary skill in the art in September 1990 would have understood that a hinge region

   of a human IgG/IgG1 has more than one plain and ordinary meaning and that the Patents-in-Suit

   lack written description for which hinge to use.

          355.    The specification does not describe a fusion protein combining the full p75

   extracellular region and hinge-CH2-CH3 region of a human IgG/IgG1, or that the named

  inventors possessed such a fusion protein or had devised a procedure for making such a fusion

  protein. A person of ordinary skill in the art would not have understood that the named inventors

  had described and shown possession of the claimed the fusion protein based upon the examples

  of the Patents-in-Suit.




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            356. The specification does not teach a fusion protein combining the full p75

   extracellular region and hinge-CH2-CH3 region of a human IgG/IgG1 that specifically binds

   TNF.

                     2.        Plaintiffs' Statement

            357. Defendants allege that each of the Asserted Claims is invalid for failure to satisfy

   the written description requirement under 35 U.S.C. § 112.33

            358. Plaintiffs dispute Defendants' allegations oflack of written description.

            359.     35 U. S.C. § 112 states a patent's specification must "contain a written description

   of the invention.,,

            360.     Written description requires "an objective inquiry into the four corners of the

   specification from the perspective" of an ordinary artisan to detennine if it "describe[s] an

   invention understandable to that skilled artisan and show[s] that the inventor actually invented

   the invention claimed." Ariad Pharm. Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir.

   2010) (en bane).

            361.     To satisfy the written description requirement, the specification must "reasonably

  convey[] to those skilled in the art that the inventor had possession of the claimed subject matter

  as of the filing date." Id.

           362.      For inventions relating to biological materials, written description may be

  established by a deposit of a sample of the biological material with an independent depository

  accessible to the public, and identification of the deposited material in the patent specification at

  any time prior to the issuance of the patent. Enzo Biochem, Inc. v. Gen-Probe Inc., 323 F.3d

  956, 965-67 (Fed. Cir. 2002); see also 37 C.F.R. § l.804(a) (". .. an original deposit [of


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   biological material] ...may be made ...subject to§ 1.80 9, during pendency of the application

   for patent.").

           363.     The identification of deposited material in a patent specification can be made at

   any time prior to the issuance of the patent and does not constitute new matter. In re Lundak,

   77 3 F. 2d 12 16, 12 18-20, 12 2 3 (Fed.Cir. 1985); see also 37 C.F.R.§ l .80 4(a) ("... an original

   deposit [of biological material] ...may be made ...subject to§ 1.80 9, during pendency of the

   application for patent.").

           364.     "[E]xarnples are not necessary to support the adequacy of a written description"

   and "there is no per se rule that an adequate written description of an invention that involves a

   biological macromolecule must contain a recitation of known structure." Falko-Gunter Falkner

   v. Inglis, 448 F.3d 1357 , 1366 (Fed. Cir. 2006); see also Ariad, 5 98 F .3d at 135 2 ("the written

   description requirement does not demand either examples or an actual reduction to practice; a

   constructive reduction to practice that in a definite way identifies the claimed invention can

   satisfy the written description requirement").

           365. Where "accessible literature sources clearly provided, as of the relevant date,

   genes and their nucleotide sequences ... , satisfaction of the written description requirement

   does not require either the recitation or incorporation by reference (where permitted) of such

  genes and sequences." Falko-Gunter Falkner, 448 F.3d at 1368; see also Capon v. Eshhar et al.,

   418 F.3d 13 49, 1361 (Fed. Cir. 2005) (written description requirement does not impose "aper se

   rule requiring recitation in the specification of the nucleotide sequence of claimed DNA, when

  that sequence is already known in the field").




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          366.    Whether a specification satisfies the written description requirement is a question

   of fact. See Vas-Cathlnc. v. Mahurkar, 935 F.2d 1555, 1563 (Fed. Cir. 199I);seealsoAriad,

   598 F.3d at 1351.

          367.    Issued patents are presumed valid. See 35 U.S.C. § 282(a). To rebut the

   presumption of validity, Defendants bear the burden of proving invalidity by clear and

   convincing evidence. Microsoft, 564 U.S. at 110-14.

                          a.      Plaintiffs' Statement of the Issues of Fact to Be Litigated

          368.    Whether Defendants have proven by clear and convincing evidence that the

   specification of the Patents-in-Suit fails to convey to an ordinary artisan that the inventors

   possessed the subject matter of the Asserted Claims under 35 U.S.C. § 112 at the time of the

   invention (i .e., August 31, 1990) given, for example, the following:
          •   The specification describes fusion proteins which consist of a soluble fragment of

              non-soluble TNF binding proteins and an immunoglobulin fragment, i.e., "all

              domains except the first domain of the constant region of the heavy chain";
          •   The p75 TNF-R sequences disclosed in the specification provide identifying

              information sufficient to show that the inventors possessed the entire p75 TNF-R

              protein, and DNA encoding the entire protein;
          •   The specification describes routine methods for identifying the entire amino acid and

              DNA sequence of the p75 TNF-R, which if followed, would have resulted in the same

              sequences disclosed in the literature;

          •   The specification lists the Smith 1990 reference as a publication disclosing sequences

              of the p75 TNF-R protein;




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           •     Amino acid and nucleotide sequences disclosed in the specification identify the p75

                 TNF-R protein as the same protein disclosed in the prior art Smith 1990 reference

                 (which disclosed these sequences);
           •     The Patent Office allowed an amendment to the specification identifying ATCC

                 Accession No. PTA 7942, a publicly available biological deposit, which includes a

                 plasmid with a cDNA insert that encodes the p75 TNF-R amino acid sequence;
           •   The DNA and amino acid sequences of the heavy chain constant region of lgG

               immunoglobulins, including IgGl and IgG3, were known in the art;
           •   The specification describes pCD4-Hyl and pCD4-Hy3 as publicly available vectors

               that can be used to make the fusion protein of the Asserted Claims;
           •   Soluble forms ofTNF-R were known in the art to bind TNF with high affinity and the

               extracellular binding domain of p-75 TNF-R was known in the art; and
           •   Recombinant DNA technology was a mature field and recombinant DNA techniques

               were routine.

                           b.      Response to Defendant's Statement of Contested Facts

           369.     Plaintiffs object to Defendants' "Statement of Contested Facts" in the section

   above. Rather than identifying disputed factual questions, Defendants' statement does nothing

   more than provide a summary of Defendants' position (in paragraph form) based on a misleading

   and selective portrayal of the facts. In addition, many of the facts that Defendants characterize as

   not disputed are, in fact, disputed.

          E.        Enablement (35 U.S.C. § 112)

                    1.     Defendants' Statement

          370.      The second requirement of§ 112 is "enablement." See Ariad, 598 F.3d at 1351.




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           371.    Enablement is a question of law, with factual inquiries underlying the

   determination. ALZA Corp. v. Andrx Pharms., LLC, 603 F.3d 935,940 (Fed. Cir. 2010).

           372.    To meet the enablement requirement,the specification of a patent must teach

   those skilled in the art how to make and use the full scope of the claimed invention without

   undue experimentation. MagSil Corp. v. Hitachi Global Storage Techs., Inc., 687 F.3d 1377,

   1380 (Fed. Cir. 2012).

           373.    "Enablement serves the dual function in the patent system ofensuring adequate

   disclosure of the claimed invention and of preventing claims broader than the disclosed

   invention." Magsil Corp., 687 F.3d at 1380-1381.

           374.    To determine if the experimentation necessary is undue,courts consider: "(I) the

   quantity of experimentation necessary, (2) the amount ofdirection or guidance presented,(3) the

   presence or absence of working examples,(4) the nature of the invention,(5) the state of the

   prior art, (6) the relative skill of those in the art, (7) the predictability or unpredictability of the

   art, and (8) the breadth of the claims." In re Wands, 858 F.2d 731,737 (Fed. Cir. 1988).

           375.    Where the prior art alone establishes enablement of claimed subject matter, "[a]

   patent cannot both be non-obvious and enabled." In re '318 Patent Infringement Litig., 578 F.

   Supp. 2d 711, 736 (D. Del. 2008), af:fd, 583 F.3d 1317 (Fed. Cir. 2009). A patent "cannot

   simply rely on the knowledge of a person of ordinary skill to serve as a substitute for the missing

   information in the specification." ALZA Corp., 603 F.3d at 941.

           376.    Conversely, "a description that does not render a claimed invention obvious does

   not sufficiently describe that invention for purposes of§ 112,,i l ." Regents of Univ. of

   California v. Eli Lilly & Co., 119 F.3d 1559,1567 (Fed. Cir. 1997) (emphasis omitted).




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            377.    Patent protection is granted "in return for an enabling disclosure of an invention,

   not for vague intimations of general ideas that may or may not be workable." Genentech, Inc. v.

   Novo Nordisk AIS, 108 F. 3d 1361, 1366 (Fed. Cir. 1997). "It is the specification, not the

   knowledge of one skilled in the art, that must supply the novel aspects of an invention in order to

   constitute adequate enablement." Id. Thus, "when there is no disclosure of any specific starting

   material or ofany ofthe conditions under which a process can be carried out, undue

   experimentation is required; there is a failure to meet the enablement requirement that cannot be

   rectified by asserting that all the disclosure related to the process is within the skill of the art."

   Id.

                                a.   Defendants' Statement of the Issues of Law to be Litigated

           378.     Whether Defendants have proven by clear and convincing evidence that the

   Asserted Claims of the Patents-in-Suit are invalid for lack of enablement?

                                b.   Defendants' Statement of the Issues of Fact to be Litigated

           379.     Whether the Asserted Claims of the Patents-in-Suit are invalid for failure to meet

   the enablement requirement of35 U.S.C. § 112, 11.

                                c.   Defendants' Statement of the Contested Facts

           380.     Each of the Asserted Claims of the Patents-in-Suit are invalid for failure to meet

   the enablement requirement of35 U.S.C. § 112, � l.

           381.     The Roche inventors filed the application leading to the Patents-in-Suit in 1990.

   The Roche inventors were employed by Plaintiff Roche. The Roche inventors were not

   employed by Plaintiffs Immunex and Amgen at the time of filing the application leading to the

   Patents-in-Suit. The Roche inventors worked on a p55 TNF receptor-lgG3 fusion protein, which

   failed in clinical trials.




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               382.     The Asserted Claims of the Patents-in-Suit are generally directed to a fusion

   protein comprised of the full p75 extracellular region and hinge-CH2-CH3 region of a human

   IgG/IgGl , wherein the fusion protein specifically binds human TNF.

              383.      The specification does not allow persons of ordinary skill in the art to recognize

   that the Roche inventors invented and possessed a fusion protein comprised of the full p75

   extracellular region and hinge-CH2-CH3 region of a human IgG/IgG1 as of September 1990.

              384.      The specification does not teach those skilled in the art how to make and use the

   full scope of the claimed invention without undue experimentation as of September 1990.

               385.     The specification fails to describe, among other things, (1) the full p75

   extracellular region, (2) the hinge-CH2-CH3 region of a human IgG/IgG1, (3) a fusion protein

   combining the full p75 extracellular region and the hinge-CH2-CH3 region of a human IgG, and

   (4) such a fusion protein that specifically binds TNF.

              386.      Without disclosure in the specification of the specific constituent parts for making

   a fusion protein combining the full p75 extracellular region and the hinge-CH2-CH3 region of a

   human IgG/lgG1 or of how the process for making a fusion protein can be carried out, undue

   experimentation is required to make and use the full scope of the claimed invention.

              387.      The specification does not supply the purported novel aspects of the claimed

   invention. The failure to provide an enabling disclosure cannot be rectified by asserting that all

   the disclosure related to the claimed invention is within the skill of the art.

                        2.       Plaintiffs' Statement

              388.      Defendants allege that each of the Asserted Claims is invalid for lack of

   enablement under 35 U.S.C. § 112. 34


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             389.   Plaintiffs dispute Defendants' allegations of lack of enablement.

             390.   35 U.S.C. § 112 states a patent specification must contain a written description

   "of the manner and process of making and using [the invention],in such full,clear,concise,and

   exact terms as to enable any person skilled in the art to which it pertains . . . to make and use the

   same ...."

             391.   To satisfy the enablement requirement, a patent specification must teach one of

   ordinary skill in the art "'how to make and use the full scope of the claimed invention without

   undue experimentation."' MartekBiosciences Corp. v. Nutrinova, Inc., 579 F.3d 1363,1378

   (Fed. Cir. 2009) (quoting In re Wright, 999 F.2d 1557, 1561 (Fed. Cir. 1993)).

             392.   "A claim is sufficiently enabled even if 'a considerable amount of

   experimentation' is necessary,so long as the experimentation 'is merely routine,or if the

   specification in question provides a reasonable amount of guidance with respect to the direction

   in which the experimentation should proceed."' Vasudevan Software, Inc. v. MicroStrategy,

   Inc., 782 F.3d 671,684 (Fed. Cir. 2015) (quoting In re Wands, 858 F.2d 731,737 (Fed. Cir.

   1988)).

             393.   Enablement is a question of law based on underlying facts. See In re Vaeck, 947

   F.2d 488,495 (Fed. Cir. 1991).

             394.   Facts relevant to the enablement requirement (the "Wands factors") include "(1)

   the quantity of experimentation necessary, (2) the amount of direction or guidance presented, (3)

   the presence or absence of working examples, (4) the nature of the invention, (5) the state of the

   prior art, (6) the relative skill of those in the art, (7) the predictability or unpredictability of the

   art, and (8) the breadth of the claims." Wands, 858 F.2d at 737.




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          395. Issued patents are presumed valid. See 35 U.S.C. § 282(a). To rebut the

   presumption of validity, Defendants bear the burden of proving invalidity by clear and

   convincing evidence. Microsoft, 564 U. S.at110-14.

                          a.      Plaintiffs' Statement of the Issues of Law to Be Litigated

          396 . Whether Defendants have proven by clear and convincing evidence that the

   Asserted Claims of the '1 82 patent are invalid because the specification fails to enable the

   claimed subject matter.

          397. Whether Defendants have proven by clear and convincing evidence that the

   Asserted Claims of the ' 522 patent are invalid because the specification fails to enable the

   claimed subject matter.

                          b.      Plaintiffs' Statement of the Issues of Fact to Be Litigated

          398.    Whether Defendants have proven by clear and convincing evidence that the

   specifications of the Patents-in- Suit would not have enabled an ordinary artisan to make and use

   the subject matter of each of the Asserted Claims without undue experimentation, given, for

   example, the following:
          •       The narrow breadth of the claims, which cover a specific fusion protein consisting

                  of the extracellular region of p75 TNF-R fused to the "-hinge-CH2-CH3 region of

                  a human IgG immunoglobulin";
          •       The disclosure provided in the specification, the state of the art, and the general

                  lmowledge in the art. See Written Description, Issues of Fact to be Litigated,

                  supra, § VII.E.2; and
          •       The level of skill in the art as recognized by Defendants and Plaintiffs. See,

                  supra, § VII.D.2.b, footnote 35.




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                           c.       Response to Defendant's Statement of Contested Facts

           399.    Plaintiffs object to Defendants' "Statement of Contested Facts" in the section

   above. Rather than identifying disputed factual questions, Defendants' statement does nothing

   more than provide a summary of Defendants' position (in paragraph form) based on a misleading

   and selective portrayal of the facts. In addition, many of the facts that Defendants characterize as

   not disputed are, in fact, disputed.

           F.      Anticipation and Obviousness of Claims 35 and 36 of the '182 Patent (35
                   u.s.c. §§ 102, 103)
                   1.      Defendants' Statement

           400.    "[A] patent application is entitled to the benefit of the filing date of an earlier filed

   application only if the disclosure of the earlier application provides support for the claims of the later

   application, as required by 35 U.S.C. § 112." In re Chu, 66 F.3d 292, 297 (Fed. Cir. 1995). Section

   112 written description requires that the application "reasonably conveys to those skilled in the art

   that the inventor had possession of the claimed subject matter as of the filing date." Ariad Pharms.,

   Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (emphasis added); see also Lockwood v.

   Am. Airlines, Inc., 107 F.3d 1565, 1571-72 (Fed. Cir. 1997).

           401.    "When the applicant adds a claim or otheiwise amends his specification after the

   original filing date . . . the new claims or other added material must find support in the original

   specification." TurboCare Div. ofDemag Delaval Turbomachinery Corp. v. Gen. Elec. Co., 264 F.3d

   1111, 1118 (Fed. Cir. 2001).

           402.    When presented with invalidating prior art, the patentee has "the burden of going

   foiward with evidence ...that it is not prior art because the asserted claim is entitled to the benefit of

   a filing date prior to the alleged prior art." Tech Licensing Corp. v. Videotek, Inc., 545 F.3d 1316,

   1327 (Fed. Cir. 2008). To claim the benefit of an earlier application, the patentee must "show not




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   only the existence of the earlier application, but why the written description in the earlier application

   supports the claim" before the burden of production shifts to the accused infringer. Id.

           403. A person shall be entitled to a patent unless -

                   (a) the invention was known or used by others in this country, or
                   patented or described in a printed publication in this or a foreign
                   country, before the invention thereof by the applicant for patent, or

                   (b) the invention was patented or described in a printed publication
                   in this or a foreign country or in public use or on sale in this country,
                   more than one year prior to the date of the application for patent in
                   the United States, or .. .

   35 U.S.C. § 102(a), (b).

           404. "A patent may not be obtained though the invention is not identically disclosed or

   described as set forth in section 102, if the differences between the subject matter sought to be

   patented and the prior art are such that the subject matter as a whole would have been obvious at

   the time the invention was made to a person having ordinary skill in the art to which said subject

   matter pertains." 35 U.S.C.§ 103(a).

                           a.      Defendants' Statement of the Issues of Law to be Litigated

           405. Whether Plaintiffs have shown that claims 35 and 36 of the '182 patent are

   entitled to claim priority to the European Patent Application No.90116707 ("the Brockhaus '707

   application") filed on August 31, 1990, when those claims recite the amino acid sequence of the

   plasmid PTA 7942, which was not referenced in the patent specification until a November 2006

   amendment?

          406.     Whether Defendants have proven by clear and convincing evidence that claims 35

   and 36 of the '182 patent are invalid as anticipated or obvious to a person of ordinary skill in the

   art as of November 2006 pursuant to 35 U.S.C.§§ 102, 103?




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                         b.      Defendants' Statement of the Issues of Fact to be Litigated

          407.    Whether the Brockhaus '707 application provides written description support for

   the claimed plasmid PTA 7942?

          408.    Whether prior to the November 2006 amendment to the patent specification

   adding reference to the claimed plasmid PTA 7942, any ofthe applications from which the '182

   patent derives provide written description support for the plasmid?

          409.   Whether the prior art as ofNovember 2006 anticipates or renders obvious each of

   claims 35 and 36 of the '182 patent?

                         c.      Defendants' Statement of the Contested Facts

          410.    The Brockhaus '707 application does not describe the amino acid sequence

   encoded by the claimed plasmid PTA 7942. None ofthe other pre-November 2006 applications

   from which the '182 patent derives provide written description support for the claimed plasmid

   PTA 7942.

          411.    Asserted claims 35 and 36 ofthe '182 patent would have been anticipated by the

   prior art as ofNovember 2006, and/or would have been obvious to a person ofordinary skill in

   the art in November 2006.

          412.   The Jacobs '690 patent (DTX-17) issued on February 25, 1997. The patent

   describes in Example 2 the construction and expression ofan exemplary soluble human

   TNFR/Fc fusion protein and provides in Figure 1 a schematic representation ofthe etanercept

   molecule. Other developments in the prior art between August 1990 and November 2006

   include the approval ofENBREL® in the United States on November 2, 1998, the sale of

   ENBREL® in the United States for more than one year prior to November 2006, and the

   publication ofstudies describing the administration ofENBREL® and its uses.




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           413.    The prior art describing etanercept anticipates claims 35 and 36 of the '182 patent,

   which claim etanercept and a pharmaceutical composition comprising etanercept. A person of

   ordinary skill in the art would have also found the Asserted Claims of the '182 patent obvious in

   light of etanercept. The objective evidence does not support a finding that asserted claims 35

   and 36 of the '182 patent is nonobvious over the prior art describing etanercept.

                  2.       Plaintiffs' Statement

           414.   Defendants allege that claims 35 and 36 of the '182 patent are invalid as

   anticipated by the prior art or obvious in view of the prior art.=

           415.   Plaintiffs dispute Defendants' allegations of anticipation and obviousness.

           416.   A claim is entitled to the benefit of the filing date of an earlier application if the

   earlier application includes a written description of the subject matter of the claim and the earlier

   application enables the claimed subject matter. Frazer v. Schlegel, 498 F.3d 1283, 1287 (Fed.

   Cir. 2007); Martek, 579 F.3d at 1369.

           417.   The earlier application "need not describe the claimed subject matter in precisely

   the same terms as found in the claims at issue." Martek, 579 F.3d at 1369. Instead, the test for

   the sufficiency of the support in the earlier filed application is "whether the disclosure of the

   application relied upon 'reasonably conveys to the artisan that the inventor had possession at that

   time of the later claimed subject matter."' Id.

          418.    To satisfy the enablement requirement, a patent specification must teach one of

   ordinary skill in the art "'how to make and use the full scope of the claimed invention without

   undue experimentation."' Id. at 1378.

          419.    Subject matter supported by the original disclosure of a patent application may be

   added to the specification by an amendment after the application is filed. TurboCare Div. of

   Demag Delaval Turbomachinery Corp. v. G.E., 264 F.3d 1111, 1118-19 (Fed Cir. 2001). If a


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   proposed amendment adds subject matter that is not supported by the original disclosure, it adds

   "new matter" to the specification and claims covering the amended subject matter are rejected by

   the Patent Office for failing to satisfy the written description requirement of35 U.S.C.§ 112.

   TurboCare at 1119-20; see also In re Rasmussen, 650 F.2d 1212, 1214-15 (CCPA 1981).

           420. The question of whether an amendment adds new matter to the disclosure is

   essentiallythe same as the question ofwhether the original disclosure provides written

   description support for the added subject matter, which is a question of fact. Rasmussen, 650

   F.2d at 1214-15; Ariad, 598 F.3d at 1351.

           421.    The identification ofdeposited material in a patent specification is not new matter

   if made prior to the issuance of the patent. Lundak, 773 F.2d at 1223; see also 37 C.F.R. §

   1.804(a) (". .. an original deposit [ofbiological material] .. . maybe made ... subject to§

   1.809, during pendency of the application for patent.").

           422.    An alleged infringer seeking to invalidate a patent based on the argument that the

   claims of the patent are not entitled to the effective filing date of the earliest filed application for

   which the patent claims prioritymust prove that the earlier filed application does not provide

   written description support and enable the subject matter of the claims by clear and convincing

   evidence. See, e.g., Martek, 579 F.3d at 1369, n. 3.

          423.     Further, the Federal Circuit has held that "in the context of a validity challenge

   based on new matter, the fact that the [Patent Office] has allowed an amendment. ..is entitled to

   an especially weightypresumption of correctness." Commonwealth Scientific & Indus. Research

   Org. v. Buffalo Tech. (USA), Inc., 542 F.3d 1363, 1380 (Fed. Cir. 2008) (citingBrooktree Corp.

   v. Advanced Micro Devices, Inc., 977 F.2d 1555, 1574-5 (Fed. Cir. 2002)).




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           424.   The ultimate detennination of whether a specific claim is entitled to the effective

   filing date of an earlier application is a question of law. E.L du Pont de Nemours & Co. v.

   MacDermid Printing Sols., L.L.C., 525 F.3d 1353, 1359 (Fed. Cir. 2008).

                          a.      Plaintiffs' Statement of the Issues of Law to Be Litigated

           425.   Whether Defendants have proven by clear and convincing evidence that claims 35

   and 36 of the '182 patent are not entitled to claim the benefit of an August 31, 1990 filing date of

   European Patent Application No. 90116707.

           426.   Whether Defendants have proven by clear and convincing evidence that the

   Patent Office's determination that the amendment to the specification to identify biological

   deposit ATCC No. PTA 7942 recited in claims 35 and 36 of the '182 patent prior to the issuance

   of the '182 patent was improper by proving by clear and convincing evidence that the Patent

   Office erred in determining that the amendment was supported by the original disclosure and

   therefore did not add new matter.

                          b.      Plaintiffs' Statement of the Issues of Fact to Be Litigated

           427.   Whether Defendants have proven by clear and convincing evidence that claims 35

   and 36 of the '182 patent are invalid as anticipated by the prior art given that these claims are

   entitled the benefit of the August 31, 1990 filing date of European Patent Application No.

   90116707.

          428.    Whether Defendants have proven by clear and convincing evidence that the

   specification of the Patents-in-Suit fails to convey to an ordinary artisan that the inventors

   possessed the subject matter of claims 35 and 36 of the '182 patent at the time of the August 31,

   1990 filing of European Patent Application No. 90116707 given, for example:
          •       The disclosure of the application (see, supra,§ VII.E.2 (Plaintiffs' Statement

                  regarding Written Description); and


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           •      The Patent Office's determination that the amendment to the specification to

                  identify biological deposit ATCC No. PTA 7942 recited in claims 35 and 36 of

                  the '182 patent was supported by the original disclosure and therefore did not

                  constitute new matter and was proper.

                          c.      Response to Defendant's Statement of Contested Facts

          429.    Plaintiffs ob ject to Defendants' "Statement of Contested Facts" in the section

   above. Rather than identifying disputed factual questions, Defendants' statement does nothing

   more than provide a summary of Defendants' position (in paragraph form) based on a misleading

   and selective portrayal of the relevant facts. In addition, many of the facts that Defendants

   characterize as not disputed are, in fact, disputed.

          G.      Exceptional Case (35 U.S.C. § 285)

                  1.      Plaintiffs' Statement

          430.    35 U.S.C. § 285 states that the "court in exceptional cases may award reasonable

   attorney fees to the prevailing party."

          431.    An "exceptional" case under 35 U.S.C. § 285 is "one that stands out from others

   with respect to the substantive strength of a party's litigating position (considering both the

   governing law and the facts of the case) or the unreasonable manner in which the case was

   litigated." Octane Fitness, LLC v. ICON Health & Fitness, Inc., 134 S. Ct. 1749, 1756 (2014).

          432.    The determination of whether a case is exceptional is "generally ... 'rooted in

   factual determinations."' Highmark Inc. v. Allcare Health Mgmt. Sys., Inc., 134 S.Ct. 1744,

   1748-49 (2014).

          433.    Factors supporting a finding that a case is exceptional, such as deliberate copying

   of an invention, need not be pied for the Court to consider the evidence at trial. Barry v.




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   Medtronic, Inc., 250 F. Supp. 3d 107, 114-115 (E.D. Tex. Apr. 20, 2017); see also Read Corp. v.

   Portee, Inc., 970 F.2d 816, 826-27 (Fed. Cir. 1992).

           434.    Plaintiffs must show by a preponderance of the evidence that a case is

   exceptional. Octane Fitness, 134 S. Ct. at 1758.

                           a.      Plaintiffs' Statement of the Issues of Law to Be Litigated

           435.    Whether Plaintiffs can prove, by a preponderance of the evidence, facts at trial

   relevant to the question of whether this case is exceptional-which Plaintiffs have pied in their

   Complaint (see D.I. 1 at 35).

                           b.      Plaintiffs' Statement of the Issues of Fact to Be Litigated

           436.    Whether Plaintiffs have proven by a preponderance of the evidence that this is an

   exceptional case such that the court should award attorneys' fees under 35 U.S.C. § 285, given

   Defendants' conduct during litigation (e.g., improper privilege redactions), assertion of meritless

   defenses such as prosecution laches and invalidity under 35 U.S.C. 102(g), and deliberate

   copying of the subject matter of the Asserted Claims following attempts to "design around" the

   Patents-in-Suit.

                           c.      Response to Defendant's Statement of Contested Facts

           437.    Plaintiffs object to Defendants' "Statement of Contested Facts" in the section

   below. Rather than identifying disputed factual questions, Defendants' statement does nothing

   more than provide a summary of Defendants' position (in paragraph form) based on a misleading

   and selective portrayal of the facts. In addition, many of the facts that Defendants characterize as

   not disputed are, in fact, disputed.

                  2.      Defendants' Statement

          438.    "The court in exceptional cases may award reasonable attorney fees to the

   prevailing party." 35 U.S.C. § 285.


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           439.    A case may be found to be "exceptional" under 35 U.S.C. § 285 for any one or

   more of the following reasons: lack of substantive strength of litigating position, unreasonable

   conduct, or subjective bad faith. Octane Fitness, LLC v. ICON Health & Fitness, Inc., 134 S. Ct.

   1749, 1756-57 (2014).

           440.    To show that a party's litigating position warrants an "exceptional case" finding,

   it is not sufficient to rely exclusively on the fact that the position did not ultimately prevail. See

   id. at 1753 (noting § 285 attorney fees are not "a penalty for failure to win a patent infringement

   suit"). Further, the filing of an application to the FDA for approval of a biological product is an

   artificial act of infringement under 35 U.S.C. § 271(e)(2)(C) that, alone, cannot give rise to an

   award for attorney's fees. See Sandoz Inc. v. Amgen Inc., 137 S. Ct. 1664, 1674-75 (2017);

   Glaxo Group Ltd. v. Apotex, Inc., 376 F.3d 1339, 1350-51 (Fed. Cir. 2004). Instead, "a district

   court may award fees in the rare case in which a party's unreasonable conduct-while not

   necessarily independently sanctionable-is nonetheless so 'exceptional' as to justify an award of

   fees." Id. at 1757.

           441.    The absence of inequitable conduct before the PTO, vexatious, unjustified, and

   otherwise bad faith litigation, a frivolous suit, or willful infringement weighs against an

   exceptional case finding. AstraZeneca AB v. Aurobindo Pharma Ltd., 232 F. Supp. 3d 636 (D.

   Del. 2017);Brigham & Women's Hosp., Inc. v. Perrigo Co., No. CV 13-11640-RWZ, 2017 WL

   1496916, at *5 (D. Mass. Apr. 24, 2017) (denying plaintiff's motion for attorney's fees, because

   defendant's defense of the suit was neither frivolous nor vexatious); Tyco Healthcare Grp. LP v.

   Mut. Phann. Co., Inc., No. 07CV1299SRCCLW, 2016 WL 3965201, at *1 (D.N.J. July 22,

   2016) (denying Defendants' motion for attorney's fees because Plaintiff did not engage in sham

   litigation and it is inappropriate to find a case exceptional based on a "battle of the experts").



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                             a.      Defendants' Statement of the Issues of Law to be Litigated

           442.     Whether the mere filing of an abbreviated Biologics License Application (aBLA)

   can support a finding of exceptional case?

                             b.      Defendants' Statement of the Issues of Fact to be Litigated

           443.     Whether Plaintiffs' actions in this litigation have given rise to an exceptional case

   such that the court should award Defendants' attorneys' fees under 35 U.S.C. § 285?

           444.     Whether Defendants' actions in this litigation have given rise to an exceptional

   case such that the court should award Plaintiffs' attorneys' fees under 35 U.S.C. § 285?

                             c.      Defendants' Statement of the Contested Facts

           445.     Defendants' actions in defending this litigation do not demonstrate an exceptional

   case. For example, Defendants' litigating position does not lack substantive strength, and

   Defendants have not engaged in unreasonable conduct or subjective bad faith.

           446.     Nor does Sandoz's "copying" of Enbrel demonstrate an exceptional case. Sandoz

   began its etanercept project no later than 2005 and worked on it continuously until filing its

   aBLA in 2015. The Patents-in-Suit did not issue until 2011 and 2012, despite having been

   pending with the PTO since 1995.

   VIII. REMEDIES

           447.     On June 7, 2017, the parties agreed to postpone discovery on remedies, including

   a permanent injunction, until after trial on the merits. 35




   35 June 7, 2017 e-mail from Julia Mano Johnson to Marc Haefner.



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   IX.    WITNESSES

          A.      Plaintiffs' Witnesses

   Fact Witnesses

          1.      Hansruedi Loetscher, Ph.D. Qive): Dr. Loetscher is an inventor of the '182 and

   '522 patents. He received an undergraduate degree in Biochemistry at the Swiss Federal

   Institute of Technology, which is a specialized school for high achieving technical students in

   Switzerland. He also received a Ph.D. from the Swiss Federal Institute of Technology in 1981.

   He then completed post-doctoral research at the University of Oregon.

          2.      Dr. Loetscher recently retired from F. Hoffmann-La Roche AG's facility in Basel,

   Switzerland, where he worked from 1984 through 2016. Prior to his retirement, Dr. Loetscher

   served as the Global Head of Neuroscience Discovery and as the Section Head of

   Neurodegeneration and Regeneration, where he led efforts to find treatments for Parkinson's and

   Alzheimer's diseases. In his over 30-year scientific career, Dr. Loetscher authored over 70

   scientific publications, including in Nature, the Journal ofBiological Chemistry, Drug Discovery

   Today, the Journal ofImmunology, and the Journal ofInvestigative Dermatology.

          3.      Dr. Loetscher is expected to testify about, among other things, the research and

   development of the subject matter of the '182 patent and the '522 patent.

          4.      Werner Lesslauer, Ph.D. (by deposition}: Dr. Lesslauer is an inventor of the

   '182 and '522 patents. He received a Medical Degree from the University of Basel in 1962. He

   received a Ph.D. in Physical Chemistry from the University of Basel in 1966. His post-doctoral

   work focused on the biophysical study of biological membranes. In 1979, he presented a written

   manuscript and trial lecture at the University of Bern, where he received a venia docendi, a

   qualification to become a Privatdozent, or Associate Professor. After teaching and conducting

   research in biology and biochemistry at the University of Bern for several years, he began work


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   as a Staff Scientist at F. Hoffinan-La Roche AG in 1987. He worked at Roche in Basel,

   Switzerland for 12 years, where he retired as a Vice-Director of Research. Following his

   retirement, Dr. Lesslauer took a visiting faculty position in the Department ofEpidemiology and

   Public Health at Yale University School of Medicine. He has authored over 100 publications,

   including in Cell, Nature, the Journal ofBiological Chemistry, the Journal ofImmunology, and

   the Journal ofExperimental Medicine.

          5.      Dr. Lesslauer is expected to testify about, among other things, the research and

   development of the subject matter ofthe '182 patent and the '522 patent.

          6.      Laura Hamill Qive): Ms. Hamill is currently Amgen's Senior Vice President of

   U.S. Domestic Operations. She bas worked at Amgen since 2002. She previously worked at

   Immunex, where she was Vice President in the fuflammation Division and where she was

   responsible for all aspects ofENBREL® (etanercept), except sales ofENBREL®. Ms. Hamill is

   expected to testify about, among other things, ENBREL® and various commercial and marketing

   issues relating to ENBREL®.

          7.      Stuart Watt Qive): Mr. Watt has worked at Amgen for over 25 years. He started

   as a patent attorney in Amgen's legal department in 1992, and currently serves as Amgen's Vice

   President ofLaw and Intellectual Property Officer. Mr. Watt is expected to testify about, among

   other things, Immunex's licensing ofthe Patents-in-Suit. Mr. Watt will also serve as Immunex

   and AML's corporate representative during trial.

          8.      Dr. Taruna Arora {by deposition): Dr. Arora is a former scientist at Amgen.

   She started as a Research Scientist in 2003, was promoted to Senior Scientist in 2005, and was

   promoted to Principal Scientist in 2008. She left Amgen in 2011. Plaintiffs will call Dr. Arora

   to, among other things, provide a foundation for, and to authenticate, certain documents,




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   including laboratory notebooks and the declaration she submitted during prosecution of the

   Patents-in-Suit.

          9.      Dr. Tadahiko Kohno (by deposition): Dr. Kohno is a former scientist at Amgen

   and Synergen Inc. ("Synergen"). He worked as a scientist at Synergen from 1985 until Amgen

   acquired Synergen in 1994. He continued working as a scientist at Amgen until he retired as

   Scientific Director in 2007. Plaintiffs will call Dr. Kohno to provide testimony regarding, among

   other things, ENBREL® (etanercept) and research related to the p55 TNF receptor protein.

          10.     Dr. Christine Berndt {by deposition): Dr. Berndt is the Global Project Leader

   for the Defendants' Biosimilar Etanercept program. Plaintiffs will call Dr. Berndt as an adverse

   witness to testify about, inter alia, Defendants' Biosimilar Etanercept and various commercial,

   business, and marketing issues relating to Defendants' Biosimilar Etanercept.

          11.     Dr. Peter Alliger (by deposition): Dr. Alliger is a Technical Project Manager at

   Sandoz. Plaintiffs will call Dr. Alliger as an adverse witness to testify about, inter alia,

   Defendants' Biosimilar Etanercept, Defendants' awareness of the Patents-in-Suit, and

   Defendants' research and development efforts.

          12.     Dr. Cindy Cao, Ph.D. (by deposition): Dr. Cao is a former Executive Director

   for Regulatory Affairs Biopharmaceuticals at Sandoz. Plaintiffs will call Dr. Cao as an adverse

   witness to testify, inter alia, about Defendants' Biosimilar Etanercept and various regulatory

   issues relating to Defendants' Biosimilar Etanercept.

          13.     Dr. Mark McCamish Qive or by deposition): Dr. McCamish is the former

   Global Head ofBiophannaceutical Development at Sandoz. Plaintiffs will call Dr. McCamish as

   an adverse witness to testify about, inter alia, Defendants' efforts to "design around" the '182

   patent and the '522 patent, Defendants' Biosimilar Etanercept, Defendants' awareness of the




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   Patents-in-Suit, Defendants' research and development efforts, and various regulatory, business,

   commercial, and marketing issues relating to Defendants' Biosimilar Etanercept.

           14.       Dr. Zhengyu Liu {by deposition): Dr. Liu is the fonner U.S. Regulatory Lead of

   the U.S. Biopharmaceutical Regulatory Affairs Group at Sandoz. Plaintiffs will call Dr. Liu as

   an adverse witness to testify about, inter alia, Defendants' Biosimilar Etanercept and various

   regulatory issues relating to Defendants' Biosimilar Etanercept.

           15.       Dr. Martin Schiestl {by deposition): Dr. Schiestl is the Chief Science Officer at

   Sandoz. Plaintiffs will call Dr. Schiestl as an adverse witness to testify about, inter alia,

   Defendants' Biosimilar Etanercept and Defendants' research and development efforts.

           16.       Dr. Gautier Sala Qive): Dr. Sala is Executive Director, Biophannaceutical

   Regulatory Affairs at Sandoz. Plaintiffs will call Dr. Sala as an adverse witness to testify about,

   inter alia, Defendants' awareness of the Patents-in-Suit, and Defendants' research and

   development efforts directed to designing around the Patents-in-Suit. Plaintiffs object to

   Defendants assertion that Dr. Sala may "testify regarding the research and development of the

   product that is the subject of Sandoz's aBLA No. 761042." Dr. Sala was designated as a Rule

   30(b)(6) witness by Sandoz solely on topics related to the design-around efforts during

   discovery; he was not subject to a Rule 30(b)(l ) deposition. If the Court allows Defendants to

   call Dr. Sala to "testify regarding the research and development of the product that is the subject

   of Sandoz's aBLA No. 761042," Plaintiffs reserve the right to likewise call Dr. Sala on the same

   subject matter.

          17.        Gregory Oakes {by deposition): Mr. Oakes is a fonner Vice President and Head

   of Biopharmaceuticals North America at Sandoz Inc. Plaintiffs will call Mr. Oakes as an adverse




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   witness to testify about, inter alia, Defendants' Biosimilar Etanercept and various business,

   commercial, and marketing issues relating to Defendants' Biosimilar Etanercept.

            18.      Dr. Ruediger Jankowsky {by deposition): Dr. Jankowsky is a fonner Global

   Program Leader for Biopharmaceutical Development for Defendants. Plaintiffs will call Dr.

   Jankowsky as an adverse witness to testify about, inter alia, Defendants' Biosimilar Etanercept

   and Defendants' research and development efforts.

   Expert Witnesses36

            19.      Roy Fleischmann, M.D. (live): Professor Fleischmann is an expert in the field of

   rheumatic diseases and disorders. He received an A.B. in Zoology from Columbia College in

   New York City in 1964. He received an M.D. from State University of New York, Downstate

   Medical Center in 1969. He is the Founder and Co-Medical Director of the Metroplex Clinical

   Research Center in Dallas, Texas, and a Clinical Professor in the Department of Internal

   Medicine at the University of Texas, Southwestern Medical Center at Dallas. His career has

   spanned over 40 years and has involved numerous clinical trials in the field of rheumatology,

   including rheumatoid arthritis. Metroplex Clinical Research Center was one of the sites where

   clinical trials with ENBREL® (etanercept) were conducted, and Metroplex continues to be

   involved in the investigation and development of drugs for treatment of rheumatoid arthritis.

            20.      Professor Fleischmann has published over 200 articles in peer-reviewed journals

   in the field of rheumatology. He is currently the editor in chief of Rheumatology and Therapy,

   and serves on the editorial boards of Expert Opinion on Dntg Safety, Rheumatology (Oxford),

   and Annals of the Rheumatic Diseases. Professor Fleischmann serves as a journal referee for 20



   36 Plaintiffs reserve the right to have Dr. Kittendorfs expert report, or portions thereof, read into evidence. See,
   infra,§ X.



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   publications, including Arthritis and Rheumatology, Arthritis Care and Research, the Journal of

   Rheumatology, and Nature Rheumatology. He has held numerous leadership positions, including

   serving as President of Texas Rheumatism Society and serving on the Board of Directors of the

   Arthritis Foundation, North Central Chapter. He has been voted one of D Magazine's "Best

   Doctors in Dallas" and one of Texas Monthly's "Best Doctors in Texas." He is also a Master of

   the American College of Rheumatology, an honor he received based on his achievements in drug

   development and teaching.

          21.     Professor Fleischmann is expected to provide expert testimony concerning, inter

   alia, objective indicia of non-obviousness, including the clinical success of ENBREL®

   (etanercept), praise and recognition received by ENBREL®, and the long-felt medical need met

   byENBREL®.

          22.    Randolph Wall, Ph.D. Oive): Professor Wall is an expert in the fields of

   immunology, molecular biology, and antibody engineering. He received a B.A. in Botany and

   Bacteriology from the University of South Florida in 1965 and a Ph.D. in Microbiology from

   Indiana University in 1970. He is currently Distinguished Professor in the Department of

   Microbiology, Immunology, and Molecular Genetics in The Molecular Biology Institute,

   University of California at Los Angeles (UCLA) and the David Geffen School of Medicine at

   UCLA. Professor Wall's career spans over 45 years and has included many important

   discoveries and pioneering projects. As a post-doctoral researcher, for example, Dr. Wall

   discovered the fundamental properties involved in the generation and function of messenger

   RNA (mRNAs), an achievement essential for the development of recombinant cloning of cDNA

   from mRNA. He co-founded Ingene, a biotechnology company that was one of the first to

   generate genetically engineered "chimeric" antibodies.



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             23.   Professor Wall has taught courses in many subjects, including molecular biology,

   immunology, and virology. He has published over 100 articles, reviews, and book chapters. He

   has served on the editorial boards of the Journal ofImmunology and Molecular Cellular Biology.

   He has also served on panels and committees for the National Science Foundation, National

   Cancer Institute, and National Institute of General Medical Sciences of the National Institutes of

   Health.

             24.   Professor Wall is expected to provide expert testimony concerning, inter alia, the

   level of ordinary skill in the art, claim construction, Defendants' infringement of the '522 patent

   and the following validity issues related to the '182 patent and the '522 patent: non-obviousness,

   lack of obviousness-type double patenting, and the adequacy of the disclosures of the '182 patent

   and the '522 patent.

             25.   Graham Jones, Ph.D. (by expert report and deposition): Professor Jones is an

   expert in the fields of analytical chemistry, biopharmaceutical drug research, and regulatory

   science. He received a B.Sc. in Chemistry, with high honors, from the University of Liverpool

   in 1986. He received a Ph.D. in Organic Chemistry from the Imperial College of Science

   Technology and Medicine in London in 1989, where he was awarded the Cancer Research

   Foundation Fellowship. He was a NATO Fellow at Harvard University from 1989-1991, where

   he worked under E.J. Corey, the recipient of the Nobel Prize in Chemistry in 1990. Professor

   Jones also received a D.Sc. from the University of Liverpool in 2006 for career contributions in

   the field of chemistry.

             26.   Professor Jones is a Professor of Medicine and Director of Research

   Collaborations at Tufts University Medical Center in Boston, Massachusetts, where he also

   serves as the Associate Director of the Clinical and Translational Science Institute. He



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   previously served as the Executive Director of the Biophannaceutical Analysis Training

   Laboratory (BATL), a research facility formed in collaboration with the FDA for the purposes of

   advanced training and outreach in areas such as biological drug characterization, biological

   product regulation, and the development of training programs for FDA employees in the broad

   areas of biotechnology and analytical chemistry. He also established a Professional Science

   Master's program in Regulatory Science at Northeastern University. Following the enactment of

   the BPCIA, Professor Jones testified before the FDA in a panel hearing that helped the Agency

   establish its practices and policies in implementing the BPCIA, as reflected in the FDA's

   "Guidance for Industry" publications on demonstrating biosimilarity.

          27.     Professor Jones has authored over 150 publications in the areas of analytical

   chemistry, biopbannaceutical drug research, and regulatory science. He bas also served as an

   editor for the International Journal ofMedicinal Chemistry and Advances in DNA Sequence

   Specific Agents, and a reviewer for the Journal of the American Chemical Society, Nature, and

   Science. He has also served as an advisor to the American Chemical Society, and the National

   Green Chemistry Initiative. He also advises several governmental agencies, including the

   National Science Foundation, National Institutes of Health, and the Department of Defense. He

   has given dozens of invited lectures in the U.S. and internationally.

          28.     Professor Jones is expected to provide expert testimony concerning, inter alia, the

   FDA 's practices and policies regarding demonstrating biosimilarity, and the science underlying

   the FDA's policies, as relevant to Sandoz's copying oflmmunex's etanercept as an objective

   indicium of non-obviousness.

          29.     Warner Greene, M.D., Ph.D. Qive): Professor Greene is an expert in the fields

   of molecular biology, immunology, and virology. He received a B.A. in Biology, with Great




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   Distinction, from Stanford University in 1971. He obtained an M.D. and Ph.D., with honors,

   from Washington University School of Medicine in St. Louis in 1977. He is the Founder and

   Director of the Gladstone Institute of Virology and Immunology in San Francisco, and is also the

   Nick and Sue Hellman Distinguished Professor of Translational Medicine at the University of

   California, San Francisco. He has over 40 years of experience as a biomedical researcher,

   including study of tumor necrosis factor signaling pathways and the characterization of cytokine

   receptors.

          30.     Professor Greene has been recognized as one of the 100 most cited scientists in

   the world by the Institute for Scientific Information. He has served on the editorial boards of

   several journals, including the Journal ofImmunology, Cytokine, Molecular Biology ofthe Cell,

   and the Journal of Clinical Investigation. He has also served as a reviewer for numerous

   journals, including Nature, Science, Immunity, and the Journal ofExperimental Medicine. He

   has held numerous leadership positions, including Vice President of the American Society for

   Clinical Investigation and President of the Association of American Physicians. He has given

   dozens of honorary lectures in the U.S. and internationally. Professor Greene's work has been

   honored by the American Federation for Clinical Research and the American Rheumatism

   Association.

          31.     Professor Greene is expected to provide expert testimony concerning, inter alia,

   the work of others attempting to create a TNF receptor fusion protein at or around the time of the

   invention, the lack of obviousness-type double patenting, and the unexpected properties of

   ENBREL® (etanercept), as an objective indicium of non-obviousness.

          32.     Christopher Vellturo, Ph.D. (live): Dr. Vellturo is the Founder and President of

   Quantitative Economic Solutions, LLC, a microeconomic consulting firm, located in Boston,




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   Massachusetts. He is an expert in the field of economics, including in the areas of industrial

   organization and econometrics. He received a Sc.B. in Applied Mathematics and Economics,

   magna cum laude and Phi Beta Kappa, from Brown University in 1983. He also received a

   Ph.D. in Economics from the Massachusetts Institute of Technology in 1989.

          33.     Dr. Vellturo has published on many topics, including market definition, price

   discrimination, merger and acquisition-related efficiencies, and differentiated product analysis.

   His research has appeared in academic journals, including Antitrust, the Antitrust Law Journal,

   and the Journal ofEconomics and Management. He has served as a journal referee for

   American Economic Review and the Rand Journal of Economics. He was honored with the

   M.I.T. Departmental Fellowship in 1986 and the Bradley Fellowship in Public Economics for

   1987-1989.

          34.     Dr. Vellturo is expected to provide expert testimony concerning, inter alia, the

   demand for and success ofENBREL® (etanercept) and its nexus to the Asserted Claims, as

   objective indicia ofnon-obviousness.

          35.     James Naismith, Ph.D. Qive): Professor Naismith is an expert in the fields of

   structural biology, chemistry, and biochemistry. He received a B.Sc. in Chemistry, with First

   Class Honors, from the University of Edinburgh in 1989. Following graduate studies in

   Structural Biology and Chemistry, Dr. Naismith received a Ph.D. in 1992 from the University of

   Manchester, where he was awarded the Hibbert Prize for his dissertation. He is currently the

   Professor ofStructural Biology at the University of Oxford in the United Kingdom. His post­

   doctoral research at the Howard Hughes Medical Institute in Dallas, Texas focused on the

   structure and function ofthe proteins involved in tumor necrosis factor signaling.




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          36.     Professor Naismith is also the Director of the Research Complex at Harwell, a

   multidisciplinary research center in Oxford, England that provides facilities for researchers to

   undertake new and cutting-edge research in both the life and physical sciences and the interface

   between these two fields. His over 20-year research career has focused on the structure and

   function of proteins. He was involved in research to elucidate the three-dimensional structure of

   the p55 TNF receptor protein, and was the first to publish a solved structure for the p55 TNF

   receptor extracellular domain.

          37.     He has served as an editor or on the editorial board of the Journal ofBiological

   Chemistry, the Journal ofMolecular Biology, and the Biochemical Journal. He has also served

   as a journal referee for Science, Nature, Biochemistry, and the Journal of the American Chemical

   Society. His research has been recognized by several respected scientific organizations. Among

   other recognitions, he has been named a fellow of the Royal Society (UK) for Improving Natural

   Knowledge, the world's oldest scientific institution. He is also a fellow of the Royal Society of

   Edinburgh, the Academy Medical Sciences (UK), the American Association for the

   Advancement of Science, and the European Molecular Biology Organization. He has received

   numerous awards for his research accomplishments, including from the Royal Society of

   Chemistry, the Biochemical Society, and the Chinese Academy of Science. He is the only

   person to win both the Corday-Morgan Medal for contributions to chemistry and the Colworth

   Medal for contributions to biochemistry.

          38.     Professor Naismith is expected to provide expert testimony concerning, inter alia,

   the adequacy of the disclosures of the '182 patent and the '522 patent and the unexpected

   properties of ENBREL® (etanercept), as an objective indicia of non-obviousness.




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          39.     Stephen G. Kunin, J.D. Qive): Mr. Kunin is the former Deputy Commissioner

   for Patent Examination Policy in the Office of the Commissioner for Patents in the United States

   Patent Office (USPTO). He is an expert in USPTO policies, practices, and procedures. He

   received a B.S. in Electrical Engineering, with honors, from Washington University in 1970. He

   received a J.D., with honors, from the National Law Center of the George Washington

   University in 1975. He is currently a partner at the law firm of Maier & Maier PLLC, and he has

   served as the Intellectual Property L.L.M. and J.D. Programs Director at the George Mason

   School of Law, where he taught patent law and intellectual property courses.

          40.     Mr. Kunin has over 47 years of experience in the field of intellectual property and

   patents, including over 30 years at the USPTO. His career at the USPTO began in 1970 as a

   patent agent and culminated in ten years of service as the Deputy Commissioner for Patent

   Examination Policy. In his role as Deputy Commissioner, Mr. Kunin was involved in

   establishing and developing USPTO patent policies and patent examiner guidelines, as set forth

   in the USPTO's Manual of Patent Examining Procedure (MPEP). He also oversaw the operation

   of the Office of Patent Legal Administration, the Patent Cooperation Treaty Legal

   Administration, and the Office of Petitions.

          41.     Mr. Kunin has authored over 20 publications on patent law, and he has served on

   the editorial board of the AIPLA Quarterly Law Journal. He has received many awards during

   his career, including a USPTO Career Achievement Award, the Vice President's Reinventing

   Government Hammer Award, four Gold Medal Awards for Outstanding Service from the

   Department of Commerce, four Silver Medal Awards for Outstanding Service, and a Bronze

   Medal Award for Outstanding Service. In 2001, he was named one of the most influential

   people in intellectual property law by Intellectual Property Today. In 2002, Global Counsel



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   named him one of the most inspiring regulators in federal government. Since entering private

   practice, Mr. Kunin has been ranked several times by Chambers U.S.A. as one of the nation's top

   intellectual property lawyers.

           42.     Mr. Kunin is expected to provide expert testimony concerning, inter alia, the

   USPTO's practices and procedures regarding (i) the application of the "safe harbor" provision of

   35 U.S.C. § 121, as relevant to the issue of obviousness-type double patenting, and (ii) the "two­

   way test" for patentable distinctness.
                                                     ****
           Plaintiffs may offer testimony live or by deposition from the above-listed witnesses, as

   identified above. For witnesses that will be testifying by expert report, the report will be

   admitted into evidence. Plaintiffs also reserve the right to have all or parts of the report read into

   evidence. Plaintiffs reserve the right to call additional witnesses (who are not presently

   identifiable) as may be necessary, on reasonable notice to the opposing party. In the event

   Plaintiffs seek to call a substitute witness, Plaintiffs agree to make an application to the Court to

   amend the Joint Final Pretrial Order.

           Plaintiffs reserve the right to call and/or cross-examine any of Defendants' witnesses,

   including by counter-designation of deposition testimony.

           Plaintiffs also reserve the right to call, either live or by deposition: (a) additional

   witnesses to provide foundational testimony should any party contest the authenticity or

   admissibility of any material proffered at trial; (b) substitute witnesses for any identified

   witnesses whose employment or other relationship with Plaintiffs changes such that he or she is

   no longer able, available or willing to testify on Plaintiffs' behalf at trial; and/or (c) additional

   witnesses to respond to issues raised after the submission of this list.




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           Plaintiffs expressly reserve the right to further modify, supplement and/or amend this

   Final Pretrial Order and attachments in light of issues that remain open and until entry of the

   Final Pretrial Order.

           B.       Defendants' Objections to Plaintiffs' Witnesses

           Defendants object to the presentation of deposition testimony for any witness that is

   within Plaintiffs' control and current employees. As set forth in Defendants' Daubert motion,

   Defendants object to the proposed testimony of Plaintiffs' experts Dr. Graham Jones and Dr.

   Christopher Vellturo. See D.I. 520; D.I. 532; D.I. 533; D.I. 539.

           With respect to all live witnesses, Sandoz reserves all objections as to relevance and

   admissibility.

           Defendants object to Plaintiffs' proposal to have parts of expert reports read into

   evidence under Fed. R. Evid. 106 for lack of completeness and under Fed. R. Evid. 401 and 403

   for unfair prejudice, confusion, misleading, undue delay, wasting time, and needlessly presenting

   cumulative evidence. Defendants further object as Plaintiffs have not disclosed which portions

   of which expert reports that it seeks to have read into evidence.

          To the extent that Plaintiffs are allowed to have parts of an expert report read into

   evidence, Defendants reserve the right to counter-designate other portions of the report or the

   expert's testimony that should be read into evidence for completeness. Defendants further

   reserve the right to have all or parts of the report read into evidence for witnesses that will be

   testifying by expert report.

          C.        Defendants' Witnesses

          Sandoz identifies the following witnesses whom it may call live or by deposition at trial:




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   Expert Witnesses

          43.      Carl P. Blobel, M.D., Ph.D. Qive): Dr. Blobel is a Professor of Medicine and of

   Physiology and Biophysics at the Weil Medical College of Cornell University in New York, NY,

   as well as the Virginia F. and William R. Salomon Chair in Musculoskeletal Research and

   Director ofthe Arthritis and Tissue Degeneration Program at the Hospital for Special Surgery in

   New York, NY. Dr. Blobel is expected to offer testimony in accordance with his expert reports.

   Such testimony concerns issues relating to invalidity of the asserted claims of the '182 and '522

   patents, including for obviousness under 35 U.S.C. § 103 and obviousness-type double patenting.

           44.     Daniel Capon, Ph.D. Qive): Dr. Capon is a scientist with 37 years of experience

   in the field ofbiotechnology, including at Genentech, Inc., Cell Genesys, Inc., Xenotech, Inc.,

   and ViroLogic, Inc. Dr. Capon is expected to offer testimony in accordance with his expert

   reports. Such testimony concerns issues relating to invalidity of the asserted claims ofthe '182

   and '522 patents, including for lack of adequate written description and enablement under 35

   u.s.c. § 112.
          45.      Mary Kuntz Crow, M.D. Qive): Dr. Crow is a rheumatologist and the

   Physician-in-Chief, Chair of the Department ofMedicine, and Chief of the Division of

   Rheumatology at the Hospital for Special Surgery in New York, NY. Dr. Crow is expected to

   offer testimony in accordance with her expert report. Such testimony concerns issues relating to

   the asserted objective indicia ofnonobviousness of the '182 and '522 patents, including what

   Plaintiffs characterize as the alleged "clinical success," previously unmet need, and industry

   praise ofEnbrel® and the nexus of these objective indicia to the asserted claims of the '182 and

   '522 patents.




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            46.      Nicholas P. Godici (live): Mr. Godici is an independent consultant with over 44

   years ofexperience in the patent field, including at the U.S. Patent and Trademark Office and at

   the intellectual property law firm of Birch, Stewart, Kolasch & Birch LLP. Mr. Godici is

   expected to offer testimony in accordance with his expert report. Such testimony concerns issues

   relating to invalidity ofthe asserted claims ofthe '182 and '522 patents, including for

   obviousness-type double patenting.

            47.      Jeffrey D. Kittendorf, Ph.D. {by expert report and deposition)37 : Dr.

   K.ittendorfis a Research Assistant Scientist at the University of Michigan Life Sciences Institute.

   Dr. Kittendorfsubmitted a declaration regarding DNA sequencing ofplasmid DNA samples. Dr.

   K.ittendorfis expected to testify regarding the subject matter of his declaration.

            48.      DeForest McDuff, Ph.D. {live): Dr. McDuffis a Partner at Insight Economics.

   Dr. McDuff is expected to offer testimony in accordance with his expert reports. Such testimony

   concerns issues relating to the asserted objective indicia ofnonobviousness of the '182 and '522

   patents, including what Plaintiffs characterize as the alleged "clinical success" ofEnbrel®.

            49.      Arne Skerra, Ph.D. Qive): Dr. Skerra is the Chair ofBiological Chemistry at the

   Technical University of Munich, Center of Life Sciences at Weihenstephan, Freising, Gennany.

   Dr. Skerra is expected to offer testimony in accordance with his expert report. Such testimony

   concerns issues relating to the asserted objective indicia ofnonobviousness of the '182 and '522

   patents, including the alleged unexpected results ofEnbrel®.




   37 Defendants propose that they will offer into evidence the expert report of Dr. Kittendorf in lieu oflive testimony.
   In addition, Plaintiffs will designate sections of the deposition of Dr. Kittendorf to be read into evidence, and
   Defendants will do the same, subject to the ordinary rules governing deposition designation and counter-designation.
   In the event that Plaintiffs object to Sandoz introducing deposition testimony from Dr. Kittendorf, Sandoz reserves
   the right to call Dr. Kittendorf live.



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            50.      Johann Gudionsson, M.D., Ph.D. (by deposition)38: Dr. Gudjonsson is a

   dermatologist employed at the University ofMichigan and was retained as an expert for

 Plaintiffs in this litigation. Gudjonsson submitted a claim construction declaration and an

   opening infringement report and was deposed during claim construction expert discovery. Dr.

 Gudjonsson's testimony concerns issues relating to binding ofTNF by etanercept, particularly as

   claimed by the Finck patents. His testimony is relevant to elements of double patenting of the

 patents-in-suit over the Finck patents. Despite having the opportunity to counter-designate

   testimony, Plaintiffs have refused to do so.

   Fact Witnesses


            51.      Taruna Arora, Ph.D. (by deposition): Dr. Arora is a former Principal Scientist

   at Amgen, who was involved in research relating to etanercept. Dr. Arora also submitted a

   declaration to the U.S. Patent and Trademark Office in support of the prosecution of the '182 and

   '522 patents. Dr. Arora is expected to testify regarding Arngen's research relating to etanercept

   and the subject matter of her declaration.

            52.      Patricia Beckmann, Ph.D. {by deposition): Dr. Beckmann is a former Staff

   Scientist and Scientific Liaison at Immunex, who was involved in research relating to TNF

   receptors and etanercept. Dr. Beckmann is expected to testify regarding Immunex's research

   relating to TNF receptors and etanercept.




   38 Plaintiffs have chosen not to call Dr. Gudjonsson live or by deposition. Defendants intend to introduce his
                                                                        *
   deposition testimony. Vandenbraak v. Alfieri, 2005 WL 1242158, at 1 (D. Del. May 25, 2005) ("It is proper to
   admit by designation "an opinion propounded by the sponsoring party's expert, whether or not the latter has come to
   rue it."). The introduction of Dr. Gudjonsson's testimony at trial is necessitated by Plaintiffs' position on the
   contested issues on double patenting. Although Plaintiffs have not offered any expert opinion disputing that, if the
   Finck patents were available as reference patents for double patenting, Sandoz will present unrebutted expert
   testimony that each of the elements of the Patents-in-Suit are met by the Finck patents' claims. Dr. Gudjonsson's
   testimony is relevant to elements of double patenting.


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           53.    Manfred Brockhaus, Ph.D. {by deposition): Dr. Brockhaus is a fonner

   Scientific Expert at Hoffmann-La Roche, who was involved in research relating to TNF

   receptors. Dr. Brockhaus is a named inventor of the '182 and '522 patents. Dr. Brockhaus is

   expected to testify regarding the research and development of the claimed subject matter of the

   '182 and '522 patents.

           54.    Cindy Cao, Ph.D. {by deposition): Dr. Cao is a fonner Executive Director for

   Regulatory Affairs Biophannaceuticals at Sandoz. Dr. Cao is expected to testify regarding

   regulatory issues relating to Sandoz's aBLA No. 761042.

          55.     Terri Davis-Smith (by deposition): Ms. Davis-Smith is a former Senior

   Research Associate at Immunex and Associate Scientist I at Amgen, who was involved in

   research relating to etanercept and other TNF receptor fusion proteins. Ms. Davis-Smith also

   submitted a declaration to the U.S. Patent and Trademark Office in support of the prosecution of

   the '182 and '522 patents. Ms. Davis-Smith is expected to testify regarding Immunex and

   Arngen's research relating to TNF receptor fusion proteins, including etanercept, and the subject

   matter of her declaration.

          56.     Zlatko Dembic, Ph.D. (by deposition): Dr. Dembic is a former Senior Scientist

   at Hoffmann-La Roche, who was involved in research relating to TNF receptors. Dr. Dembic is

   a named inventor of the '182 and '522 patents. Dr. Dembic is expected to testify regarding the

   research and development of the claimed subject matter of the '182 and '522 patents.

          57.     Kathleen Fowler, Ph.D. (by deposition): Dr. Fowler is a former Associate

   General Counsel at Amgen, who was involved in the prosecution of the '182 and '522 patents.

   Dr. Fowler is expected to testify regarding prosecution of the '182 and '522 patents before the

   U.S. Patent and Trademark Office.



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          58.     Steven Gillis, Ph.D. (by deposition): Dr. Gillis is a founder and former Vice

   President and Director of Research and Development at Immunex, who was involved in

   managing the drug discovery and development operations of the company. Dr. Gillis is expected

   to testify regarding Immunex's research relating to TNF receptor fusion proteins, including

   etanercept.

          59.     Raymond Goodwin, Ph.D. (by deposition): Dr. Goodwin is a fonner Principal

   Scientist at Immunex, who was involved in research relating to TNF receptors and TNF receptor

   fusion proteins. Dr. Goodwin is expected to testify regarding lmmunex 's research relating to

   TNF receptors and TNF receptor fusion proteins, including etanercept.

          60.     Ueli Gubler, Ph.D. (by deposition): Dr. Gubler is a former Senior Research

   Leader at Hoffmann-La Roche, who was involved in research relating to TNF receptors. Dr.

   Gubler is expected to testify regarding Roche's research relating to TNF receptors.

          61.     Laura Hamill (live): Ms. Hamill is the Senior Vice President of U.S. Business

   Operations at Amgen, who is responsible for the commercial and business organization for all of

   Amgen's products in the U.S. Ms. Hamill is expected to testify regarding the commercial sale

   and promotion ofEnbrel®.

          62.     George Johnston, Jr. (by deposition): Mr. Johnston is the former Chief Patent

   Counsel at Hoffmann-La Roche, who was involved in the preparation, negotiation, and drafting

   of license agreements. Mr. Johnston is expected to testify regarding ownership and licensing of

   the '182 and '522 patents.

          63.     Michael Kirschner (by deposition}: Mr. Kirschner is a former Vice President of

   Intellectual Property at Immunex and Senior Associate General Counsel at Amgen, who was




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   involved in third-party intellectual property issues relating to Enbrel®, including patent

   licensing. Mr. Kirschner is expected to testify regarding patent licensing relating to Enbrel®.

           64.    Tadahiko Kohno, Ph.D. (by deposition): Dr. Kohno is a former Scientific

   Director at Amgen, who was involved in research relating to etanercept. Dr. Kohno is expected

   to testify regarding Amgen' s research relating to etanercept.

           65.    Leander Lauffer, Ph.D. {by deposition): Dr. Lauffer is a former Vice President

   of Business Development at Behringwerke, who was involved in a collaboration with Immunex

   to develop TNF receptor fusion proteins. Dr. Lauffer is expected to testify regarding

   Behringwerke's research regarding fusion proteins, including its collaboration with Immunex to

   develop TNF receptor fusion proteins and etanercept.

          66.     Werner Lesslauer, Ph.D. {by deposition): Dr. Lesslauer is a former Vice

   Director of Research at Hoffmann-La Roche, who was involved in research relating to TNF

   receptors and TNF receptor fusion proteins. Dr. Lesslauer is a named inventor of the '182 and

   '522 patents and submitted declarations to the U.S. Patent and Trademark Office in support of

   the prosecution of these patents. Dr. Lesslauer is expected to testify regarding the research and

   development of the claimed subject matter of the '182 and '522 patents and the subject matter of

   his declarations.

          67.     Zhengyu Liu, Ph.D. (by deposition): Dr. Liu is a former U.S. Regulatory Lead,

   U.S. Biopharmaceutical Regulatory Affairs Group at Sandoz. Dr. Liu is expected to testify

   regarding regulatory issues relating to Sandoz's aBLA No. 761042.

          68.     Hansruedi Loetscher, Ph.D. Qive): Dr. Loetscher is a former Global Head of

   Neuroscience Discovery at Hoffmann-La Roche, who was involved in research relating to TNF

   receptors and TNF receptor fusion proteins. Dr. Loetscher is a named inventor of the '182 and




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   '522 patents. Dr. Loetscher is expected to testify regarding the research and development of the

   claimed subject matter of the '182 and '522 patents.

           69.    Stewart Lyman, Ph.D. (by deposition): Dr. Lyman is a former Director of

   Extramural Research at Immunex. Dr. Lyman submitted declarations to the U.S. Patent and

   Trademark Office in support of the prosecution of the '182 and '522 patents. Dr. Lyman is

   expected to testify regarding the subject matter of his declarations.

           70.     Mark McCamish, M.D., Ph.D. Qive or by deposition): Mr. McCamish is the

   former Global Head of Biopharmaceutical Development at Sandoz. Mr. McCamish is expected

   to testify regarding the product that is the subject ofSandoz's aBLA No. 761042.

           71.    John Parise {by deposition): Mr. Parise is the formerSenior Counsel and

   Managing Attorney at Hoffmann-La Roche, who was involved in the negotiation and drafting of

   license agreements. Mr. Parise is expected to testify regarding ownership and licensing of the

   '182 and '522 patents.

           72.

           73.     Stuart Watt Qive): Mr. Watt is the former Vice President and Law and

   Intellectual Property Officer at Amgen, who was involved in the prosecution of the '182 and

   '522 patents and in the negotiation and drafting of licensing agreements. Mr. Watt is expected to

   testify regarding ownership and licensing of the '182 and '5 22 patents.
                                                   ****
          The above list is not a commitment that Defendants will call any particular witness at

   trial, or a representation that any of the witnesses listed are available, may be subject to

   subpoena, or will appear at trial. Defendants may offer testimony live or by deposition from the

   above-listed witnesses. For witnesses that will be testifying by expert report, the report will be




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   admitted into evidence. Defendants reserve the right to call additional witnesses (who are not

   presently identifiable) as may be necessary, on reasonable notice to the opposing party. In the

   event Defendants seek to call a substitute witness, Defendants agree to make an application to

   the Court to amend the Joint Final Pretrial Order.

           Defendants reserve the right to call and/or cross examine any of Plaintiffs' witnesses,

   including by counter-designation of deposition testimony. To the extent that Plaintiffs call as a

   live witness any witness listed to be called by Sandoz by deposition, Sandoz reserves the right to

   present live testimony from that witness.

           Defendants also reserve the right to call, either live or by deposition: (a) additional

   witnesses to provide foundational testimony should any party contest the authenticity or

   admissibility of any material proffered at trial; (b) substitute witnesses for any identified

   witnesses whose employment or other relationship with Defendants changes such that he or she

   is no longer able, available or willing to testify on Defendants' behalf at trial; and/or (c)

   additional witnesses to respond to issues raised after the submission of this list; and/or additional

   witnesses for rebuttal or impeachment purposes to issues raised by Plaintiffs.

           For those depositions that have been videotaped, Defendants may present deposition

   excerpts by videotape, transcript, or both (as part of the same presentation). If any witness listed

   as a person who Defendants intend to call to testify in person is unavailable, Defendants reserve

   the right to offer deposition testimony from such witness in lieu of live testimony.

           Defendants further reserve the right to introduce testimony through deposition or live

   examination for any witness that Plaintiffs identify on their list, for any expert witness that

   submitted an expert report on behalf of Plaintiffs in this action, or as necessary to establish

   authenticity or admissibility of any trial exhibit if the authenticity or admissibility of the exhibit




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   is challenged by Plaintiffs. Defendants reserve the right to offer counter-designations to any

   deposition designations offered by Plaintiffs. Defendants reserve the right to present testimony

   from any witness has been deposed in this matter.

          Defendants expressly reserve the right to further modify, supplement and/or amend this

   Final Pretrial Order and attachments in light of issues that remain open and until entry of the

   Final Pretrial Order, or as otherwise permitted by the Court.

          D.      Plaintiffs' Objections to Defendants' Witnesses

          Plaintiffs object to the presentation of deposition testimony for any witness that is within

   Defendants' control (as except as agreed to by the parties below) and current employees.

   Plaintiffs further object to Defendants assertions that Dr. McCamish may attend "live or by

   deposition." Plaintiffs also object to Defendants assertion that Dr. Sala may "testify regarding

   the research and development of the product that is the subject of Sandoz's aBLA No. 761042."

   Dr. Sala was designated as a Rule 30(b)(6) witness by Sandoz solely on topics related to the

   design-around efforts during discovery; he was not subject to a Rule 30(b)(l) deposition.

          Plaintiffs also object to the admission of deposition testimony from Dr. Gudjonsson as

   irrelevant and misleading given the issues for which he was deposed (claim construction of the

   Finck Patents) is no longer at issue in this case. Defendants' designation of Dr. Gudjonsson's

   deposition testimony on August 17, 2018 was also untimely, as the date for exchanging

   deposition designations was June 26, 2018, based on the agreed schedule that the parties

   submitted to the Court. D.I. 499, Exhibit B.

   X.     DEPOSITIONS

          The parties have exchanged deposition designations, counter-designations and related

   objections. Deposition designations, with associated objections and counter-designations are

   attached hereto as Appendix A (Plaintiffs' Deposition Designations) and Appendix B


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   (Defendants' Deposition Designations). It is expected and agreed that whichever party calls a

   witness by deposition will present the designated testimony as well as any counter-designated

   testimony.

           The parties reserve their rights to supplement and amend their respective designations

   and counter-designations in light ofany orders regarding the scope ofthe trial or in light ofany

   new information submitted by the other party.

           The parties further reserve their rights to present deposition testimony by any fact witness

   identified by the parties not excluded pursuant to any objections; supplement their designations

   for fact witnesses who are not available to testify at trial; and designate additional deposition

   testimony from fact witnesses to authenticate evidence ifrequired. The parties may also use any

   and all deposition testimony, whether or not designated, for cross-examination, impeachment, or

   rebuttal.

           The parties have agreed not to designate deposition testimony oftheir own expert

   witnesses, with the exceptions ofDr. Jones and Dr. Kittendorf. Plaintiffs will offer into evidence

   the expert report ofDr. Jones in lieu oflive testimony. Defendants will designate sections ofthe

   deposition ofDr. Jones to be read into evidence, and Plaintiffs will do the same, subject to the

   ordinary rules governing deposition designation and counter-designation. Similarly, Defendants

   will offer into evidence the expert report and deposition testimony ofDr. Kittendorfin lieu of

   live testimony. Plaintiffs will designate sections ofthe deposition ofDr. K.ittendorfto be read

   into evidence, and Defendants will do the same, subject to the ordinary rules governing

   deposition designation and counter-designation. In addition, if one side indicates at any time that

   one or more ofits experts will not be testifying live at trial for any reason, the opposing side shall

   have the opportunity to designate the deposition testimony ofsuch expert(s). Following such




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   designation by the opposing side, any counter-designation of deposition testimony by the

   expert's side shall be narrowly limited in scope to the specific issues that are the subject of the

   opposing side's designations. Such counter-designations shall not extend to subject matter for

   which the expert should otherwise have been brought to trial to provide live testimony.

          Joint key to Plaintiffs' and Defendants' Objections:




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    Obj.      Description

    AA        Asked and answered; Fed. R. Evid. 61 l(a)

    BE       Best evidence; Fed. R. Evid. 1002

    BTS      Beyond the scope of examination or of 30(b)(6) topic; Fed. R. Evid. 611,
             Fed. R. Civ. P. 30(b)(6)

    CP        Compound question

    F        No foundation or asswnes facts not in evidence; Fed. R. Evid. 104,602,703,
             901

    H        Hearsay if offered for the truth of the matter asserted; Fed. R. Evid. 801,802,
             803,805

    I        Incomplete designation; Fed. R. Evid. 106, 403

    IC       Improper counter designation

    L         Leading; Fed. R. Evid. 611(c)

    LAW      Lawyer argument or colloquy

    LC       Legal conclusion; Fed. R. Evid. 701

    MIS      Mischaracterization of testimony or evidence

    0        Unqualified opinion testimony; Fed. R. Evid. 701, 703

    OB       Attorney objection improperly designated

    p        Privileged; Fed. R. Evid. 501,Fed. R. Civ. P. 26(b)(3),(4)

    PK       Lack of personal knowledge; Fed. R. Evid. 602

    R        Not relevant; Fed. R. Evid. 401,402

    SP       Speculation,Fed. R. Evid. 602, 701, 702

    T        Improper use of deposition at trial; Fed. R. Civ. P. 32

    u        Unfairly prejudicial, misleading,confusing, and/or cumulative/waste of time;
             Fed. R. Evid. 403



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    V              Vague or ambiguous; Fed. R. Evid. 61 l(a)

    ov             Overbroad

     DSFI          Document speaks for itself

    NAR            Calls for a narrative

    NR             Non-responsive answer

    MS             Motion to strike

    PE             Parol evidence

    IE             Improper expert testimony



            Additional Plaintiffs' Objections:

    Obj.           Description

    cu             Misleading, Confusing and/or Cumulative/Waste of time; Fed. R. Evict.
                   40339



            A.       Plaintiffs' Deposition Designations

            1.       Alliger, Peter (June 30, 2017) - Tab A.

            2.       Arora, Taruna (August 9, 2017)-Tab B.

            3.       Berndt, Christine (July 28, 2017) - Tab C.

            4.       Cao, Cindy (June 20, 2017) - Tab D.

            5.       Kobno, Tadahiko (June 15, 2017)-Tab E.

            6.       Lesslauer, Werner (May 23-24, 2017) - Tab F.


   39 Defendants have not agreed to Plaintiffs' proposal for a separate "CU" objection, which is duplicative of the
   agreed upon "U'' objection based on the same Fed. R. Evid. 403. Defendants objections for "U" encompass all
   objections based on Fed. R. Evid. 403, including for "Misleading, Confusing and/or Cumulative/Waste of time"
   testimony. Defendants do not waive these objections.



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           7.      Liu, Zhengyu (June 9, 2017)-Tab G.

           8.      Loetscher, Hansruedi (May 11 -12, 2017) - Tab H.

           9.     McCamish, Mark (June 8, 2017) -Tab I.

           10.    Oakes, Gregory (June 14, 2017) - Tab J.

           11.    Schiestl, Martin (June 7, 2017)-Tab K.

           12.    Sala, Gautier (March 9, 2018) - Tab L.

           13.    Jankowsky, Rudiger (September 20, 2013) - Tab M.

           14.    Jones, Graham (January 12, 2018)- Tab 0.

           15.    Kittendorf, Jeffrey (January 16, 2018) - Tab P.

          B.      Defendants' Deposition Designations

          Defendants designate the deposition testimony of the witnesses identified in Tab N for

   possible introduction as substantive evidence at trial.

           1.     Arora, Taruna (August 9, 2017)

           2.     Beckmann, Patricia (June 16, 2017)

           3.     Brockhaus, Manfred (May 25, 2017)

           4.     Cao, Cindy (June 20, 2017)

           5.     Davis-Smith, Terri (June 20, 2017)

           6.     Dembic, Zlatko (July 11, 2017)

           7.     Fowler, Kathleen (July 14, 2017)

           8.     Gillis, Steven (June I 5, 2017)

           9.     Goodwin, Raymond (June 2, 2017)

           10.    Gubler, Ueli (July 7, 2017)

           11.    Gudjonsson, Johann (December 21, 2016)

           12.    Hamill, Laura (July 10, 2017)

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           13.    Johnston, George (June 30,2017)

           14.    Jones,Graham(January 12,2018)

           15.    Kirschner, Michael(June 29, 2017)

           16.    Kittendorf, Jeffrey (January 16, 2018)

           17.    Kohno,Tadahiko(June 15,2017)

           18.    Lauffer,Leander (May 19, 2017)

           19.    Lesslauer,Werner (May 23,2017)

           20.    Lesslauer, Werner(May 24,2017)

           21.    Liu,Zhengyu(June 9,2017)

           22.    Loetscher,Hansruedi (May 11, 2017)

           23.    Loetscher,Hansruedi (May 12, 2017)

           24.    Lyman,Stewart(June 27,2017)

           25.    McCamish, Mark(June 28,2017)

           26.    Parise, John (June 28,2017)

           27.    Watt,Stuart (June 21, 2017)
                                            *       *       *

          Defendants disclose these deposition designations without waiving any of its rights to

   modify,amend,or otherwise supplement its deposition designations. Defendants reserve the

   right to designate additional deposition testimony not included on this list to meet unanticipated

   evidence adduced at trial and/or to rebut any testimony offered or designated by Plaintiffs.

   Defendants reserve the right to designate additional deposition testimony not included on this list

   when used for cross-examination,impeachment, or rebuttal purposes. Defendants reserve the

   right to rely on any of Plaintiffs' affirmative designations as counter-designations. Defendants



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   reserve the right to designate additional deposition testimony not included on this list when used

   to authenticate evidence, if required. Defendants reserve the right to rely on testimony not

   included on this list based upon the Court's ruling on any motions filed by the parties or orders

   regarding the scope of the trial. Providing these designations is not a commitment that

   Defendants will introduce all of the designated testimony at trial. Defendants reserve the right to

   rely on less than the designated testimony for any reason.

   XI.     TRIAL EXHIBITS

           The parties have exchanged trial exhibit lists and related objections.

           The parties have created the attached joint trial exhibit list (Tab WW) of exhibits that

   will be deemed admitted by the Court subject to the confidentiality procedure set out by the

   Court at the conference on September 10, 2018.

           Plaintiffs intend to introduce into evidence the exhibits listed in Tab XX. Defendants'

   objections to Plaintiffs' exhibits are also listed in Tab XX. Defendants reserve the right to

   object to any exhibit for the purpose for which it is used at trial.

           Defendants intend to introduce into evidence the exhibits listed in Tab YY. Plaintiffs'

   objections to Defendants' exhibits are also listed in Tab YY. Plaintiffs reserve the right to

   object to any exhibit for the purpose for which it is used at trial.

           The parties have endeavored to include on the lists at Tab ZZ all (i) laboratory notebooks

   produced by Plaintiffs in this action, (ii) documents from Roche's database of research reports

   produced by Roche in this action, and (iii) Sandoz's aBLA referencing ENBREL®, and thus

   believe the lists are exhaustive as to those documents. The parties have jointly agreed that

   documents listed in Tab ZZ are authentic and admissible, but reserve the right to object to their

   introduction on relevance grounds. To the extent that it is later determined that any trial exhibit

   falling into these categories was not included at Tab ZZ, the parties agree that the chart at Tab

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   ZZ will be supplemented to reflect the inclusion of such document, including documents

   subsequently produced.

          The joint key to Plaintiffs' and Defendants' objections to proposed exhibits are as

   follows:
   �r,-;',-�----------. -------�----�
   L��------ ��-----�
    A           Authenticity; Fed. R. Evid. 901

    BE           Best Evidence Rule; Fed. R. Evid. 1002

    cu           Misleading, Confusing and/or Cumulative/Waste of time; Fed. R. Evid. 403

    F           No foundation or assumes facts not in evidence; Fed. R. Evid. 104, 602, 703,
                901

    FL           Foreign Language

    H            Hearsay if offered for the truth of the matter asserted; Fed. R. Evid. 801,
                 802,803,805

    I            Incomplete Document; Fed. R. Evid. 106, 403

    ID           Incorrect Description

    LC          Legal conclusion; Fed. R. Evid. 701

    LP          Admissible for a Limited Purpose; Fed. R. Evid. 105

    MD          Multiple Documents

    NL          Not Legible

    R           Not relevant; Fed. R. Evid. 401, 402

    SRM         Subsequent Remedial Measure; Fed. R. Evid. 407

    so          Settlement Offer; Fed. R. Evid. 408

    u           Unfairly prejudicial; Feel R. Evid. 403




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              Additional Plaintiffs' Objections: 40

   �- --- -1�
   L______       -----�� - - .- -- .�- .....;.�-��-1
            ----=-----------�
            L�
        F.R.C.P.26 Outside the scope of the expert report

    Unelected        Unelected references



              The parties agree that any party may further supplement the exhibit list on the following

   schedule:

              (a)    Parties to exchange supplemental exhibit list on August 30, 2018 along with new

   exhibits identified in the supplemental exhibit list.

              (b)    Parties to exchange objections to the supplemental exhibits identified in the

   supplemental exhibit list on August 31, 2018.

             Absent an extraordinary showing of good cause or based on stipulations addressed in this

   Final Pretrial Order in connection with supplementing exhibit lists, only the exhibits listed on the

   parties' exhibit lists shall be introduced at the time of trial in a party's case-in-chief and/or

   responsive case. The parties reserve the right to offer additional exhibits for cross-examination,

   impeachment, or rebuttal. The parties reserve the right to offer any exhibits listed by the other

   party, to the same effect as though it were listed on their own exhibit lists, including introducing

   such exhibits into evidence, that are not excluded pursuant to any objection. The parties reserve

   the right to add exhibits to this list to authenticate evidence, if required. The parties reserve the

   right to add exhibits to this list based upon the Court's ruling on any motions by the parties or

   orders regarding the scope of the trial. The parties further reserve the right to use any exhibit


   40
     Defendants object to Plaintiffs' additional objections for "F.R.C.P. 26" and "Unelected references." These
   proposed objections were not presented to Defendants at the time the parties were exchanging exhibit objections.
   Defendants dispute that these are valid objections to trial exhibits.



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   admitted into evidence, subject to any limitations as to its admission. Any description of a

   document on a party's exhibit list is provided for ease of identification only and shall not be used

   as an admission or otherwise as evidence. The listing of a document on a party's exhibit list is

   not an admission that such document is relevant or admissible when offered by another party.

   The parties reserve the right to object to the admission of any exhibit on this list based on the

   claims actually tried and other evidence admitted in this case. Nothing herein shall be construed

   as a stipulation or admission that a document or designated testimony is entitled to any weight in

   deciding the merits of the case. The parties are not required to list exhibits that will be used, if at

   all, only for impeachment purposes.

   XII.    MISCELLANEOUS

           The parties have agreed to the following trial procedures for the advanced notification of

   each witness to be called at trial, live or by designation, and all exhibits and demonstratives to be

   used with each such witness:

           Agreement Regarding Experts: Absent a showing of good cause, any expert not listed

   in this Final Pretrial Order shall not be pennitted to testify at the time of trial, unless the expert's

   deposition testimony has been properly designated and counter-designated as set forth above at

   Section VIII. Additionally, the curriculum vitae of every expert expected to testify at the time of

   trial is attached to this Final Pretrial Order. The curriculum vitae or summary of the expert's

   qualifications may be read into the record at the time the expert takes the stand. If a party seeks

   to have a summary of an expert's qualifications read into the record, that party shall provide a

   copy of the summary to the opposing party at the time the expert is identified as a witness that

   the party intends to call. The same dates and procedures for objections to demonstratives and

   exhibits, set forth below, shall be used regarding any objections to the summary.




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            Witnesses: The parties will identify by email to the opposing parties the witnesses they

   intend to call and the order in which they expect to call said witnesses by 7:00 p.m.41 two

   calendar days before such witness will be called to testify. The email addresses of the recipients

   that should be emailed this information, as well as the information described in paragraphs

   below, shall be exchanged by the parties by no later than the date of the Pretrial Conference. The

   identification of witnesses shall include both live witnesses and witnesses whose testimony will

   be provided by deposition. For example, if the party expects to conduct the examination on

   Monday, notice should be given to the opposing party by 7:00 p.m. on Saturday. Each party

   shall update its list of expected witnesses for the following day by 7:00 p.m. at the end of each

   trial day, so long as the party has remaining witnesses that it intends to call on direct for that

   portion of the case. The parties will cooperate in good faith to keep the other side informed of

   the anticipated length of the questioning (both direct and cross) of each witness.

            Deposition Designations: Unless otherwise agreed between the parties, the party

   offering deposition testimony (other than for the purpose of impeachment) shall identify the

   deposition testimony to be offered from previously-exchanged designations by 7:00 p.m. at least

   three calendar days prior to the testimony being offered into the record. A party may choose not

   to introduce deposition testimony designated in this Proposed Final Pre-trial Order, but may not

   designate additional deposition testimony after the filing of this Proposed Final Pre-trial Order

   absent a showing of good cause (for example, a fact witness previously expected to testify live

   becomes unavailable, or a party responds to testimony that presents unfair surprise or prejudice).

   The party receiving the designations shall infonn the opposing party of any counter-designations

   and objections by 8:30 p.m. two calendar days prior to the testimony being offered into the


   41 Unless stated otherwise, all times are according to the Eastern Time Zone.



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   record, and the parties will meet and confer by 9:30 p.m. that same day. If good faith efforts to

   resolve the objections fail, the party objecting to the deposition testimony shall bring its

   objections to the Court's attention at the beginning of the following trial day. Audio and/or

   visual clips of the identified deposition testimony shall be exchanged by 7:00 p.m. the day prior

   to the testimony being offered into the record.

           Exhibits: Each party will provide a list of trial exhibits to be used in connection with

   direct examination by 7:00 p.m. at least two calendar days before their intended use, and the

   receiving party will provide its list of objections no later than 8:30 p.m. the night before their

   intended use. The parties will meet and confer regarding any objections to such exhibits by 9:30

   p.m. that same night. If good faith efforts to resolve the objections fail, the party objecting to the

   exhibits shall bring its objections to the Court's attention at the beginning of the trial day.

   Failure to comply with these procedures, absent an agreement by the parties, will result in waiver

   of the use of an exhibit or waiver of.an objection to the exhibit.

           Demonstratives: Demonstratives to be used in connection with direct examination will

   be exchanged by 7:00 p.m. the night before their intended use, with an agreement that any

   changes to the demonstratives made after such exchange will be only font/layout/format/to

   correct typographical errors and not edits of substance, unless made in response to and for the

   purpose of resolving an objection. The receiving party will provide its list of objections no later

   than 8:30 p.m. the night before their intended use. The parties will meet and confer regarding

   any objections to such demonstratives by 9:30 pm that same night. If good faith efforts to

   resolve the objections fail, the party objecting to the exhibits shall bring its objections to the

   Court's attention at the beginning of the trial day.




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           Demonstratives containing only trial exhibits, including with highlights, underlines,

   callouts, etc., need not be exchanged provided that the demonstrative is not argumentative.

   Demonstratives created during testimony or demonstratives used in connection with cross­

   examination need not be exchanged. The parties agree that copies of any demonstratives used

   during trial shall be submitted to the Court prior to the conclusion of trial.

           Notice of Intention to Rest: By 7:30 p.m. the night before it intends to rest its case, the

   resting party shall give the other party notice of its intention to rest. This notice is intended to

   give the parties enough notice to allow them to comply with the other provisions ohhis order.

   XIII. TRIAL COUNSEL

           Plaintiffs Immunex and AML will be represented at trial by:

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   XV.      ESTIMATED LENGIB OFTRIAL AND ORDER OFPRESENTATION
            The parties estimate that trial will require approximately 35 hours for each side before the

   Court. 42

            The parties will provide opening statements of no more than 90 minutes per side, with

   Defendants presenting first and Plaintiffs presenting second. The parties will present closing

   statements at a time convenient to the Court. Trial shall proceed with the following order of

   presentation:
                 •     Defendants will present their invalidity case;
                 •    Plaintiffs will present their response to Defendants' invalidity case and introduce

                      objective indicia of nonobviousness;
                 •    Defendants will present their rebuttal on invalidity and response to Plaintiffs'

                      presentation of objective indicia of nonobviousness; and
                 •    Plaintiffs will present their rebuttal regarding objective indicia of nonobviousness.
                                                *       *        *
            The Court may amend this Order as it deems appropriate and rule on any issues as they

   may arise during trial.

                                                            Respectfully submitted,


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   42 See Joint Pretrial Report. D.l. 486.



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   IT IS SO ORDERED this_\__
                           \ day of September, 2018.




                                                 Hon. Claire C. Cecchi, U.S.D.J.


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                                  CERTIFICATE OF SERVICE

          The undersigned attorney certifies that a copy of the foregoing FINAL PRE-TRIAL

   ORDER was served by electronic mail on all counsel of record.



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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DIS'I'.RICT OF NEW JERSEY


    IMMUNEX CORPORATION;                     )
    AMGEN MANUFACTURING, LIMITED;            )
    and HOFFMANN-LA ROCHE INC.;              )   Hon. Claire C. Cecchi
                                             )
                     Plaintiffs,             )   Civil Action No.: 2:16-cv-01118-CCC-MF
            V.                               )
                                             )
    SANDOZ INC.; SANDOZ                      )
    INTERNATIONAL GMBH; and SANDOZ           )
    GMBH;                                    )                     ,JOINT EXHIBIT LIST
                                             )
                     Defendants.             )   PRETRIAL ORDER TAB WW



    Exhibit Number                                     Title
    JTX-1              U.S. Patent No. 8,063,182 B1 Brockhaus et al.
    JTX-2              U.S. Patent No. 8,163,522 BI Brockhaus et al.
    JTX-3              File History for U.S. Patent Application No. 08/444,790 (U.S. Patent
                       No. 8,063, 182 )
    JTX-4              File History for U.S. Patent Application No. 08/444,791 (U.S. Patent
                       No. 8,163,522)
    JTX-5              U.S. Patent 5,610,279 to Brockhaus et al.
    JTX-6              European Patent Application 90116707.2 (Manfred)
    JTX-7              English Translation of European Patent Application No. 90116707.2,
                       Publication No. 0417563A2
    JTX-8              European Patent Publication No. 0417563A2
    JTX-9              File History of U.S. Patent Application No. 08/095,640 (U.S. Patent
                       No. 5,610,279)
    JTX-10             File History of U.S. Patent Application No. 07/580,013
    JTX-11             European Patent Application No. EP 90116707
    JTX-12             Accord and Satisfaction, dated 6/7/2004
    JTX-13             License Agreement for Etanercept Among Immunex Corporation,
                       Hofmann-La Roche Inc., and F. Hoffmann-La Roche Ltd., dated
                       11/6/1998
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    Exhibit Number                                       Title
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    JTX-16             Corrected Declaration of Jeffrey D. Kittendorf, Ph.D., with Exhibits
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                       factor receptor:Fc fusion protein, in patients with rheumatoid arthritis
                       receiving methotr<?xate, N. Engl. J. Med. 340:253-9 (1999)
    JTX-31             Bathon et al., A Comparison of Etanercept and Methotrexate in
                       Patients with Early Rheumatoid Arthritis, N. Engl. J. Med. 343:1586-
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    JTX-32             U.S. Patent No. 6,143,866 Brewer et al.
    JTX-33             U.S. Patent No. 5,639,597 Lauffer et al.
    JTX-34             Enbrel - Highlights of Prescribing Information (10/2017)
    JTX-35             Slud, Patients press for Enbrel, CNN Money (2001)
    JTX-36             Table 1 from Lawrence, S., Billion Dollar Babies - Biotech Drugs as
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    JTX-39             U.S. Patent No. 7,915,225
    JTX-40             U.S. Patent No. 8,119,605
    JTX-41             U.S. Patent No. 8,722,631
    JTX-42             U.S. Patent No. 5,605,690
    JTX-43             Swiss Patent Application No. CH 3319/89
    JTX-44             Swiss Patent Application No. CH 746/90
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    JTX-48             Seckinger, P., et al., Characterization of a tumor necrosis factor a
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    JTX-50             Segal, D.M., et al., The Role of Non-Immune IgG in Controlling IgG-
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    JTX-52             Pennica, D., et al., Human tumor necrosis factor: precursor structure,
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    JTX-63             Hohmann, HP, et al., Two different cell types have different major
                       receptors for human tumor necrosisfactor (TNFa), J. Biol. Chem.
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    JTX-64             Schall, T., et al., Molecular Cloning and Expression of a Receptor for
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    JTX-65             U.S. Patent No. 5,395,760 Smith et al.
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                       binding properties of antibodies, Immunochemistry 9:341-357 (1972)
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                       Receptor ofHeLa Cells, J. ofBiological Chemistry, 264(25):14646-
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